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Thomas H. Casey, SBN 138264

LAW OFFICE OF THOMAS H. CASEY, INC.
A PROFESSIONAL CORPORATION

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TomCasey@tomcaseylaw.com

Attorney for Jason M. Rund
Chapter 7 Bankruptcy Trustee

UNITED STATES BANKRUPTCY COURT

CENTRAL DISTRICT OF CALIFORNIA / LOS ANGELES DIVISION

In re: Case No. 2:22-bk-12797-DS
LOS ANGELES UNIVERSAL PRESCHOOL| Chapter 7
DBA CHILD360, FIRST INTERIM APPLICATION FOR
FEES AND REIMBURSEMENT OF
Debtor. EXPENSES OF THE LAW OFFICE OF

THOMAS H. CASEY, INC., ATTORNEY
FOR CHAPTER 7 TRUSTEE [May 390,
2022 THROUGH January 11, 2024];

DECLARATION OF THOMAS H. CASEY
IN SUPPORT THEREOF

Hearing Date
Date: February 15, 2024

Time: 11:30 a.m.

Courtroom: 1639

Address: Roybal Federal Building
255 E. Temple Street
Los Angeles, CA 90012

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FIRST INTERIM APPLICATION FOR FEES AND REIMBURSEMENT OF EXPENSES

OF THE LAW OFFICE OF THOMAS H. CASEY, INC., ATTORNEY FOR CHAPTER 7
TRUSTEE [May 30, 2022 through January 11, 2024]

TO THE HONORABLE DEBORAH J. SALTZMAN, UNITED STATES BANKRUPTCY

JUDGE; THE DEBTORS; AND THE OFFICE OF THE UNITED STATES TRUSTEE:
1.
INTRODUCTION

Pursuant to the provisions of the Sections 330 and 331 of Title 11 of the United States
Code (“Bankruptcy Code”), Federal Rule of Bankruptcy Procedure 2016! and Local Bankruptcy
Rule 2016-1, the Law Office of Thomas H. Casey, Inc. (“Firm”), general bankruptcy counsel for
Jason M. Rund, Chapter 7 Trustee (“Trustee”) for the bankruptcy estate of Los Angeles
Universal Preschool dba Child360 (“Debtor”) applies to this Court for an order allowing
$187,804.50 in legal fees and $13,592.89 in costs as set forth in this First Interim Application
For Fees And Reimbursement Of Expenses Of The Law Office Of Thomas H. Casey, Inc.,
Attorney For Chapter 7 Trustee [May 30, 2022 through January 11, 2024] (‘Fee Application’”’).

II.
PROCEDURAL HISTORY

1. The Debtors’ bankruptcy case was commenced on May 18, 2022 (“Petition
Date”) by the filing of a voluntary Chapter 7 petition and Jason M. Rund was appointed as
Chapter 7 Trustee.
2. By Order entered July 6, 2022, the Court approved the employment of the Firm
effective May 30, 2022.
Il.
OVERVIEW OF VALUABLE SERVICES PERFORMED

3. Prior to the bankruptcy filing, the Debtor was a nonprofit organization that
provided early educational and learning opportunities to young children, by working alongside

educators, families, partner organizations, policy makers and the community. The Debtor’s

' Unless otherwise noted, all section references are to the Bankruptcy Code, 1] U.S.C. §§ 101-1532, and all
references to rules are to the Federal Rules of Bankruptcy Procedure 1001 et. seq,

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revenue was funded mostly by government funding, contract services and private grants and
fundraising.

4. Prior to the Petition Date the Debtor was not able to access its electronic data
because the Debtor had failed to pay certain, critical IT vendors. Therefore, it was imperative
that the Firm take all steps necessary to immediately recover and safeguard the Debtor’s
electronic data. This data included, among other things, the Debtor’s books and records,
information necessary to collect on the accounts receivable and evidence supporting the
Trustee’s potential causes of action against the Debtor’s officers and directors. On behalf of the
Trustee, the Firm expeditiously prepared certain agreements with the Debtor’s former IT director
and former IT vendors which allowed the Trustee to preserve and recover the Debtor’s extensive
electronic data and the Firm obtained Court approval of the agreements.

5. Shortly after the Firm was employed the Firm communicated extensively with
counsel for landlord John Hancock Life Insurance Company (“Landlord”) to resolve their
chapter 7 post-petition administrative rent claim in the amount of $148,000, as well as their pre-
petition, general unsecured claim in the amount of $1,251,500.72. Monthly post-petition rent was
accruing at a rate of approximately $78,466 per month. The Firm negotiated and prepared a
settlement agreement with the Landlord, and the Firm obtained Court approval of the agreement
on shortened time. The Firm achieved excellent results from the Court approved settlement
agreement with the Landlord which substantially benefitted unsecured claims. The Court
approved settlement with the Landlord resulted in a reduction in the Landiord’s post-petition
chapter 7 administrative rent claim by $53,448.81 and after applying the security deposit, a
release and waiver of the Landlord’s entire pre-petition general unsecured claim in the total
amount of $1,199,493.61. As discussed below, the Firm concurrently, and on shortened time in
connection with the settlement of the Landlord’s claims, abandoned all personal property on the
Debtor’s business premises.

6. The Firm conducted extensive legal research and analyzed the Debtor’s 457 Plan,
and concluded it should be terminated and the 457 plan funds turned over to the Trustee as

property of the estate. The Firm prepared and filed a Motion for Order: (1) Authorizing Trustee

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to Terminate Debtor’s 457 Plan and Rabbi Trust Pursuant to 11 U.S.C. Section 363; (2)
Authorizing the Liquidation of the Plan Investments and Turnover of the Sale Proceeds by
Newport Group to the Trustee Pursuant to 11 U.S.C. Section 542; and, (3) If Granted, Allowing
Plan Participants to File Unsecured Claims Within 90 Days of Entry of the Order Granting This
Motion (“457 Motion”). The Court approved the Trustee’s 457 Motion pursuant to Order entered
January 10, 2023 and after the payment of certain Court approved 457 Plan costs the amount of
$263,670.66 was turned over to the bankruptcy estate.

7. Pre-petition, the Debtor was a recipient of a discretionary grant from the Office of
Head Start (“OHS”) providing that OHS funds were to be utilized by the Debtor only for certain,
specific OHS expenses. Counsel for OHS advised the Firm that they were holding funds in the
amount of $137,177.99 approved by OHS for payment to certain creditors of the estate but OHS
regulations required the Trustee to disburse the funds. The Firm negotiated and prepared an
agreement with OHS and prepared the Trustee’s motion to approve the OHS agreement. The
OHS agreement benefitted creditors of the estate. After the Court approved the Trustee’s
agreement with OHS the Trustee disbursed the amount of $137,177.99 to certain creditors of the
estate thereby reducing the amount owing on their claims.

8. The Firm also negotiated a settlement with Iron Mountain, the company that
stored the Debtor’s paper books and records, comprising of approximately 1,200 boxes. Just like
the Landlord, Iron Mountain was also accruing a chapter 7 administrative rent claim for the
storage of the records. The Firm negotiated and prepared an agreement with Iron Mountain and
obtained Court approval of a settlement agreement between the Trustee and Iron Mountain on
their post-petition administrative claim and for the destruction of the paper books and records by
Iron Mountain. The Iron Mountain agreement benefitted the estate because for the payment of
only $4,000 extensive Debtor documents containing personal, private information of many of the
Debtor’s employees were properly destroyed by Iron Mountain, an accruing Chapter 7
administrative claim was eliminated and Iron Mountain released all claims against the estate.

9. Finally, the Firm negotiated and obtained Court approval of two consulting

agreements with JLK Rosenberger Certified Public Accountants (“JLKR”), the Debtor’s prior

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auditor of the Debtor maintained 403(b) Plan (the “Plan”). The consulting agreements allowed
JLKR, on behalf of the Trustee, to complete the required reporting and audits of the Plan for
years 202] and 2022 which the Trustee was statutorily required to complete.

10. In sum, as discussed below, the Firm promptly preserved the Debtor’s electronic
data, reduced and subsequently ended the accrual of two, separate chapter 7 post-petition
administrative claims, assisted with obtaining OHS funds in the amount of $137,177.99 that were
then disbursed to certain creditors of the estate, abandoned personal property and obtained the
Court order allowing the Trustee to terminate and liquidate the 457 Plan and recover
approximately $263,670.66.

11. The Firm has “no charged” a total of $1,915.50 in fees as noted in the attached
time entries.

IV.
ALLOWING AND APPROVING FOR PAYMENT AN INTERIM FEE AWARD IS

APPROPRIATE IN THIS CASE.

12. As discussed below, most of the assets of the estate have been administered. This
case cannot be closed at this time because the Trustee’s administration of at least two assets
continues. One asset is the Trustee’s pending adversary proceeding against William Sperling,
Sugey Dominguez, and Rob Bonta, Adv. No. 2:23-ap-01382-DS (“Adversary Proceeding”),
After payment of the flat fee of $25,000 to the Trustee’s special counsel by Order entered
September 15, 2022, the Court approved the Trustee’s employment of special counsel on a
contingency basis to prosecute this Adversary Proceeding. The Adversary Proceeding did not
settle at mediation and the litigation continues.

13. The second remaining asset is the Employee Retention Credit (“ERC in the
approximate amount of $403,000. The appropriate paperwork was filed with the IRS to recover
the estate’s interest in the ERC and the Trustee continues to await a response from the IRS.
Except for the costs incurred by special counsel the Firm does not anticipate incurring future fees

on the Trustee’s future administration of either of these two assets.

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14, After the Trustee has administered and reduced to cash all assets of the estate, he
will be in a position to evaluate filed claims and their respective priorities, and to determine
whether it is necessary to file objections to certain filed claims. It is possible the Firm will incur
future fees preparing objections to certain filed claims near the end of this case.

15. The estate has sufficient cash on hand to pay the requested interim fees and
barring unforeseen circumstances, to make a distribution to unsecured creditors. The estate
currently has $683,681.76 cash on hand, but may recover additional cash from the scheduled
ERC and the Adversary Proceeding. The Trustee’s accountant Hahn Fife has incurred
approximately $2,000.00 in fees and costs. In a worst case scenario and assuming no additional
cash is recovered, the Trustee’s statutory fee would be approximately $51,475.61 plus
approximately $1,000.00 in costs. Special counsel is employed on a contingency basis and to
date has incurred approximately $20,240.53 in costs. The above stated fees and costs of the
Trustee and his professionals, plus the instant, requested interim fees and costs of the Firm, total
$276,113.53. As the cash on hand is approximately $683,681.76, after paying the Firm’s
requested interim fees the net cash available to pay creditors, assuming no recovery on the ERC
and the Adversary Proceeding, and assuming no additional fees by the Firm preparing objections
to claims would be approximately $407,568.23 (Cash on hand of $683,681.76 — $276,113.53
above stated fees and costs of the Trustee, the Trustee’s accountant and the Firm) The estate has
sufficient cash on hand to pay the Firm’s requested interim fees and costs.

V.
SUMMARY OF SERVICES PERFORMED AND TIME EXPENDED

BY THE FIRM DURING THIS CURRENT TIME PERIOD

Abandon
16. During this current time period, the Firm has expended 13.3 hours and incurred
approximately $4,276.50 in connection with the category of Abandon. The time entries for the
category of Abandon are set forth in Exhibit “1” attached hereto, pages 37 through 42. The

blended hourly rate for such services is $321.54.

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17. Immediately after the Trustee’s employment of the Firm, the Firm was required to
assess the ongoing Chapter 7 administrative rent claim being incurred by John Hancock Life
Insurance Company (U.S.A.), the Debtor’s commercial landlord (“Landlord”), the value of the
estate’s personal property on site in the commercial property and how to extract and preserve the
Debtor’s large amount of electronic data from the computer hardware on site. See the Lease
Category below. After the Debtor’s electronic data in the Debtor’s computer hardware on site
was recovered and preserved, and concurrently with the Firm’s preparation and filing on
shortened time the Chapter 7 Trustee’s Motion to Reject Non-Residential Real Property Leases,
the Firm prepared and filed on shortened time the Trustee’s Motion to Abandon the Estate’s
Interest in Certain Personal Property on site. The Firm’s services in this category greatly
benefitted the estate because it stopped the further accrual of Chapter 7 administrative monthly
rent of $78,466 and paved the way for a settlement with the commercial landlord on its claim.

18. In connection with the category of Abandon, the Firm prepared and filed the
following pleadings:

a. Chapter 7 Trustee’s Motion for an Order Authorizing Abandonment of the
Estate’s Interest in Certain Personal Property Pursuant to 11 U.S.C. Section 554; Declarations of
Trustee Jason M. Rund and Scott Van Horn in Support Thereof:

b. Application for Order Setting Hearing on Shortened Notice (LBR 9075-1(b));

c. Order Setting Hearings on Motion to Reject Non-Residential Real Property
Leases and Motion to Abandon Personal Property;

d. Declaration of Kathy Driggers Regarding Compliance with Service Regarding
Hearing on Shortened Time of the Following Motions: (1) Chapter 7 Trustee’s Motion for Order
Authorizing Abandonment of the Estate’s Interest in Certain Personal Property Pursuant to 11
U.S.C. Section 554; and (2) Chapter 7 Trustee’s Motion for Order Authorizing the Chapter 7
Trustee to Reject Unexpired Non-Residential Real Property Leases Pursuant to 11 U.S.C.
Section 365;

e. Order Granting Chapter 7 Trustee’s Motion for Order Authorizing Abandonment

of the Estate’s Interest in Certain Personal Property Pursuant to 11 U.S.C. Section 554.

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Asset Analysis

19, During this current time period, the Firm has expended 19.5 hours and incurred
approximately $10,039.50 in connection with the category of Asset Analysis. The time entries
for the category of Asset Analysis are set forth in Exhibit “1” attached hereto, pages 42 through
46. The blended hourly rate for such services is $514.85.

20. The Firm reviewed and analyzed the petition, schedules, statement of financial
affairs, and emails from the Trustee regarding the background facts. The Firm analyzed specific
issues that required immediate attention including, but not limited to, the unpaid and accruing
chapter 7 administrative rent, accessing and safeguarding the Debtor’s electronic books and
records, and information about scheduled receivables.

21. The Firm obtained and reviewed the results of a California UCC-1 search as well
as a lien search against the Debtor in the County of Los Angeles.

22. The Firm communicated with Debtor’s counsel and Board Member Karen
Schoenbaum regarding the Debtor’s business plan, potential offsets against receivables, and the
potential claim against the directors and officers.

23. To assess the Trustee’s potential claims against certain officers and directors of
the Debtor, the Firm reviewed and analyzed the Debtor’s director’s and officer’s insurance
policy. The Firm also reviewed and analyzed the Debtor’s board of director minutes.

24. The Firm reviewed the Debtor’s tax returns and the independent auditor’s report
(BDO) and statements for years 2020 and 2021.

25. The Firm prepared for the Debtor’s 341(a) examination and questioned the Debtor
focusing on the Trustee’s potential claims against the officers and directors and the collection of
the scheduled receivables.

26. The Firm did not file any pleadings under the category of Asset Analysis.

Asset Disposition

27, During this current time period, the Firm has expended 304.4 hours and incurred

approximately $128,881.50 in connection with the category of Asset Disposition. The time

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entries for the category of Asset Disposition are set forth in Exhibit “1” attached hereto, pages
46 through 141. The blended hourly rate for such services is $423.40.

28. The Firm prepared an outline identifying and discussing all pending issues and
discussed the issues with the Trustee. The Firm communicated with Debtor’s counsel regarding
the key employees/personnel that would have the most knowledge about the Debtor’s electronic
books and records, the scheduled accounts receivable, and accessing the Debtor’s premises
located at 515 South Figueroa Street, Suite 900, Los Angeles, California 90071.

29. The specific services rendered by the Firm in the category of Asset Disposition
are discussed below.

Consulting Agreements — Robert Lazo

30. On the Petition Date the Debtor was a tenant on a very expensive office lease in
downtown Los Angeles and the estate started accruing a high chapter 7 administrative rent claim.
In order to quickly preserve the Debtor’s electronic books and records, the Firm first
communicated with to the Debtor’s Former IT Director, Robert Lazo (“Mr. Lazo’’) regarding the
IT systems, rights to the data and how to recover the electronic data. The Firm completed
multiple calls with Mr. Lazo to discuss bringing the Debtor’s computer systems back online,
accessing the data which was stored at two separate locations, retrieving the electronic data, the
costs to complete, and employing and compensating him as a consultant to complete the

following services:

i. Taking all steps necessary to bring Child360°s computer systems back online;
ii. Assisting the Trustee in communicating with the IT vendors necessary to get
Child360’s computer system back online;

iii. Supervising IT vendors in migrating virtual servers and data from the Debtor’s
office premises located at 515 S. Figueroa St., Suite 900, Los Angeles, California
to offsite location at Coresite, 900 North Alameda Street, Suite 200, Los Angeles,
California;

iv. Ensure the Trustee can maintain access to Child360’s electronic data at the
Coresite location;

v. Test the operating computer system after Child360’s electronic data is moved to
the Coresite location;

vi. Provide the Trustee access and data as needed and as requested by the Trustee;

vii. Advise the Trustee regarding steps necessary to provide the Trustee access to
reports and/or data from the finance system; and,

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vill. Assist the Trustee in investigating the online Cloud Provider Microsoft
Subscription and determine the amount necessary to pay for the subscription to
ensure the Trustee’s access to certain cloud data is not compromised.

31. After successful negotiations, the Firm prepare and forwarded a consulting
agreement to Mr. Lazo. Upon receipt of the signed agreement, the Firm prepared and filed a
Motion for Approval of Trustee’s Consulting Agreement with the Debtor’s Former IT Director
and Compensation (“Lazo Motion”). Having received no objection to the Lazo Motion, the Court
approved the Lazo Motion pursuant to Court Order entered July 12, 2022 (“Lazo Order”).

32. Mr. Lazo was instrumental in bringing the Debtor’s computer systems online to
be able to access the electronic data.

33. The Firm prepared and filed the professional fee statement in relation to the Lazo
Motion.

34. After Mr. Lazo completed the services in connection with the Lazo Motion, the
Firm negotiated another consulting agreement with Mr. Lazo for the purposes of retrieving
certain electronic data supporting certain accounts receivable and electronic data relating to the
Trustee’s potential causes of action against the Debtor’s directors and officers. The services of

the second consulting agreement with Mr. Lazo consisted of the following:

i. Assisting the Trustee in obtaining electronic data necessary for the Trustee to
collect the Bankruptcy Estate’s accounts receivable;

ii. Assisting the Trustee in retrieving specific electronic data required by the Trustee
to complete his analysis regarding the Bankruptcy Estate’s potential causes of
action against the Debtor’s directors and officers,

ii. Assisting the Trustee by communicating with certain key IT vendors and the
Trustee to facilitate obtaining electronic data required by the Trustee.

35. After negotiating this second consulting agreement, the Firm prepared and filed a
Motion for Approval of Trustee’s Second Consulting Agreement with the Debtor’s Former IT
Director and Compensation (“Lazo Motion 2”). Having received no objection to the Lazo
Motion 2, the Court approved the Lazo Motion 2 pursuant to Court Order entered September 23,
2022 (“Lazo Order 2”).

36. Again, Mr. Lazo’s services were invaluable as he was able to secure, recover and

migrate the Debtor’s electronic books and records.

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37. The Firm prepared and filed the professional fee statement in relation to the Lazo
Motion 2.

Consulting Agreement — Aegis Networks

38. In order to continue the maintenance and service of the Debtor’s electronic data,
including accessing and migrating the electronic data offsite, the Firm communicated and
negotiated a consulting agreement with Aegis Networks, the Debtor’s former IT Vendor to

complete these services. The consulting agreement services are as follows:

i. Assisting the Trustee in bringing the Debtors’ computer systems on line for
ACCESS;

ii. Assisting the Trustee in migrating the Debtor’s electronic data from the cloud and
computer systems located at the Debtor’s former business premises located at 515
South Figueroa, Los Angeles, CA to the Trustee’s offsite location; and

ill. Other services that may be necessary to recover the Debtor’s electronic data,
transfer the electronic data to the Trustee’s new location and recover the
electronic data as needed by the Trustee.

39. After successful negotiations, the Firm prepared and forwarded a consulting
agreement to Aegis. Upon receipt of the signed agreement, the Firm prepared and filed a Motion
for Approval of Trustee’s Consulting Agreement with the Debtor’s Former IT Vendor and
Compensation (“Aegis Motion”). Having received no objection to the Aegis Motion, the Court
approved the Aegis Motion pursuant to Court Order entered July 19, 2022 (“Aegis Order’).

40. Pursuant to the Court approved Aegis Motion, Aegis’s hourly rate was $200.00,
capped at a total of $5,000.00 and Aegis was to provide its invoices the Trustee on a monthly
basis. Upon receipt and review of the invoices, the Firm prepared and filed Aegis’s professional
fee statement for services rendered.

41. | Mr. Lazo worked together with Aegis in bringing the Debtor’s computer systems
back online and migrating the data to an offsite location.

Consulting Agreement — Avantiico, Inc.

42. After discussions with Mr. Lazo, the Debtor’s former JT Director, in order to
safely transfer and access the Debtor’s electronic books and records, the Trustee was advised to

utilize Avantiico, Inc., the Debtor’s former IT Vendor, to complete these services. Accordingly,

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the Firm communicated and negotiated a consulting agreement with Avantiico, Inc. The

consulting agreement services with Avantiico are as follows:

i. Assisting the Trustee in bringing the Debtor’s financial systems on line in order to
retrieve key financial data for the Trustee and to advise the Trustee of the licenses
that must be kept up to date to ensure continued access.

43. After successful negotiations, the Firm prepared and forwarded a consulting
agreement to Avantiico. Upon receipt of the signed agreement, the Firm prepared and filed a
Motion for Approval of Trustee’s Consulting Agreement with the Debtor’s Former IT Vendor
and Compensation (“Avantiico Motion”). Having received no objection to the Avantiico Motion,
the Court approved the Avantiico Motion pursuant to Court Order entered August 2, 2022
(“Avantiico Order”).

44. Pursuant to the Court approved Avantiico Motion, Avantiico’s hourly rate was
$250.00, capped at a total of $11,504.60 and Avantiico was to provide its invoices the Trustee on
a monthly basis. Upon receipt and review of the invoices, the Firm prepared and filed
Avantiico’s professional fee statement for services rendered.

45. The Court approved consulting agreements with the Debtor’s former IT Director,
Robert Lazo, and the Debtor’s former IT Vendors, Aegis Networks and Avantiico, Inc. enabled
the Trustee to access, move and retrieve the Debtor’s critical electronic financial data and
documents for the purposes of pursuing accounts receivables and litigation against the former
directors and officers.

Consulting Agreement — Cindv Esquivel

46. The Trustee advised the Firm early on that the scheduled A/R had value and that a
certain amount of receivables may be collectible. The Firm determined that one of the
receivables scheduled by the Debtor was owed by the Early Head Start Program in the
approximate amount of $100,000 - $200,000.

47. The Trustee and Firm interviewed Cindy Esquivel (“Ms. Esquivel’), the Debtor’s
former Director of the Early Head Start Program and believed she was the person most

knowledgeable of the receivable owed to the Debtor by the Early Head Start Program.

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48. The Firm communicated and negotiated a consulting agreement with Ms.
Esquivel to collect on the receivable owed to the Debtor by the Early Head Start Program. The

consulting agreement services are as follows:

i. Assisting the Trustee in his efforts to collect the Early Head Start Program
receivable.

49, After successful negotiations, the Firm prepare and forwarded a consulting
agreement to Ms. Esquivel. Upon receipt of the signed agreement, the Firm prepared and filed a
Motion for Approval of Trustee’s Consulting Agreement with the Debtor’s former Director of
the Early Head Start Program and Compensation (“Esquivel Motion”). Having received no
objection to the Esquivel Motion, the Court approved the Esquivel Motion pursuant to Court
Order entered August 31, 2022 (“Esquivel Order’).

Agreements with CPA JLK Rosenberger

50. The Debtor maintained a 403(b) Plan (the “Plan”) under the name Newport. The
custodian of the Debtor’s 403(b) Plan is Newport Trust Company (“Newport”). Many former
employees of the Debtor had contacted the Trustee about rolling over or liquidating their 403(b)
accounts maintained at Newport.

51. Separately, the Trustee filed his Motion for Authority to Terminate 403(b) Plan
and File Necessary Documents (“Motion to Terminate”). The Trustee’s Motion to Terminate was
approved pursuant to Court Order entered July 11, 2022 (“Order Terminate 403(b)”).

52. Because the Trustee has a statutory duty to administer the Debtor’s 403(b) plan
pursuant to 11 U.S.C. Section 704(a)(11), in order for the Trustee to administer the 403(b)
accounts, the Trustee was required to cause the completion of an audit of the Plan including, but
not limited to, an audit of, among other things, its financial documents, statement of net assets
available for December 2021.

53. The Firm sought to utilize the Plan’s prior auditor, JLK Rosenberger, Certified
Public Accountants (“JLKR”) to complete the required ERISA Section 103(a)(3)(C) audit of the

403(b) Plan financial statements and to provide a report to the Trustee.

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54, The Firm communicated with JLKR and negotiated an agreement with them to

complete the required audit. The services to be rendered per the agreement are as follows:

i. Audit the financial statements of the Plan
ii. Report on the supplemental schedules for the Plan for the year ending
December 31, 2021.

55. After negotiating the consulting agreement, the Firm prepared and filed a Motion
for Approval of Trustee’s Consulting Agreement with JLK Rosenberger, Certified Public
Accountants and Compensation (“JLKR Motion’). Having received no objection to the JLKR
Motion, the Court approved the JUKR Motion pursuant to Court Order entered September 28,
2022 (““JLKR Order”).

56. To assist JLKR with completing the required audit, the Firm first communicated
with JLKR and obtained a list of items required to complete the audit. The Firm then reached out
to Insperity, the Debtor’s professional employer organization that maintained and provided
support for the Debtor’s employment administration and payroll and HR related compliance
support.

57. The Firm continued communicating with JLKR and Insperity in order to obtain
the required payroll information, wage and deduction report, W-2’s and all other documentation
required to complete the audit of the Plan and providing the required report to the Trustee.
Accordingly, JUKR completed the audit of the Plan for year 2021.

58. Subsequently, all of the funds in the Plan were removed by the former employees
by way of voluntary rollover to another qualified plan or by a cash distribution to the employee.
Funds of employees who did not voluntarily rollover or liquidate were “forced out” of the Plan
and Newport set-up new IRAs for these employees.

59. It was necessary for the Trustee to again engage the services of JLKR to complete
an ERISA Section 103(a)(3)(C) final audit of the 403(b) Plan financial statements as of
December 31, 2022 and provide a report to the Trustee, to, among other things, allow Newport,
the custodian of the Plan, to file a final Annual Return/Report of Employee Benefit Plan (Form

5500) with the Department of Labor.

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60. The Firm negotiated a second agreement with JLKR to provide the following

services:
i. Audit the financial statements of the Plan.
ii. Report on the supplemental schedules for the Plan for the year ending
December 31, 2022
61. After negotiating this second agreement, the Firm prepared and filed a Motion for

Approval of Trustee’s Second Agreement with JLK Rosenberger, Certified Public Accountants
and Compensation (“JLKR Motion 2”). Having received no objection to the JUKR Motion 2, the
Court approved the JUKR Motion 2 pursuant to Court Order entered February 27, 2023 (JLKR
Order 2”).

62. The Firm assisted in obtaining the information and documentation from Insperity
and required by Newport, the custodian of the Debtor’s 403(b) Plan and JLKR to complete the
audit of the Plan for year 2022. The second time around proved more difficult in obtaining the
documentation required to complete the second audit which required more of the Firm’s
involvement. Ultimately, Newport and JLKR obtained all of the necessary information and
documentation and the audit for the Plan for year 2022 was completed.

Limiting Notice

63. The Firm determined that during the administration of this estate, the Trustee
would likely be required to file between five (5) and ten (10) motions. These potential motions
would require notice to all creditors. Due to the high number of creditors (in excess of one
thousand (1,000)), who would be entitled to notice and in order to conserve resources, time, and
Estate assets, the Firm prepared and filed the Chapter 7 Trustee’s Motion for Order Limiting
Notice Pursuant to Federal Rules of Bankruptcy Procedure 2002, 6007 and 9007 (“Limit Notice
Motion”). The Court approved the Limit Notice Motion pursuant to Court Order entered July 12,
2022 (“Limit Notice Order’). Prior to obtaining the Limit Notice Order, the Firm communicated
with outside vendor Integrity Legal Corp. to complete service of no less than three (3) notices on
over the approximate 1,000 creditors. The Firm prepared and filed multiple Declarations of Ed

Rodieck of Integrity Legal Corp. regarding service of the notices on all creditors.

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64. The Limit Notice Motion has allowed the bankruptcy estate to reduce expenses it
would have incurred serving notices on over 1,000 creditors each time a motion was filed.

Iron Mountain Agreement

65, On. the Petition Date, the Debtor had maintained approximately 1,226 boxes of its
documents at Iron Mountain. The bankruptcy estate was incurring a post-petition administrative
rent claim with Iron Mountain in the amount of $1,362 per month. The Debtor scheduled a pre-
petition, unsecured claim in favor of Iron Mountain in the amount of $1,362. The Trustee
advised the Firm that the Debtor’s records at Iron Mountain were old documents and were not
necessary for the Trustee’s administration, but they contain personal private information on the
Debtor’s employees. Bankruptcy trustees are required to properly destroy debtor documents
containing personal, private information.

66. ‘The Firm reviewed and analyzed the storage contract between Iron Mountain and
the Debtor for offsite storage and management of the Debtor’s records. The Firm communicated
with Iron Mountain to negotiate the destruction of the Debtor records remaining in the storage
unit and to provide a certificate of destruction certifying all of the Debtor’s documents were
destroyed, however, Iron Mountain’s quote to destroy the records was exponentially higher than
expected.

67. The Firm communicated with Iron Mountain and negotiated a settlement
agreement for a greatly reduced cost to destroy the Debtor’s records and resolve Iron Mountain’s
pre-petition claim and post-petition administrative rent claim. The agreed upon settlement terms

are as follows:

a. The Trustee will move the Bankruptcy Court for approval of this Agreement.

b. Within five (5) days of the Effective Date (as defined below), the Trustee shall
promptly pay Iron Mountain the amount of $4,000 (the “Settlement Amount”).
The Settlement Amount shall be made payable to “Iron Mountain” and remitted
to:

Tron Mountain
PO Box 27128
New York, NY 10087-7128

c. Within ninety (90) days of receipt the Settlement Amount, Iron Mountain shall
destroy the Debtor’s Records and prepare a certificate of destruction confirming
all of the Debtor’s Records have been destroyed.

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68. After obtaining the signatures on the settlement agreement with Iron Mountain,
the Firm prepared and filed the Chapter 7 Trustee’s Motion For Order Approving Compromise
Of Controversy Between The Bankruptcy Trustee And Iron Mountain Pursuant To Federal Rule
Of Bankruptcy Procedure 9019 (“Iron Mountain Motion’). The Court approved the Iron
Mountain Motion pursuant to Order entered October 26, 2022 (“Iron Mountain Order’).

69. Iron Mountain destroyed the Debtor’s records and on or about February 14, 2023,
provided the Trustee with a certificate evidencing the destruction of the documents in storage.

70. The Court approved agreement with Iron Mountain stopped the accrual of a
chapter 7 post-petition administrative rent claim for storage.

457 Plan

71. Pre-petition and in or about November 2012, the Debtor established an Eligible
Tax-Exempt 457 Plan (457 Plan”). Newport Group, Inc. (“Newport Group” or “Plan Trustee”’)
was the Plan trustee. The Plan Document reflected that the Debtor used a Rabbi Trust to
segregate the amount of funds allocated to the Plan by its employees. Per the Plan Documents,
there were ten participants in the 457 Plan.

72, Shortly after the Petition Date and on or about November 17, 2022, the value of
the 457 Plan investments totaled approximately $264,354 (“Plan Investments”).

73. The Debtor’s schedules did not list the Plan Funds as an asset of the estate. The
Debtor was a non-governmental tax-exempt entity for purposes of the Internal Revenue Code.

74. | To determine whether the Plan Investments were property of the estate and if the
Trustee could recover the Plan Investments for the benefit of the bankruptcy estate, the Firm
conducted extensive legal research of the Internal Revenue Code Section 457 as well as 11
U.S.C. Sections 363 (terminate the Plan), 541 (property of the estate), and 542 (turnover of Plan
Investments). The Firm expended time researching legal authorities and cases on point in support
that the Plan Investments are property of the bankruptcy estate.

75. After extensive legal research on the matter and determining the Plan Investments
were property of the estate, on behalf of the Trustee, the Firm prepared and filed a Motion for

Order: (1) Authorizing Trustee to Terminate Debtor’s 457 Plan and Rabbi Trust Pursuant to 11

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U.S.C. Section 363; (2) Authorizing the Liquidation of the Plan Investments and Turnover of the
Sale Proceeds by Newport Group to the Trustee Pursuant to 11 U.S.C. Section 542; and, (3) If
Granted, Allowing Plan Participants to File Unsecured Claims Within 90 Days of Entry of the
Order Granting This Motion (“457 Motion”). There was no objection to the 457 Motion. The
Court approved the 457 Motion pursuant to Order entered January 10, 2023 (“457 Order’).

76. The 457 Order allowed, among other things, 1) the Trustee to terminate the Plan,
2) Newport to liquidate the Plan Investments and turnover of the sale proceeds to the Trustee, 3)
pay administrative fees to Newport to amend and terminate the Plan, and 3) the participants to
file unsecured claims against the estate.

77. The Firm prepared and forwarded letters to all Plan participants enclosing the 457
Order, a blank proof of claim form, and instructions and the deadline to file their proofs of claim.

78. The termination of the 457 Plan and liquidation of the 457 Plan assets
substantially benefitted the estate because after the payment of certain Court approved 457 Plan
costs the amount of $263,670.66 was turned over to the bankruptcy estate.

Agreement with Office Of Head Start

79. Prior to the Petition Date, the Debtor was the recipient of a discretionary grant
from the Office of Head Start (“OHS”) providing that OHS funds were to be utilized by the
Debtor only for certain, specific OHS expenses. OHS advised the Trustee that per the OHS grant
with the Debtor OHS was holding funds in the amount of $137,177.99 (“OHS Funds’) for
approved payment to certain creditors of the estate. OHS maintained that pursuant to certain
legal authorities and certain federal regulations, the remaining funds from the OHS discretionary
grant were not property of the bankruptcy estate per Section 541, rather, the OHS Funds may be
payable only to certain creditors of the bankruptcy estate.

80. The Firm communicated with AUSA Elan Levey (“Ms. Levey”), counsel for
OHS, on an agreement that would allow OHS to disburse the funds approved by OHS for
expenses owed to certain creditors of the Debtor to the Trustee and the Trustee in turn, would

pay those specific, approved creditors identified by OHS.

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81. After Ms. Levey advised the Firm which filed claimants were entitled to the OHS
Funds and the amount allocated to each creditor, the Firm prepared and circulated a settlement
agreement to Ms. Levey. After obtaining signatures to the settlement agreement, on behalf of the
Trustee, the Firm prepared and filed the Chapter 7 Trustee’s Motion for Order Approving
Compromise of Controversy Between the Bankruptcy Trustee and Office of Head Start Pursuant
to Federal Rule of Bankruptcy Procedure 9019 (“OHS 9019 Motion”). There was no objection to
the OHS 9019 Motion. The Court approved the OHS 9019 Motion pursuant to Order entered
January 10, 2023 (“OHS 9019 Order’’).

82. The OHS 9019 Order allowed the Trustee to receive and deposit the OHS Funds
and distribute them accordingly. The Trustee recetved the OHS Funds in March 2023 and
disbursed the funds to the approved creditors the same month. Notably, $22,000 of the OHS
funds were applied to the Landlord’s chapter 7 administrative rent claim.

83. | The Firm’s services under the category of Asset Disposition were very beneficial
as the Firm recovered approximately $263,670 in Plan Investment funds, distributed $137,177.99
to certain OHS creditors, preserved the Debtor’s electronic data, reduced the Iron Mountain
chapter 7 administrative rent claim, reduced certain general unsecured claims, and assisted with
the Trustee’s administration of the Debtor’s 403(b) plan all without commencing any expensive
litigation.

84. In connection with the category of Asset Disposition the firm prepared and filed
the following pleadings:

a. Chapter 7 Trustee’s Motion for Approval of Trustee’s Consulting Agreement with
the Debtor’s Former IT Director and Compensation; and, Declaration of Trustee Jason M. Rund
in Support Thereof;

b. Notice of Chapter 7 Trustee’s Motion for Approval of Trustee’s Consulting
Agreement with the Debtor’s Former IT Director and Compensation;

c. Declaration of Kathy Driggers Regarding ECF Service of: (1) Chapter 7 Trustee’s

Motion for Approval of Trustee’s Consulting Agreement with the Debtor’s Former IT Director

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and Compensation; and, (2) Notice of Chapter 7 Trustee’s Motion for Approval of Trustee’s
Consulting Agreement with the Debtor’s Former IT Director and Compensation;

d. Trustee’s Supplemental Proof of Service and Declaration of Ed Rodieck
Regarding Service of: (1) Chapter 7 Trustee’s Motion for Approval of Trustee’s Consulting
Agreement with the Debtor’s Former IT Director and Compensation; (2) Notice of Chapter 7
Trustee’s Motion for Approval of Trustee’s Consulting Agreement with the Debtor’s Former IT
Director and Compensation; (3) Chapter 7 Trustee’s Motion for Order Limiting Notice Pursuant
to Federal Rules of Bankruptcy Procedure 2002, 6007 and 9007; and, (4) Notice of Chapter 7
Trustee’s Motion for Order Limiting Notice Pursuant to Federal Rules of Bankruptcy Procedure
2002, 6007 and 9007;

e. Declaration That No Part Requested a Hearing on Motion (LBR 9013-1(0));

f. Order Granting Chapter 7 Trustee’s Motion for Approval of Trustee’s Consulting
Agreement with the Debtor’s Former IT Director and Compensation;

g. Chapter 7 Trustee’s Motion for Order Limiting Notice Pursuant to Federal Rules
of Bankruptcy Procedure 2002, 6007 and 9007; Memorandum of Points and Authorities and
Declaration of Trustee Jason M. Rund in Support Thereof;

h. Notice of Chapter 7 Trustee’s Motion for Order Limiting Notice Pursuant to
Federal Rules of Bankruptcy Procedure 2002, 6007 and 9007;

i. Declaration of Kathy Driggers Regarding ECF Service of: (1) Chapter 7 Trustee’s
Motion for Order Limiting Notice Pursuant to Federal Rules of Bankruptcy Procedure 2002,
6007 and 9007; and, (2) Notice of Chapter 7 Trustee’s Motion for Order Limiting Notice
Pursuant to Federal Rules of Bankruptcy Procedure 2002, 6007 and 9007;

j. Trustee’s Supplemental Proof of Service and Declaration of Ed Rodieck
Regarding Service of: (1) Chapter 7 Trustee’s Motion for Approval of Trustee’s Consulting
Agreement with the Debtor’s Former IT Director and Compensation; (2) Notice of Chapter 7
Trustee’s Motion for Approval of Trustee’s Consulting Agreement with the Debtor’s Former IT
Director and Compensation; (3) Chapter 7 Trustee’s Motion for Order Limiting Notice Pursuant

to Federal Rules of Bankruptcy Procedure 2002, 6007 and 9007; and, (4) Notice of Chapter 7

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Trustee’s Motion for Order Limiting Notice Pursuant to Federal Rules of Bankruptcy Procedure
2002, 6007 and 9007;

k. Declaration That No Part Requested a Hearing on Motion (LBR 9013-1(0));

|. Order Granting Chapter 7 Trustee’s Motion for Order Limiting Notice Pursuant to
Federal Rules of Bankruptcy Procedure 2002, 6007 and 9007;

m. Chapter 7 Trustee’s Motion for Approval of Trustee’s Consulting Agreement with
the Debtor’s Former IT Vendor Aegis Networks and Compensation; and Declaration of Trustee
Jason M. Rund in Support Thereof:

n. Notice of Chapter 7 Trustee’s Motion for Approval of Trustee’s Consulting
Agreement with the Debtor’s Former [IT Vendor Aegis Networks and Compensation;

o. Declaration of Kathy Driggers Regarding ECF Service of: (1) Chapter 7 Trustee’s
Motion for Approval of Trustee’s Consulting Agreement with the Debtor’s Former IT Vendor
Aegis Networks and Compensation; and, (2) Notice of Chapter 7 Trustee’s Motion for Approval
of Trustee’s Consulting Agreement with the Debtor’s Former IT Vendor Aegis Networks and
Compensation;

p. Trustee’s Supplemental Proof of Service and Declaration of Ed Rodieck
Regarding Service of: (1) Chapter 7 Trustee’s Motion for Approval of Trustee’s Consulting
Agreement with the Debtor’s Former IT Vendor Aegis Networks and Compensation; and, (2)
Notice of Chapter 7 Trustee’s Motion for Approval of Trustee’s Consulting Agreement with the
Debtor’s Former IT Vendor Aegis Networks and Compensation;

q. Declaration That No Part Requested a Hearing on Motion (LBR 9013-1(0));

r. Order Granting Chapter 7 Trustee’s Motion for Approval of Trustee’s Consulting
Agreement with the Debtor’s Former IT Vendor Aegis Networks and Compensation;

s. Chapter 7 Trustee’s Motion for Approval of Trustee’s Agreement with the
Debtor’s Former IT Vendor Avantiico, Inc. and Compensation; and, Declaration of Trustee
Jason M. Rund in Support Thereof;

t. Notice of Chapter 7 Trustee’s Motion for Approval of Trustee’s Agreement with

the Debtor’s Former IT Vendor Avantiico, Inc. and Compensation;

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u. Declaration of Kathy Driggers Regarding ECF Service of: (1) Chapter 7 Trustee’s
Motion for Approval of Trustee’s Agreement with the Debtor’s Former IT Vendor Avantiico,
Inc. and Compensation; and, (2) Notice of Chapter 7 Trustee’s Motion for Approval of Trustee’s
Agreement with the Debtor’s Former IT Vendor Avantiico, Inc. and Compensation;

v.  Trustee’s Supplemental Proof of Service and Declaration of Ed Rodieck
Regarding Service of: (1) Chapter 7 Trustee’s Motion for Approval of Trustee’s Agreement with
the Debtor’s Former IT Vendor Avantiico, Inc. and Compensation; and, (2) Notice of Chapter 7
Trustee’s Motion for Approval of Trustee’s Agreement with the Debtor’s Former IT Vendor
Avantiico, Inc. and Compensation;

w. Declaration That No Party Requested a Hearing on Motion (LBR 9013-1(0));

x. Order Granting Chapter 7 Trustee’s Motion for Approval of Trustee’s Consulting
Agreement with the Debtor’s Former IT Vendor Avantiico, Inc. and Compensation;

y. Proof of Service of Entered Order Granting Chapter 7 Trustee’s Motion for
Approval of Trustee’s Consulting Agreement with the Debtor’s Former IT Vendor Avantiico,
Inc. and Compensation;

z. Professional Fee Statement Number 1, June and July 2022 for Aegis Networks;

aa. Professional Fee Statement Number 1 for June, July and August, 2022 for Robert
Lazo;

bb. Chapter 7 Trustee’s Motion for Approval of Trustee’s Agreement with the
Debtor’s Former Director of the Early Head Start Program and Compensation; and, Declaration
of Trustee Jason M. Rund in Support Thereof;

cc. Notice of Chapter 7 Trustee’s Motion for Approval of Trustee’s Agreement with
the Debtor’s Former Director of the Early Head Start Program and Compensation;

dd. Declaration That No Party Requested a Hearing on Motion (LBR 9013-1(0));

ee. Order Granting Chapter 7 Trustee’s Motion for Approval of Trustee’s Agreement

with the Debtor’s Former Director of the Early Head Start Program and Compensation;

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ff. Proof of Service of Entered Order Granting Chapter 7 Trustee’s Motion for
Approval of Trustee’s Agreement with the Debtor’s Former Director of the Early Head Start
Program and Compensation;

gg. Professional Fee Statement Number | for June and July 2022 for Avantiico, Inc.

bh. Chapter 7 Trustee’s Motion for Approval of Trustee’s Second Agreement with the
Debtor’s Former IT Director and Compensation; and, Declaration of Trustee Jason M. Rund in
Support Thereof;

li. Notice of Chapter 7 Trustee’s Motion for Approval of Trustee’s Second
Consulting Agreement with the Debor’s Former IT Director and Compensation;

jj. Declaration That No Party Requested a Hearing on Motion (LBR 9013-1(0));

kk. Order Granting Chapter 7 Trustee’s Motion for Approval of Trustee’s Second
Agreement with the Debtor’s Former IT Director and Compensation;

ll. Chapter 7 Trustee’s Motion for Approval of Trustee’s Agreement with JLK
Rosenberger, Certified Public Accountants and Compensation; and, Declaration of Trustee Jason
M. Rund in Support Thereof;

mm. Notice of Chapter 7 Trustee’s Motion for Approval of Trustee’s Agreement with
JLK Rosenberger, Certified Public Accountants and Compensation;

nn. Declaration That No Party Requested a Hearing on Motion (LBR 9013-1(0));

oo. Order Granting Chapter 7 Trustee’s Motion for Approval of Trustee’s Agreement
with JLK Rosenberger, Certified Public Accountants and Compensation;

pp. Professional Fee Statement Number 1 for August and September 2022 for JLK
Rosenberger LLP;

qq. Chapter 7 Trustee’s Motion for Order Approving Compromise of Controversy
Between the Bankruptcy Trustee and Iron Mountain Pursuant to Federal Rule of Bankruptcy
Procedure 9019; Memorandum of Points and Authorities; and Declaration of Chapter 7 Trustee

Jason M. Rund in Support Thereof;

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rr. Notice of Chapter 7 Trustee’s Motion for Order Approving Compromise of
Controversy Between the Bankruptcy Trustee and Iron Mountain Pursuant to Federal Rule of
Bankruptcy Procedure 9019;
ss. Declaration That No Party Requested a Hearing on Motion (LBR 9013-1(0));
tt. Order Granting Chapter 7 Trustee’s Motion for Order Approving Compromise of
Controversy Between the Bankruptcy Trustee and Iron Mountain Pursuant to Federal Rule of
Bankruptcy Procedure 9019;
uu. Proof of Service of Entered Order Granting Chapter 7 Trustee’s Motion for Order
Approving Compromise of Controversy Between the Bankruptcy Trustee and Iron Mountain
Pursuant to Federal Rule of Bankruptcy Procedure 9019;
vv. Professional Fee Statement Number 2 for August 8, 2022 — October 31, 2022 for
Robert Lazo;
ww. Professional Fee Statement Number 2 for October 2022 for JLK Rosenberger,
LLP;
xx. Professional Fee Statement Number 2 for August and September 2022 for
Avantiico, Inc.;
yy. Chapter 7 Trustee’s Motion for Order: (1) Authorizing Trustee to Terminate
Debtor’s 457 Plan and Rabbi Trust Pursuant to 11 U.S.C. Section 363; (2) Authorizing the
Liquidation of the Plan Investments and Turnover of the Sale Proceeds by Newport Group to the
Trustee Pursuant to 11 U.S.C. Section 542; and, (3) If Granted, Allowing Plan Participants to
File Unsecured Claims Within 90 Days of Entry of the Order Granting This Motion;
Memorandum of Points and Authorities; Declaration of Trustee Jason M. Rund in Support
Thereof;
zz. Notice of Chapter 7 Trustee’s Motion for Order: (1) Authorizing Trustee to
Terminate Debtor’s 457 Plan and Rabbi Trust Pursuant to 11 U.S.C. Section 363; (2)
Authorizing the Liquidation of the Plan Investments and Turnover of the Sale Proceeds by

Newport Group to the Trustee Pursuant to 11 U.S.C. Section 542; and, (3) If Granted, Allowing

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Plan Participants to File Unsecured Claims Within 90 Days of Entry of the Order Granting This
Motion;

aaa. Order Granting Chapter 7 Trustee’s Motion for Order: (1) Authorizing
Trustee to Terminate Debtor’s 457 Plan and Rabbi Trust Pursuant to 11 U.S.C. Section 363; (2)
Authorizing the Liquidation of the Plan Investments and Turnover of the Sale Proceeds by
Newport Group to the Trustee Pursuant to 11 U.S.C. Section 542; and (3) Allowing Plan
Participants to File Unsecured Claims Within 90 Days of Entry of the Order Granting This
Motion;

bbb. Chapter 7 Trustee’s Motion for Order Approving Compromise of
Controversy Between the Bankruptcy Trustee and Office of Head Start Pursuant to Federal Rule
of Bankruptcy Procedure 9019; Memorandum of Points and Authorities; and Declaration of
Chapter 7 Trustee Jason M. Rund in Support Thereof;

ccc. Notice of Chapter 7 Trustee’s Motion for Order Approving Compromise
of Controversy Between the Bankruptcy Trustee and Office of Head Start Pursuant to Federal
Rule of Bankruptcy Procedure 9019;

ddd. Notice of Errata Regarding the Following: (1) Chapter 7 Trustee’s Motion
for Order Approving Compromise of Controversy Between the Bankruptcy Trustee and Office of
Head Start Pursuant to Federal Rule of Bankruptcy Procedure 9019; (2) Notice of Chapter 7
Trustee’s Motion for Order Approving Compromise of Controversy Between the Bankruptcy
Trustee and Office of Head Start Pursuant to Federal Rule of Bankruptcy Procedure 9019;

ece. Order Granting Chapter 7 Trustee’s Motion for Order Approving
Compromise of Controversy Between the Bankruptcy Trustee and Office of Head Start Pursuant
to Federal Rule of Bankruptcy Procedure 9019;

fff. Chapter 7 Trustee’s Motion for Approval of Trustee’s Second Agreement
with JLK Rosenberger, Certified Public Accountants and Compensation; and Employment of
JLK Rosenberger, Certified Public Accountants Pursuant to 11 U.S.C. Section 327; Declaration

of Trustee Jason M. Rund in Support Thereof;

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eeg. Notice of Chapter 7 Trustee’s Motion for Approval of Trustee’s Second
Agreement with JLK Rosenberger, Certified Public Accountants and Compensation; and
Employment of JLK Rosenberger, Certified Public Accountants Pursuant to 11 U.S.C. Section
327;
hhh. Declaration That No Party Requested a Hearing on Motion (LBR 9013-
1(0));
iil. Order Granting Chapter 7 Trustee’s Motion for Approval of Trustee’s

Second Agreement with JLK Rosenberger, Certified Public Accountants and Compensation.

Claim Objection

85. During this current time period, the Firm has expended 11.8 hours and incurred
approximately $3,741.00 in connection with the category of Claim Objection. The time entries
for the category of Claim Objection are set forth in Exhibit “1” attached hereto, pages 142
through 145. The blended hourly rate for such services is $317.03.

86. In the category of Claim Objection, the Firm responded to phone and email
inquiries of creditors regarding the case. The Firm reviewed all filed claims and subsequent
amended claims and prepared a claims analysis and proposed distribution analysis. Upon the
receipt of the filed claims from the participants of the 457 Plan, the analysis was revised
accordingly.

87. The Firm did not file any pleadings in connection with the category of Claim

Objection.
Employment
88. During this current time period, the Firm has expended 20.4 hours and incurred

approximately $6,610.50 in connection with the category of Employment. The time entries for
the category of Employment are set forth in Exhibit “1” attached hereto, pages 145 through 149.
The blended hourly rate for such services is $324.04,

89. —_ In connection with the category of Employment, the Firm has been required to
expend time preparing and executing the pleadings necessary to obtain Court authority regarding

the employment of the Firm as the Trustee’s general bankruptcy counsel.

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90. The Application to Employ the Law Offices of Thomas H. Casey, Inc., a
Professional Corporation as the Chapter 7 Trustee’s general bankruptcy counsel (““Trustee’s
Application”) was filed with the Court on June 15, 2022.

9]. By entry of the Employment Order, the Court approved the Trustee’s Application
to Employ the Law Offices of Thomas H. Casey as the Trustee’s Attorney effective as of May
30, 2022.

92. In addition to obtaining Court approval of the Firm as the Trustee’s general
counsel, the Firm also negotiated several consulting agreements, including, but not limited to,
with IT Consultant Robert Lazo, IT Vendors Aegis Networks and Avantiico, Inc., and the
Debtor’s Former Director of the Early Head Start Program. Further the Firm assisted with the
engagement of JLK Rosenberger, Certified Public Accountants to complete the audit of the
403(b) Plan. See Asset Disposition category above.

93. In connection with the category of Employment the firm prepared and filed the
following pleadings:

b. Application to Employ Law Office of Thomas H. Casey, Inc., a Professional
Corporation as General Counsel for Chapter 7 Trustee Effective May 30, 2022;

c. Notice of Application of Chapter 7 Trustee Jason M. Rund to Employ General
Counsel (Law Office of Thomas H. Casey, Inc., a Professional Corporation) Effective May 30,
2022;

d. Statement of Disinterestedness for Employment of Professional Person Under
FRBP 2014;

e. Declaration That No Party Requested a Hearing on Motion (LBR 9013-1(0));

f. Order Granting Application to Employ Law Office of Thomas H. Casey, Inc., a
Professional Corporation Effective May 30, 2022.

Fee Application

94. During this current time period, the Firm has expended 20.2 hours and incurred

approximately $4,096.50 in connection with the category of Fee Application. The time entries

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for the category of Fee Application are set forth in Exhibit “1” attached hereto, pages 149
through 151. The blended hourly rate for such services is $202.80.

95. In connection with the category of Fee Application, the Firm has expended time
preparing and filing its First Interim Fee Application. In preparing the First Interim Fee
Application, the Firm has been required to expend time complying with the Bankruptcy Code,
the Local Bankruptcy Rules, the United States Trustee’s Fee Guidelines and the requirements of
the Court. In light of the extensive requirements, the Firm believes that the fees incurred in this
category are reasonable.

96. In connection with the category of Fee Application, the Firm prepared and filed
the following pleadings:

a. Notice to Professionals of Interim Fee Applications;
b. First Interum Application for Fees and Reimbursement of Expenses of the Law
Office of Thomas H. Casey, Attorney for Chapter 7 Trustee (May 30, 2022 through January 11,
2024); Declaration of Thomas H. Casey in Support Thereof; and Trustee’s Comments Page;
c. Notice of Hearing on Interim Fee Application.
Lease

97. During this current time period, the Firm has expended approximately 56.3 hours
and incurred approximately $24,580.50 in connection with the category of Lease. The time
entries for the category of Lease are set forth in Exhibit “1” attached hereto, pages 151 through
165, The blended hourly rate for such services is $436.60.

98. In connection with the category of Lease, the Firm reviewed and analyzed the 1)
March 31, 2017 lease agreement between the Debtor and John Hancock Life Insurance Company
(U.S.A.), a Michigan corporation (“Landlord”) for the commercial building located at 515 South
Figueroa Street, Suite 900, Los Angeles, California 90071 (“Office Space’); 2) June 21, 2018
agreement between the Debtor and Landlord (“Storage License”) for the licensing of certain
storage premises known as Unit Al and Unit A2, located on parking level A of 515 South
Figueroa Street (“Storage Premises” and together with the Office Space, the “Business

Premises”); and, 3) October 31, 2021 First Amendment to Lease Agreement (“First Amendment”

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and collectively with the Office Lease, Storage License, and any other amendments, the
“Leases”’) entered into between the Debtor and Landlord. The First Amendment indicated the
Debtor had failed to pay Basic Rent under the Office Lease of $76,164.

99, The Firm reviewed and analyzed the pre-petition Five Day Notice of Default
issued to the Debtor by the Landlord on or about May 16, 2022, which indicated the amount due
under the Office Lease was $371,242.40 (“Notice of Default’).

100. The Firm immediately communicated with Matthew Pham (“Attorney Pham”),
counsel for the Landlord to discuss the amounts of the monthly post-petition rent accruing at the
Business Premises, operating expenses, insurance, and real property taxes.

101. The Firm researched and analyzed 11 U.S.C. §365 including recent amendments
regarding the automatic rejection of the leases, extensively analyzed the rejection/termination of
a lease by the Trustee by motion, the application of the security deposit including case law on
point, and prepared a legal memorandum on these issues.

102. Because the Trustee was facing monthly administrative rent and miscellaneous
charges in the approximately amount of $78,000 and the Debtor was no longer operating, on
behalf of the Trustee, and on shortened time, the Firm prepared and filed a motion for order
authorizing the rejection of the Leases entered into by the Debtor and the Landlord (“Motion To
Reject Lease”). Concurrently and in conjunction with the Motion To Reject Lease, the Firm
prepared and filed a request for hearing on shortened time, on the abandonment of the personal
property in the Business Premises. See Abandon category above.

103. The request for the hearing on shortened time was approved and the Firm
completed the notice and filing required by the Court. The Court approved the Motion To Reject
Lease pursuant to a tentative ruling.

104. The Firm drafted the Order granting the Motion To Reject Lease and forwarded a
draft of the order to Attorney Pham for approval. The Firm and Attorney Pham exchanged email
communications for purposes of agreeing to the form and content of the Order granting the
Motion To Reject Lease. The Order granting the Motion To Reject Leases was entered on July

25, 2022.

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105. After the Firm successfully rejected the Leases and because the Debtor was in
arrears in pre- and post-petition rent, the Landlord was asserting a chapter 7 administrative claim
in excess of $148,000 as well as a general unsecured claim in the amount of $1,251,500.72. The
Landlord was also holding the Debtor’s security deposit in the amount of $52,007.11.

106. The Landlord filed a proof of claim in the total amount of $1,400,369.53 on
account of the amounts due under the Leases (the “Proof of Claim” or “Claim’”), of which
(a) $148,868.81 was asserted as a Chapter 7 administrative claim for post-petition, pre-rejection
rent due under the Leases (the “Administrative Claim”) and (b) the remaining $1,251,500.72 was
asserted as a general unsecured claim for pre-petition arrears and one year’s future rent due
under the Leases (the “General Unsecured Claim”).

107. The Firm researched and analyzed the application of the Debtor’s security deposit
held by the Landlord to pre-petition claim for rent and the post-petition administrative claim
asserted by the Landlord and prepared a legal memorandum for the Trustee on theses issues.

108. The Firm communicated extensively with Attorney Pham to resolve the
Landlord’s Claim, payment of the Landlord’s Administrative Claim and the Landlord’s ability to
draw down the Debtor’s security deposit.

109. The Firm successfully negotiated an agreement with the Landlord resolving all
issues, including reducing the Landlord’s Administrative Claim by $53,448.81 or 36% of the
total amount claimed as well as waiving the remaining amounts owed on its Claims. The terms
of the settlement with the Landlord provided, inter alia, the following:

a. The Landlord’s Administrative Claim shall be allowed in the amount of
$148,868.81, as alleged in the Proof of Claim, and the Landlord’s General
Unsecured Claim shall be allowed in the amount of $1,251,500.72, as alleged in
the Proof of Claim.

b. Within thirty (30) days of the Effective Date, the Trustee shall make two
payments to the Landlord totaling $95,420 (the “Trustee Payment”), by checks
made payable to John Hancock Life Insurance Company (U.S.A.) and forwarded
to Allen Matkins Leck Gamble Mallory & Natsis LLP, Attn: Matthew Pham, 865

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South Figueroa Street, Suite 2800, Los Angeles, CA 90017. Upon receipt, the
Landlord shall apply the Trustee Payment against its Administrative Claim.

c. On the Effective Date, the Landlord is granted relief from stay and shall draw
down on the Security Deposit and shall apply the Security Deposit against its
General Unsecured Clatm.

d. Upon the Landlord’s receipt and deposit of the Trustee Payment and its draw
down of the Security Deposit, the Landlord is deemed to have waived the
remaining amounts owing on its Claim (i.e., the $53,448.81 owing on its
Administrative Claim and $1,199,493.61 owing on its General Unsecured Claim).

110. On December 22, 2022, the Firm prepared and filed a Motion to Approve
Compromise of Controversy Between the Bankruptcy Trustee and Landlord John Hancock Life
Insurance Company (USA), a Michigan Corporation Pursuant to Federal Rule of Bankruptcy
Procedure 9019 (“9019 Motion”).

111. Pursuant to the concurrently filed motion to approve settlement agreement with
Office of Head Start (“OHS”), as described in the category of Asset Disposition, OHS had
earmarked funds for distribution to certain creditors of the estate, including the Landlord. OHS
had $22,000 allocated for payment to the Landlord. Therefore, upon approval of the 9019
Motion, the Bankruptcy Estate would only be required to pay the Landlord $73,240 on its
Administrative Claim, with the remaining $22,000 coming from OHS.

112. Pursuant to Order entered February 1, 2023, the Court granted the 9019 Motion.
The Trustee subsequently forwarded the funds to pay the Landlord’s Administrative Claim in
full, pursuant to the terms of the Court approved settlement agreement.

113. The Firm’s services under this category greatly benefitted the Bankruptcy Estate
by reducing the Landlord’s post-petition Administrative Claim by $53,448.81, and after applying
the security deposit to the Landlord’s General Unsecured Claim, the Landlord waived the
remaining General Unsecured Claim in the amount of $1,199,493.61.

114. Inconnection with the category of Lease the firm prepared and filed the following

pleadings:

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a. Chapter 7 Trustee’s Motion to Reject Non-Residential Real Property Leases;
Declaration of Trustee Jason Rund and Thomas H. Casey;

b. Application for Order Setting Hearing on Shortened Notice;

c. Order Setting Hearings on Motion to Reject Non-Residential Real Property
Leases and Motion to Abandon Personal Property;

d. Declaration of Kathy Driggers Regarding Compliance with Service Regarding
Hearing on Shortened Time of the Following Motions: (1) Chapter 7 Trustee’s Motion for Order
Authorizing Abandonment of the Estate’s Interest in Certain Personal Property Pursuant to 11
U.S.C. Section 554; and (2) Chapter 7 Trustee’s Motion for Order Authorizing the Chapter 7
Trustee to Reject Unexpired Non-Residential Real Property Leases Pursuant to 11 U.S.C.
Section 365;

e, Order Granting Chapter 7 Trustee’s Motion to Reject Non-Residential Real
Property Leases;

f. Chapter 7 Trustee’s Motion for Order Approving Compromise of Controversy
Between the Bankruptcy Trustee and Landlord John Hancock Life Insurance Company (USA), a
Michigan Corporation Pursuant to Federal Rule of Bankruptcy Procedure 9019; Memorandum of
Points and Authorities; and Declaration of Chapter 7 Trustee Jason M. Rund in Support Thereof;

g. Notice Chapter 7 Trustee’s Motion for Order Approving Compromise of
Controversy Between the Bankruptcy Trustee and Landlord John Hancock Life Insurance
Company (USA), a Michigan Corporation Pursuant to Federal Rule of Bankruptcy Procedure
9019;

h. Order Granting Chapter 7 Trustee’s Motion for Order Approving Compromise of
Controversy Between the Bankruptcy Trustee and Landlord John Hancock Life Insurance
Company (USA), a Michigan Corporation Pursuant to Federal Rule of Bankruptcy Procedure
9019.

Litigation 1
115. During this current time period, the Firm has expended approximately 9.5 hours

and incurred approximately $5,578.50 in connection with the category of Litigation 1. The time

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entries for the category of Litigation 1 are set forth in Exhibit “1” attached hereto, pages 165
through 167. The blended hourly rate for such services is $587.21.

116. Inthe category of Litigation 1, the Firm reviewed and analyzed evidence in
support of the Trustee’s potential causes of action against the Debtor’s directors and officers.

117. The Firm communicated extensively with Trustee’s special counsel Brutzkus
Gubner (“BG Law’) on the Trustee’s viable causes of action against the Debtor’s directors and
officers. The Firm assisted BG Law with obtaining 2004 Orders against William Sperling, the
Debtor’s former CEO and Fernando Almodovar, the Debtor’s former CFO.

118. The Firm reviewed BG Law’s lengthy demand letter to the Debtor’s insurance
carrier, Nationwide. Nationwide.

119. After denial of the Trustee’s demand by the insurance carrier, BG Law prepared a
draft complaint against William Sperling, Sugey Dominguez, the Debtor’s former Controller,
and Rob Bonta, the Attorney General for the State of California. Rob Bonta was included in the
complaint as “an indispensable party and nominal party defendant to this action pursuant to the
California Corporations Code given that the Debtor was a California nonprofit public benefit
corporation.”

120. The Firm reviewed and requested minor revisions to the complaint. BG Law filed
the complaint with the US Bankruptcy Court on August 18, 2023. In December 2023, the parties
attended mediation which proved unsuccessful.

121. The Firm did not file any pleadings in connection with the category of Litigation.

VI.
BILLING RECORDS; EXPENSES INCURRED

122. The Firm’s time records are billed in tenths of an hour increments and recorded
on a computer system. The computer records show that the Firm has expended 455.4 hours in
providing services to the estate during the administration of this case, during the period of May
30, 2022 through January 11, 2024.

123, Inthe normal course of business, the Firm maintained records of the expenses

incurred on behalf of the estate. The Firm charges for postage when there are multiple envelopes

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mailed at one time. Records for messenger services are kept as they are incurred and input on
the computer system. Messenger services are only used when it is crucial that document delivery
be made immediately or by the next day. The Firm has access to limited Westlaw legal research
program. Westlaw research charges are only charged to the estate when a particular research
project performed in connection with the case causes the Firm to incur additional fees outside of
its Bankruptcy Westlaw program due to the subject matter of the search. Notably in this case the
Firm has incurred monthly fees to Microsoft for maintaining the Debtor’s electronic records off
site. Detailed explanations of the Firm’s expenses are noted as part of the Firm’s attached,
itemized costs.

124. In compliance with the guidelines to professional fee applications in this district
attached hereto as Exhibits “1” and “2” are the firm’s time and billing statements and

biographical information as follows:

Exhibit “1”: The Firm’s time and expense records for services rendered May 30,
2022 through January 11, 2024. Included therein is a summary of the total amount
billed on a monthly basis and a summary of each professional’s hours and amount
billed for each activity code.

Exhibit “2”: Brief biography for each professional who has expended time on this
case.

125. During this current time period, two attorneys and one paralegal have performed
services in connection with this case at their usual hourly rates as shown in Exhibit “2”.

126. Asummary of the expenses incurred on behalf of the Firm is shown in Exhibit
oy,

127. In representing the estate during the administration of this case, during this

current time period, the Firm has incurred fees and expenses as follows:

Time Period Fees Expenses
455.4 hours and “Blended” Hourly Rate $412.39 $187,804.50 $13,592.89

May 30, 2022 through January 11, 2024

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128. All services for which compensation is sought were rendered by the Firm. No
agreement has been made by the Firm or by any employee thereof, directly or indirectly, and no
understanding exists for a division of fees prayed for herein with any other person. The Firm has
not entered into any agreement, written or oral, express or implied, with any other party or party
in interest in the above-entitled case for the purpose of fixing the amount of any fees or
compensation to be paid from the assets of Debtors’ estate.

WHEREFORE, based on the time spent on this matter, the difficulty and complexity of
the issues involved, the frequent need for devoting substantial amounts of time on short notice to
the exclusion of other matters, the skill required, and the fact that their fees are well in line with
comparable law firms, the Firm requests that this Court approves fees and reimbursement of

expenses as follows:

Time Period Fees Expenses
455.4 hours and “Blended” Hourly Rate $412.39 $187,804.50 $13,592.89

May 30, 2022 through January 11, 2024

The Firm further requests that this Court order the unpaid amounts set forth above to be

paid and for such other and further relief as the Court may deem just and proper.

Respectfully submitted,

W OFFICE OF THOMAS H. CASEY, INC.,

ESSIONAL CORP TION
Dated: January 1 §, 2024 By: J ‘

Thomas H. Casey, General Counse Jason M. Rund,
Chapter 7 Trustee for the bankruptcy estate of Los Angeles
Universal Preschool dba Child360

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DECLARATION OF THOMAS H. CASEY

I, Thomas H. Casey, declare as follows:

l. I am general counsel for Jason M. Rund, Chapter 7 Trustee (“Trustee”) for the
bankruptcy estate of Jn re Los Angeles Universal Preschool dba Child360 (“Debtor”). The facts
contained herein are based upon information which I have acquired in my capacity as attorney
for the Trustee and upon my review of the pleadings, records and files in this matter, and are true
and correct to the best of my knowledge, information and belief.

2, | have read the foregoing Fee Application. The Fee Application accurately sets
forth the services rendered by me as the general counsel in this case. The Fee Application
complies with the Guidelines of the Office of the United States Trustee.

3. All services for which compensation is sought were rendered by the Firm. No
agreement has been made by the Firm or by any employee thereof, directly or indirectly, and no
understanding exists for a division of fees prayed for herein with any other person. The Firm has
not entered into any agreement, written or oral, express or implied, with any other party or party
in interest in the above-entitled case for the purpose of- fixing the amount of any fees or
compensation to be paid from the assets of Debtors’ estate.

4. In compliance with the United States Trustee’s Guidelines, attached hereto as
Exhibits “1” and “2” are my time and billing statements and biographical information as
follows:

Exhibit “1”: The Firm’s time and expense records for services rendered from May 30,

2022 through January 11, 2024. Included therein is a summary of the total amount billed

on a monthly basis and a summary of each professional’s hours and amount billed for

each activity code.
/if

Hf
Hl

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oa JT DB WH SF WY we &K CO DO O HS BD WA F&F WH BP KF CS

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Exhibit “2”: Brief biography for each professional who has expended time on this case.
I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct and that this Declaration was executed on January 16 2024, at

Mission Viejo, California.

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Thomas H. Casey

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Exhibit 1
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Law Office of Thomas H. Casey, Inc.
26400 La Alameda, Suite 210
Mission Viejo, CA 92691

(949) 766- 8787

Invoice submitted to:
Jason M. Rund, Ch. 7 Trustee

January 12, 2024

in Reference To:

Invoice #11450

Los Angeles Universal Preschool dba Child360
Case No. 2:22-bk-12797-DS

Professional Services

Abandon

7/7/2022 THC

THC

7/8/2022 MS

MS

MS

THC

Abandon
Telephone call with Scott Van Horn regarding evidence needed in
support of potential emergency Trustee Motion to Abandon.

Abandon

Conference call with Debtor IT Director Robert Lazo and Scott Van
Horn regarding evidence in support of the Trustee's motion to abandon
personal property on site.

Abandon

Telephone call with T. Casey regarding preparing motion to abandon
personal property located at the Debtor's premises, obtaining valuation
of same and contacting Robert Lazo.

Abandon

Commence drafting Application for Order Setting Hearing on
Shortened Notice for abandonment of the Debtor's personal property
located at the Debtor's business premises.

Abandon

Commence drafting Motion for Order Authorizing Abandonment of the
Estate's Interest in Personal Property located at the Debtor's Business
Premises.

Abandon

Prepare email instructions to paralegal M. Silva regarding after filing of
Trustee motion to approve Avantiico contract prepare motion to
abandon personal property on site and explain timing of obtaining

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Hrs/Rate Amount
0.20 120.00
600.00/nr
0.20 120.00
600.00/hr
0.10 19.50
195.00/hr
0.30 58.50
195.00/hr
1.70 331.50
195.00/hr
0.30 180.00
600.00/hr
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Jason M. Rund, Ch. 7 Trustee

7/8/2022 THC

7/11/2022 THC

MS

MS

7/12/2022 MS

MS

THC

7/13/2022 MS

THC

evidence from declarants Wednesday morning and concurrent filing of
motion to terminate lease.

Abandon

Telephone call with paralegal M. Silva regarding instructions regarding
call IT Director Robert Lazo and obtain evidence regarding more
detailed description of personal property on site being abandoned and
preparing draft motion to abandon and separate motion to terminate
lease being prepared, prepare motion to shorten time for hearings
targeting Wednesday filing after Scott Van Horn inspects personal
property on site Wednesday morning, abandon ail personal property in
basement storage as well.

Abandon

Telephone call with paralegal Marissa Silva regarding obtain evidence
from Robert Lazo today in support of the Trustee's motion to abandon
regarding specific evidence regarding age and kind of computer
hardware on site and furniture.

Abandon
Telephone call with T. Casey regarding continuing preparing Motion to
abandon personal property and contacting R. Lazo regarding same.

Abandon

Continue drafting Motion to Abandon Personal Property and add draft
Declaration of S. Van Horn of Van Horn Auctions and Appraisals, LLC
in support.

Abandon
Telephone call with T. Casey regarding status of abandonment motion
and future call with R. Lazo regarding personal property.

Abandon

Revisions to Motion to Abandon Personal Property to include
additional information provided by R. Lazo today (.5); draft and
preparation of email correspondence to T. Casey regarding draft
Motion ready for his review (.1).

Abandon
Review and revise the Trustee's motion to abandon personal property.

Abandon
Review and revise Motion to Abandon Personal Property.

Abandon
Review and revise the Trustee's motion to abandon the Personal
Property on site at the Debtor's Business Premises.

Page 2
Hrs/Rate Amount
0.30 180.00
600.00/hr
0.20 120.00
600.00/hr
0.10 19.50
195.00/hr
0.60 117.00
195.00/hr
0.10 19.50
195.00/hr
0.60 117.00
195,00/hr
0.90 540.00
600.00/hr
0.30 58.50
195.00/hr
0.50 300.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

7113/2022 MS

MS

MS

MS

MS

MS

MS

MS

THC

THC

Abandon

Telephone call with to Robert Lazo regarding confirming date of
transferring electronic data and availability to sign Declaration in
support of Motion.

Abandon
Review and revise Application for Setting Hearing on Shortened Time
for the Trustee's Motion to Abandon Personal Property.

Abandon
Draft and preparation of Proposed Order regarding Application for
Setting Hearing on Shortened Time.

Abandon

Telephone call with T. Casey regarding his communications with Client
Trustee J. Rund regarding proposed agent needs additional time to
provide the Trustee with a valuation of the personal property and will
likely not be able to file the motion until tomorrow.

Abandon

Telephone call with T. Casey regarding email from counsel for the
landlord regarding post-petition administrative rent claim breakdown
and calculations and instructions to revise the Motion to Abandon
regarding same.

Abandon

Review and revise Motion to Abandon to include the breakdown of the
monthly lease amount maintained by the landlord and additional
information from R. Lazo regarding decommissioned connection
between the premises and the offsite location.

Abandon
Revision to the Application to Shorten Time to include the recent
updated monthly rent amount provided by counsel for the landlord.

Abandon

Telephone call with T. Casey regarding finalizing motion as much as
possible until he communicates with S. Van Horn of Van Horn
Auctions and Appraisals, LLC regarding his inspection today.

Abandon
Review and revise the Trustee’s motion to abandon incorporating new
evidence.

Abandon
Review and revise the Trustee's application to shorten time on the
Trustee's motion to abandon.

Page 3
Hrs/Rate Amount
0.10 19.50
195.00/hr
0.20 39.00
195.00/hr
0.20 39.00
195.00/hr
0.10 19.50
195 .00/hr
0.10 19.50
195.00/hr
0.30 58.50
195.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.30 180.00
600.00/hr
0.30 180.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

7/13/2022

7/14/2022

THC

MS

Ms

THC

THC

THC

MS

THC

MS

MS

Abandon
Prepare email to Scott Van Horn regarding | need his valuation asap
and review his responsive email.

Abandon

Telephone call with T. Casey regarding status of obtaining information
from S. Van Horn of Van Horn Auctions and Appraisals, LLC regarding
value of personal property.

Abandon
Continue drafting Declaration of J. Rund in support of Application to
Shorten Time on the Trustee's Motion to Abandon Personal Property.

Abandon

Review and revise the Trustee's Declaration in support of the
Trustee's motion to abandon personal property in the Business
Premises.

Abandon

Conference call with Scott Van Horn and paralegal Marissa Silva
regarding liquidation value and terms of his supporting declaration
regarding Trustee motion to abandon.

Abandon
Review and revise Declaration of Scott Van Horn in support of the
Trustee's motion te abandon personal property on site.

Abandon

Telephone call with T. Casey and S. Van Horn of Van Horn Auctions
and Appraisals, LLC regarding valuation of the Personal Property at
the Debtor's Business Premises.

Abandon
Review the Trustee's Declaration in support of the Trustee’s motion to
abandon personal property.

Abandon

Revisions to S. Van Horn of Van Horn Auctions and Appraisals, LLC
Declaration in support of Motion to Abandon Personal Property (.2);
draft and preparation of email correspondence to S. Van Horn of Van
Horn Auctions and Appraisals, LLC and attach Declaration with a
request to review and return his signature to his Declaration (.1).

Abandon

Revisions to Motion to Abandon (.2); draft and preparation of J. Rund's
Declaration in support (.5); draft and preparation of email
correspondence to T. Casey regarding same (.1).

Page 4
Hrs/Rate Amount
0.20 120.00
600.00/hr
0.10 19.50
195.00/hr
0.50 97.50
195.00/hr
0.20 120.00
600.00/hr
0.20 4120.00
600.00/hr
0.10 60.00
600.00/nr
0.20 39.00
195.00/hr
0.20 120.00
600.00/hr
0.30 58.50
195.00/hr
0.80 156.00
195.00/hr

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Jason M. Rund, Ch. 7 Trustee Page 5
Hrs/Rate Amount
7/14/2022 MS = Abandon , 0.20 NO CHARGE
Discussion with K. Driggers regarding filings later today and review 195.00/hr
Local Bankruptcy Rule regarding Order Shortening Time.
MS Abandon 0.30 58.50
Finalize Motion to Abandon Personal Property and Declaration of J. 195.00/hr

Rund in support; Application for Shortening Time; J. Rund Declaration
in support of Application; draft and preparation of email
correspondence to J. Rund and attach all documents for review,
approval and signature.

MS = Abandon 0.40 78.00
Finalize Motion, Application to Shorten Time and proposed Order on 195.00/hr
Application to Shorten Time (.3); forward to K. Driggers and provide
instructions on filing documents with the Court (.1).

7/18/2022 MS = Abandon 0.10 19.50
Telephone call with T. Casey regarding preparing Order Granting 195.00/hr
Motion Authorizing Chapter 7 Trustee to Abandon the Estate's Interest
in Certain Personal Property.

MS Abandon 0.40 78.00
Draft and preparation of Order Granting Motion Authorizing Chapter 7 195.00/hr
Trustee to Abandon the Estate's Interest in Certain Personal Property
and email to T. Casey.

MS = Abandon 0.30 58.50
Telephone call with T. Casey regarding revising proposed Order 195.00/hr
Granting Motion Authorizing Chapter 7 Trustee to Abandon the
Estate’s Interest in Certain Personal Property (.1); revise Order
pursuant to instructions (.1); prepare email correspondence to T.
Casey regarding same (.1).

7/19/2022 MS Abandon 0.10 19.50
Discussion with T. Casey regarding revising Order Authorizing 195.00/hr
Trustee's Motion to Abandon Personal Property pursuant to Attorney
for lessor M. Pham's revisions and discuss further regarding tentative
tuling and changing appearance paragraph accordingly.

MS = Abandon 0.20 39.00
Revisions to Order Authorizing Trustee's Motion to Abandon Personal 195.00/hr
Property and adding signature lines as approved to form and content
for M. Pham's and 7. Casey's signatures.

THC Abandon 0.10 60.00
Review and sign order approving abandonment as to form and content. 600.00/hr

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Jason M. Rund, Ch. 7 Trustee

7/26/2022 THC

Abandon
Review entered Order approving Trustee’s motion to abandon on
shortened time noting changes made by the Court.

Page 6
Hrs/Rate Amount
0.10 60.00

600.00/hr

MS = Abandon 0.10 NO CHARGE
Review entered Order Authorizing the Trustee to Abandon Personal 195.00/hr
Property; forward to K. Driggers with instructions to serve on
interested parties and prepare and file proof of service of same.

SUBTOTAL: [ 13.30 4,276.50]

Asset Analysis

§/30/2022 THC Asset Analysis 0.60 360.00
Review and analyze petition, schedules and SOFA (.3); two emails 600.00/hr
from Trustee Jason Rund regarding email from Debtor counsel and
pending, immediate issues and prepare email response regarding
same, potential legal remedies to force turnover of electronic records,
preservation of electronic back up to collect scheduled receivables (.3)
5/31/2022 THC Asset Analysis 0.10 60.00

Review the Trustee’s email to Debtor counsel with list of documents 600.00/hr
requested. .

THC Asset Analysis 0.40 240.00
Prepare for phone call with Trustee Jason Rund and outline immediate 600.00/hr
action items and issues, and issues and assets in the case.

THC Asset Analysis 0.50 300.00
Conference call with Debtor counsel Caroline Djang, Trustee Jason — 600.00/hr
Rund, and paralegal Marissa Silva regarding all pending issues.

MS Asset Analysis 0.60 117.00
Telephone call with T. Casey, Trustee J. Rund and Debtor's counsel 195.00/hr
C. Djang regarding background facts of case, reason for filing
bankruptcy, accessing electronic books and records, collectability of
receiveables and contacts for board members and/or employees that
will have knowledge about receivables, grants and access to
electronic books and records.

MS _ Asset Analysis 0.10 19.50
Draft and preparation of email correspondence to S. Lish at GKL 195.00/hr

Corporate Search and request California UCC-1 and Los Angeles

Countywide search for any tax liens, judgments, etc. agains the Debtor

and the Debtor's dba Child360.

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Jason M. Rund, Ch. 7 Trustee

5/31/2022 MS

MS

6/2/2022 MS

6/3/2022 MS

THC

MS

MS

6/6/2022 MS

6/7/2022 MS

THC

THC

THC

Asset Analysis
Draft and preparation of email correspondence to T. Casey regarding
request for search of secured liens against the Debtor and/or its dba.

Asset Analysis
Review petition, schedules, statement of affairs, 2019 tax return, April
2022 bank statement for two Debtor accounts and insurance policy.

Asset Analysis
Telephone call with T. Casey regarding email from C. Djang, checks
received by the Debtor and updating address with the USPS.

Asset Analysis

Draft and preparation of email correspondence to S. Lish, GKL
Corporate Search regarding status of UCC-1 and countywide search
results.

Asset Analysis
Review email from member of board Schoenbaum and prepare email
regarding key employees.

Asset Analysis

Review petition schedules and SOFA (.3) and prepare email
correspondence to T. Casey regarding rent and security deposit;
potential preference actions and former CEO and CFO paid out two
weeks prior to the petition date, but no amounts were listed (.2).

Asset Analysis
Update/revise draft email to Client Trustee J. Rund regarding all
issues.

Asset Analysis

Review search results from CA UCC and Los Angeles County and
confirm no liens were found (.1); draft and preparation of email
correspondence to T. Casey regarding same (.1).

Asset Analysis
Telephone call with T. Casey regarding joining conference call today
with Karen Schoenbaum and discussions with the Trustee.

Asset Analysis
Review data an line regarding Debtor's business model.

Asset Analysis
Review Debtor's schedules and SOFA.

Asset Analysis
Conference call with Board Member Karen Schoenbaum, Trustee
Jason Rund and paralegal Marissa Silva regarding potential offsets

Page 7
Hrs/Rate Amount
0.10 19,50
195.00/hr
0.60 117.00
195.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.20 120.00
600,00/hr
0.50 97.50
195.00/nr
0.20 39.00
195.00/hr
0.20 39.00
495.00/hr
0.10 19.50
195.00/hr
0.50 300.00
600.00/hr
0.30 180.00
600.00/hr
0.80 480.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

6/7/2022 MS

MS

MS

MS

6/9/2022 THC

6/10/2022 THC

6/17/2022 MS

6/27/2022 THC

THC

THC

THC

against receivables and underlying contracts and facts supporting D&
Claim.

Asset Analysis

Conference call with T. Casey, J. Rund and Karen Schoenbaum
regarding background facts of the case, the business plan of the
Debtor, what drove the company to file bankruptcy, discuss the A/R
and the persons most knowledgeable about the A/R.

Asset Analysis
Follow up phone call with T. Casey after conference call.

Asset Analysis

Review insurance policy provided by Debtor's counsel (.3); draft and
preparation of email correspondence to T. Casey regarding same and
provide policy period and policy limit for D&O Claims (.1).

Asset Analysis

Telephone call with T. Casey regarding insurance policy, obtaining
evidence it was paid and to prepare outline of questions for 341(a)
examination.

Asset Analysis
Review documents including minutes and written correspondence
regarding D&O claim made.

Asset Analysis

Review and analyze documents regarding claim against D&O
insurance policy including LACOE letter to Child360 regarding 2021
over-billing and analyze the Trustee's potential causes of action.

Asset Analysis
Review notice of continued 341(a) examination and note on Firm
calendar and outline.

Asset Analysis
Review and analyze BDO audit statements of the Debtor for 2020 and
2021.

Asset Analysis
Review the Debtor's 2019 Federal Tax Return (.5) and the BDO audit

(.5).

Asset Analysis
Review and analyze financial documents regarding the Trustee's
potential causes of action against BDO.

Asset Analysis
Review email from Attorney Kerry Moynihan regarding top hat group in
457 plan (.1); and prepare email to Trustee regarding identify of ten

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Page 8
Hrs/Rate Amount
0.80 156.00
1495.00/hr
0.10 19.50
195.00/hr
0.40 78.00
195.00/hr
0.10 19.50
195.00/nr
0.50 300.00
600.00/hr
1.40 840.00
600.00/hr
0.10 19.50
195.00/hr
0.50 300.00
600.00/hr
1.00 600.00
600.00/hr
0.40 240.00
600.00/hr
0.40 240.00
600.00/nr
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Jason M. Rund, Ch. 7 Trustee

7/5/2022 THC

THC

7/12/2022 THC

7/13/2022 THC

7/14/2022 THC

THC

THC

THS

7/28/2022 THC

7/30/2022 THC

8/11/2022 THC

participants in 457 plan and term of "top hat" employees in 457 plan

(.3).

Asset Analysis
Review and analyze the letter from Debtor's insurer Scottsdale
Indemnity Company denying coverage.

Asset Analysis
Review LACOE letter to Child 360 alleging fraudulent billing and letter
from insurer denying coverage.

Asset Analysis
Prepare outline of questions for Debtor's 341(a) exam.

Asset Analysis

Review and revise outline for questioning of Debtor representative a
341 exam tomorrow regarding D&O claim and payment of D&O
insurance but not key IT vendors.

Asset Analysis

Review revised draft legal memorandum regarding whether 457 plan
is qualified and whether the funds in plan are property of the
bankruptcy estate (.2) and revise my outline for questioning of the
Debtor's representative at the continued 341(a) exam this morning to
obtain evidence regarding top hat participants per stated terms of 457
plan and add more questions regarding D&O claim(1.0)

Asset Analysis
Participate in 341 exam of Debtor focusing on D&O claim and
potentially contested receivables.

Asset Analysis
Telephone call with Trustee Jason Rund regarding testimony today
from Debtor.

Asset Analysis
Telephone call with client Trustee Jason Rund regarding specific
evidence needed from electronic files of the Debtor.

Asset Analysis
Review Child 360 schedules regarding amount owing to Iron Mountain
and consider settlement terms with Iron Mountain.

Asset Analysis
Review Debtor's Board of Director minutes.

Asset Analysis
Review grant document forwarded by Elan Levey.

Page 9
Hrs/Rate Amount
1.00 600.00
600.00/hr
0.30 180.00
600.00/hr
0.70 420.00
600.00/hr
0.20 120.00
600.00/hr
1.20 720.00
600.00/hr
2.50 1,500.00
600.00/nr
0.30 180.00
600.00/hr
0.10 60.00
600.00/hr
0.20 120.00
600.00/hr
0.70 420.00
600.00/hr
0.50 300.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee Page 40

Hrs/Rate Amount

5/11/2023 THC Asset Analysis 0.10 60.00
Second telephone call with Robert Lazo regarding his representation 600.00/hr

of Trustee in potential sale of electronic files to LAEP and allegation by
LAEP he may have a conflict.

SUBTOTAL: [ 19.50 10,039.50]

Asset Dispos

5/31/2022 THC Asset Dispos 0.70 420.00
Telephone call with client Trustee Jason Rund regarding all pending 600.00/hr
issues and action plan.
THC Asset Dispos 0.30 180.00
Review and outline pending issues. 600.00/hr
THC Asset Dispos 0.20 120.00
Telephone call with paralegal Marissa regarding potential motion for 600.00/hr

turnover regarding electronic data.

THC Asset Dispos 0.20 120.00
Prepare case notes memorializing names and key facts per 600.00/hr
conference call with Caroline Djang.

6/1/2022 THC Asset Dispos 0.40 240.00
Review email from Attorney Jacqueline Price for Iron Mountain 600.00/hr
regarding her client fron Mountain is holding 1,266 boxes of the
Debtor's records and review schedules regarding same and whether
any disclosure was made of 1.226 boxes of Debtor documents at Iron
Mountain and type of documents stored and whether personal, private
information is in the documents at Iron Mountain (.2); and prepare
email to Debtor counsel Caroline Djang asking what kind of Debtor
records are being stored at Iron Mountain (.2)

THC Asset Dispos 0.20 120.00
Prepare email to Attorney Jacqueline Price for lron Mountain 600.00/hr
responding to her email inquiry and advise her the Trustee is
investigating the records and at this time cannot advise her of his
action plan moving forward regarding the records.

THC Asset Dispos 0.20 120.00
Prepare second email to Debtor counsel Caroline Djang asking if any 600.00/hr
personal, private information is in records at Storage Mountain, why
paper storage and nature of documents in storage and ask for contact
information for Debtor office manager.

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Jason M. Rund, Ch. 7 Trustee

6/3/2022 THC

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THC

MS

MS

MS

MS

MS

Asset Dispos

Telephone call with Kim Robinson with paralegal Marissa regarding all
pendng issues, wind down of 403(b) plan, Debtor's electronic data and
position of lessor.

Asset Dispos
Telephone call with paralegal Marissa Silva regarding updating case
notes to file and all priority tasks.

Asset Dispos
Prepare email to Debtor counsel and Robert Lazo regarding electronic
data and recovery of it.

Asset Dispos

Review email fram Attorney Caroline Djang regarding certain key
personnel and prepare email response regarding same and review her
reply with consent to contact directly.

Asset Dispos

Draft and preparation of email correspondence to T. Casey regarding
call today to discuss moving the case forward and contacting
knowledgeable parties to ascertain information on books and records,
A/R and access to the premises.

Asset Dispos

Telephone call with T. Casey and Kim Robinson, the Debtor's former
VP of Human Resources and discuss background facts of case/prior
operations of the business, including, but not limited to, A/R, electronic
books and records, gaining access to the premises, winding down the
403(b) and 457 plans and individuals to contact for further information
on the A/R, A/P and electronic data.

Asset Dispos
Telephone call with T. Casey regarding attempts to contact Robert
Lazo (IT) and Karen Bradford (Office Manager).

Asset Dispos

Follow up telephone cal! with T. Casey regarding our call with Kim
Robinson and instructions to send email memorializing our call with
Kim and preparing application to employ counsel.

Asset Dispos

Draft and preparation of email correspondence to T. Casey regarding
memorializing our conference call with Kim Robinson today and
providing details of all issues discussed and contacts to obtain further
information on the A/R and electronic books and records.

Page 11
Hrs/Rate Amount
0.70 420.00
600.00/hr
0.10 60.00
600.00/hr
0.30 180.00
600.00/hr
0.20 120.00
600.00/hr
0.10 19.50
195.00/hr
0.70 136.50
195.00/hr
0.20 39.00
195.00/hr
0.20 39.00
195.00/hr
0.50 97.50
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

6/3/2022 MS

MS

MS

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MS

THC

6/6/2022 MS

Asset Dispos
Review Local Bankruptcy Rule regarding expenses Trustee is
authorized to pay without a Court Order.

Asset Dispos

Telephone call to Karen Schoebaum and leave voice mail for return
call to discuss A/R and persons most knowledgeable regarding same;
draft and preparation of email correspondence to Karen memorializing
my voice mail and to provide availability for a phone call.

Asset Dispos
Telephone call with T. Casey regarding conference call with Robert
Lazo today at 1:30 p.m.

Asset Dispos

Telephone call with Debtor counsel Mike Jenkins regarding
background facts of Debtor. positions taken by LA County office of
Education, Head Start and key board members and revise and update
case notes regarding Kim Robinson.

Asset Dispos
Prepare update to case notes regarding per Debtor counsel key board
members and positions of certain creditors.

Asset Dispos
Telephone call with Robert Lazo regarding IT systems, rights to data,
position of landlord and recovering data and rights to enter premises.

Asset Dispos

Conference call with T. Casey and R. Lazo, former Debtor IT Director
and discuss access to the electronic data, confirm stored at two
separate locations (infrastructure and financial), discuss two ways to
retrieve data quickly, global dump vs. system in current state,
discussed amount due and owing to these electronic data vendors
($20k-$25k for one and $10k-$12k for the other) and action plan to
move forward and setting up call next week to agree on plan to
retrieve the electronic data.

Asset Dispos
Add to case notes for Trustee regarding key points from conference
call with IT Director Robert Love.

Asset Dispos
Further communication with K. Driggers regarding preparing service
lists and future motion to limit notice.

Page 12
Hrs/Rate Amount
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.60 360.00
600.00/hr
0.30 180.00
600.00/hr
0.50 300.00
600.00/hr
0.60 117.00
195.00/hr
0.40 240.00
600.00/hr
0.10 NO CHARGE
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

6/6/2022 THC

6/7/2022 THC

THC

THC

THC

MS

6/8/2022 THC

THC

MS

MS

MS

Asset Dispos

Prepare very lengthy email to Trustee regarding all pending issues,
office lease, key IT vendors not allowing access to Debtor's electronic
date, employing certain former employees and action plan.

Asset Dispos

Telephone call with Trustee Jason Rund regarding all pending issues,

obstacles presented by inability to access electronic data and heads of
Debtor left or fired, obtaining Court orders asap regarding terminating

lease and abandoning personal property on site.

Asset Dispos
Prepare for conference call with Board Member Karen Schoenbaum
and outline questions and issues.

Asset Dispos

Telephone call with Trustee Rund regarding Debtor choasing to
commence an accounting change over the month after completion of
the BBO audit, and responses by Board Member Karen Schoenbaum.

Asset Dispos
Telephone call with paralegal Marissa and review with her the D&O
Insurance policy and term of it.

Asset Dispos
Review and update outline of priority tasks for case administration and
email same to T. Casey.

Asset Dispos
Telephone cail with paralegal M. Silva regarding potential motion for
turnover regarding Debtor's electronic data.

Asset Dispos

Telephone cail with paralegal M. Silva regarding Trustee's potential
causes of action against Aegis regarding not allowing Debtor access
to Debtor's electronic data.

Asset Dispos
Draft and preparation of responsive email correspondence to K.
Driggers regarding future motion to limit notice.

Asset Dispos

Telephone call with T. Casey regarding researching Aegis Networks
and contacting them to obtain amount due and owing to get back
online to retrieve the Debtor's electronic data containing books and
records.

Asset Dispos
Conduct research on Aegis Networks; contact two companies and
leave voice mail and online message (.5); review CA Secretary of

Page 13
Hrs/Rate Amount
1.00 600.00
600.00/hr
0.40 240.00
600.00/hr
0.30 180.00
600.00/hr
0.10 60.00
600.00/hr
0.20 120.00
600.00/hr
0.10 19.50
195.00/hr
0.10 60.00
600.00/hr
0.10 60.00
600.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.70 136.50
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

6/8/2022 THC

THC

THC

THC

6/9/2022 MS

THC

6/10/2022 THC

THC

State for Aegis Networks and save documents (.1); draft and
preparation of email correspondence to T. Casey regarding results of
research and potentially asking Robert Lazo for contact information for
someone at Aegis to get updated invoice on amount due and owing to
them in order to bring back up the electronic data (.1).

Asset Dispos
Review email from IT Director Robert Lazo regarding call with IT
vendor and prepare responsive email regarding same.

Asset Dispos

Review email from Trustee Jason Rund regarding employing IT
Director and Court approval of agreement with IT Director and
contacting !D vendor later.

Asset Dispos
Prepare email to Trustee Jason Rund regarding BDO audit for period
ending June 30, 2021.

Asset Dispos
Review BDO Audit Report for period ending June 30, 2021.

Asset Dispos

Conference call with T. Casey, J. Rund and R. Lazo, former IT
Director of the Debtor to discuss action plan to move all data to
Coresite to preserve all of the Debtor's electronic data before landlord
moves in, discuss vendors and their roles and that we must utilize
them for the transfer, discussed Robert's role and potentially
employing and paying him as a consultant to assist with the
preservation and access to large amount of electronic data.

Asset Dispos

Conference call with Robert Lazo, Trustee Jason Rund and paralegal
Marissa Silva regarding action plan to recover electronic data, and
Court approval needed for Trustee to employ Lazo and to pay key IT
vendor.

Asset Dispos

Telephone call with Trustee Jason Rund regarding pending issues
including potential agreement with landlord, potential consulting
agreement with IT Director, filed claim against D&O insurance policy.

Asset Dispos

Prepare update to case notes from interview of Board Member and
consider new evidence regarding the Trustee's potential causes of
action against Los Angeles School District and their potential offset,
potential causes of action against HeadStart for April and May
services and former Debtor employee most knowledgeable regarding

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Page 14
Hrs/Rate Amount
0.10 60.00
600.00/hr
0.20 120.00
600.00/hr
0.10 60,00
600.00/hr
0.40 240.00
600.00/hr
1.00 195.00
195.00/hr
0.90 540.00
600.00/nr
0.30 180.00
600.00/hr
4.10 660.00
600.00/hr
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Jason M. Rund, Ch. 7 Trustee

6/13/2022 THC

THC

6/15/2022 THC

THC

THC

THC

THC

THC

6/16/2022 THC

THC

HeadStart, billing to LACO for over $2 million for services not rendered
and analyze the estate's potential causes of action.

Asset Dispos
Telephone call with CPA Don Fife regarding billing practices of Debtor
and new revenue used to pay old debts.

Asset Dispos
Review and revise employment contract with former IT Director Robert
Lazo.

Asset Dispos
Telephone call with Trustee Jason Rund regarding testimony
yesterday at 341 exam, potential receivables and lease.

Asset Dispos
Review draft Consulting Agreement with Robert Lazo.

Asset Dispos

Telephone call with paralegal Marissa regarding my instructions
regarding revising the Trustee's proposed agreement with Robert Lazo
and review agreement with paralegal Marissa.

Asset Dispos

Review and revise contract with former IT Director Robert Lazo (.4)
and conference call with Robert Lazo and paralegal Marissa regarding
revisions to IT agreement and description of services (.4)

Asset Dispos
Prepare email to Trustee Jason Rund regarding proposed, draft
employment agreement with former IT Director Robert Lazo.

Asset Dispos
Review two emails from Trustee regarding scheduled receivables.

Asset Dispos

Prepare for conference call this morning and outline evidence needed
from Debtor's designated representative in order for Trustee to collect
receivables and file complaint if necessary.

Asset Dispos

Conference call with Trustee Jason Rund, Debtor representative
Tillmann Gruber, Debtor counsel Mike Jenkins and paralegal Marissa
Sllva regarding evidence and background information supporting the
Trustee's D&O claim and potential causes of action to recover
receivables.

Page 15
Hrs/Rate Amount
0.30 180.00
600.00/hr
0.90 540.00
600.00/hr
0.30 180.00
600.00/hr
0.20 120.00
600.00/hr
0.30 180.00
600.00/hr
0.80 480.00
600.00/hr
0.20 120.00
600.00/hr
0.20 120.00
600.00/hr
0.20 120.00
600.00/hr
0.60 360.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

6/16/2022 THC

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Asset Dispos

Conference call with Trustee Jason Rund and paralegal Marissa Silva
regarding his revisions to draft to the Trustee's Consulting Agreement
with Robert Lazo.

Asset Dispos

Conference call with T. Casey, J. Rund, M. Jenkins and T. Gruber
regarding collecting the accounts receivable and who would be best
suited to bring in to collect; discussed IT issues and retrieving Debtor's
data; discussed the downfall of the Debtor due to pandemic and
Insperity and discussed the rules regarding co-mingling of funds
received from grants and LACO.

Asset Dispos

Follow up call with T. Casey and J. Rund regarding moving forward
with employing Lazo as IT Director and setting up call with Ed Sudario
next week to discuss bringing him on to collect on the receivables.

Asset Dispos
Prepare email to Eddie Sudario regarding employment by Trustee and
tasks required, and terms for approval.

Asset Dispos
Telephone call with Marissa Silva regarding terms of Trustee motion to
approve the Trustee's IT Consulting Agreement and compensation.

Asset Dispos
Discussion with T. Casey regarding changing employment application
to motion to approve IT Consulting Agreement.

Asset Dispos
Revisions to prior application to employ to updated Motion to approve
IT Consulting Agreement.

Asset Dispos
Discussion with T. Casey regarding revisions to motion to approve IT
consulting agreement and adding legal authority.

Asset Dispos
Continue drafting Motion for Approval of Consulting Agreement and
Compensation and add legal authorities.

Asset Dispos
Review and revise the Trustee's motion for approval of employment of
IT Director and compensation.

Asset Dispos
Review and revise the Trustee's motion for approval of consulting
agreement with IT Director and compensation.

Page 16
_Hrs/Rate Amount
0.10 60.00
600.00/hr
0.60 117.00
195.00/hr
0.10 19.50
195.00/hr
0.30 180.00
600.00/hr
0.20 120.00
600.00/hr
0.10 19.50
195.00/hr
0.40 78.00
195.00/hr
0.10 19.50
195.00/hr
1.30 253.50
195.00/hr
0.20 120.00
600.00/nr
0.40 240.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

6/17/2022 MS

6/20/2022 MS

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6/21/2022 MS

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Asset Dispos

Review and revise Motion for Approval of IT Consulting Agreement
and Compensation (.3); Draft and preparation of email
correspondence to T. Casey regarding same and note language in
certain part and confirm to keep in (.1).

Asset Dispos

Review and revise Motion to Approve IT Consulting Agreement (.1);

draft and preparation of email correspondence to T. Casey regarding
same and request instructions on preparing J. Rund's Declaration in

support (.1).

Asset Dispos
Draft and preparation of Notice of Motion to Approve IT Consulting
Agreement.

Asset Dispos
Draft and preparation of Motion to Limit Notice.

Asset Dispos
Draft and preparation of email correspondence to K. Driggers with
instructions to save the recently filed pleadings in the case.

Asset Dispos

Several discussions with K. Driggers regarding service on over 1,000
creditors for two upcoming motions and instructions to contact attorney
services for assistance.

Asset Dispos
Review and revise email to attorney service and instructions to K.
Driggers to send out.

Asset Dispos

Telephone call with T. Casey regarding instructions on preparing
Declaration of J. Rund in support of Motion for Approval of Consulting
Agreement.

Asset Dispos

Draft and preparation of Declaration of J. Rund in support of Motion for
Approval of Consulting Agreement (.4); draft and preparation of email
correspondence to T. Casey regarding same (.1).

Asset Dispos
Telephone call with T. Casey regarding researching Local Bankruptcy
Rule regarding Motion to Limit Notice.

Page V7
Hrs/Rate Amount
0.40 78.00
195.00/hr
0.20 39.00
195.00/hr
0.40 78.00
195.00/hnr
1.60 312.00
195.00/hr
0.10 19.50
195.00/hr
0.30 58.50
195.00/hr
0.10 19.50
195.00/nr
0.10 19.50
195.00/hr
0.50 97.50
195.00/hr
0.10 19.50
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

6/21/2022 MS

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6/22/2022 MS

Asset Dispos

Research Local Bankruptcy Rules regarding limiting notice (.2); draft
and preparation of email correspondence to T. Casey regarding no
Local Bankruptcy Rule on point regarding limiting notice (.1).

Asset Dispos

Telephone call with T. Casey regarding revising motion to limit notice
(.1}); make revisions as requested (.1); prepare email correspondence
to T. Casey regarding same (.1).

Asset Dispos

Telephone call with T. Casey regarding making minor revisions to the
Motion to Approve Consulting Agreement, make requested revisions
and email T. Casey regarding same.

Asset Dispos

Draft and preparation of Declaration of J. Rund in support of Trustee's
Motion to Limit Notice (.3); draft and preparation of email
correspondence to T. Casey regarding same (.1).

Asset Dispos
Revisions to Notice of Motion for Approval of Cansulting Agreement.

Asset Dispos

Review email from former Debtor employee Eddie Sudz regarding
whether he will work for Trustee to collect receivables and his
questions regarding 403(b) plan and prepare email response
regarding same.

Asset Dispos
Review and revise Trustee motion to approve consulting agreement
with IT Director.

Asset Dispos
Review and revise Trustee Jason Rund's declaration in support of the
Trustee's motion for approval of agreement with IT Director.

Asset Dispos
Review and revise the Trustee's motion to limit notice.

Asset Dispos
Review and revise the Trustee's motion to limit notice (.2); and prepare
email to Trustee regarding same (.1).

Asset Dispos

Draft and preparation of email correspondence to K. Driggers
regarding filing and serving Motion to Approve Consulting Agreement
and Motion to Limit Notice.

Page 18
Hrs/Rate Amount
0.30 58.50
195.00/hr
0.30 58.50
195.00/hr
0.10 19.50
195.00/hr
0.40 78.00
195.00/hr
0.20 39.00
195.00/hr
0.30 180.00
600.00/hr
0.20 120.00
600.00/hr
0.20 120.00
600.00/hr
0.20 120.00
600.00/hr
0.30 180.00
600.00/hr
0.10 19.50
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

6/22/2022 MS

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Asset Dispos

Review email from T. Casey regarding research Local Bankruptcy
Rule regarding negative notice for Motion to approve Consulting
Agreement (.1); research Loca! Bankruptcy Rules as requested (.2);
telephone call with T. Casey regarding same and to revise Motion to
state negative notice per Local Bankruptcy Rule (.1).

Asset Dispos
Revisions to Motion to Approve Consulting Agreement (.2):; draft and
preparation of email correspondence to T. Casey regarding same (.1).

Asset Dispos

Telephone call with Trustee Jason Rund regarding revising motion to
approve agreement with Robert Lazo and motion to limit notice, and
potential settlement with landlord of Debtor premises.

Asset Dispos

Draft and preparation of another email to K. Driggers regarding
alternatives for copying and serving the two Notices and Motions to go
out this week.

Asset Dispos

Draft and preparation of email correspondence to J. Rund and attach
revised Motion to approve Consulting Agreement and the Motion to
Limit Notice and request to review declaration and send back
signature.

Asset Dispos

Identify and prepare exhibit in support of Trustee's Motion to Approve
Consulting Agreement (.1); finalize Notice and Motion (.1); draft and
preparation of email correspondence to K. Driggers and attach all and
request to obtain T. Casey's signature and prepare for filing and
serving on Friday (.1).

Asset Dispos
Draft and preparation of Notice of Motion for Order Limiting Notice.

Asset Dispos

Draft and preparation of email correspondence to K. Driggers and
attach Motion and Notice of Motion to Limit Notice with instructions to
obtain T. Casey's signatures and prepare for filing and serving this
Friday.

Asset Dispos
Telephone call with T. Casey regarding status of outside vendor for
serving motions and notices.

Asset Dispos
Review and sign Motion for Approval of Trustee's Consulting
Agreement with the Debtor's Former IT Director and Compensation

Page 19
Hrs/Rate Amount
0.40 78.00
195.00/hr
0.30 58.50
195.00/hr
0.30 180.00
600.00/nr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.30 58.50
195.00/hr
0.30 58.50
195.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.10 60.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

6/23/2022 THC

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and Notice of same and Motion for Order Limiting Notice Pursuant to
Federal Rules of Bankruptcy Procedure 2002, 6007 and 9007 and
Notice of same.

Asset Dispos

Review email from Trustee Jason Rund regarding | need to prepare a
contract with Aegis per email from IT Director Robert Lazo and
prepare email to Lazo regarding same.

Asset Dispos

Review Local Bankruptcy Rules regarding amount of cash the Trustee
can disburse to pay critical vendors without Court order (.2) and
meeting with paralegal Marissa regarding as soon as | prepare
contracts for Court approval with critical IT vendors preparing a motion
to shorten time for hearing to approve the Trustee's two contracts with
Aegis and Coresight and to pay their contract rates plus a certain
amount but capped in order to recover all electronic data and transfer
it fom Debtor's premises (.2)

Asset Dispos

Draft and preparation of email correspondence to legal assistant
regarding providing me with the draft declaration of service for outside
vendor.

Asset Dispos

Draft and preparation of email correspondence to Ed at Integrity Legal
Corporation regarding copying and service of two motions and two
notices tomorrow.

Asset Dispos

Discussion with K. Driggers and T. Casey separately and together
regarding service of the two motions and notices by outside vendor
and preparing proof of service regarding ECF service of same
documents.

Asset Dispos

Draft and preparation of Declaration of K. Driggers regarding ECF
service of Motion and Notice of Motion for Approval of IT Consulting
Agreement to be filed as a separate document after the Motion and
Notice are filed with the Court tomorrow.

Asset Dispos

Review recently filed claims and creditor matrix to confirm we have the
most updated service lists available for service of documents
tomorrow.

Asset Dispos

Prepare Motion to approve Consulting Agreement and Notice of
Motion; and Motion to Limit Notice and Notice of Motion for purposes
of forwarding to Ed at Integrity Legal Corp (.7): draft and preparation of

Page 20
Hrs/Rate Amount
0.10 60.00
600.00/hr
0.40 240.00
600.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.20 39.00
195.00/hr
0.80 156.00
195.00/hr
0.20 39.00
195.00/hr .
1.10 214.50
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

6/23/2022 MS

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6/24/2022 MS

email correspondence to Ed at Integrity and provide detailed
instructions regarding copying and service of both motions and notices
tomorrow June 24, 2022 and attach all documents to complete capy
and service (.4).

Asset Dispos

Discussion with T. Casey regarding bringing Aegis and Coresite on
board, hourly rate of Aegis and potentially filing motion to be heard on
shortened time due to lease at premises accruing at a high monthly
rate.

Asset Dispos

Draft and preparation of Declaration of K. Driggers regarding ECF
service of Motion and Notice of Motion to Limit Notice to be filed as a
separate document after the Motion and Notice are filed with the Court
tomorrow.

Asset Dispos

Telephone call with Joseph at Aegis regarding utilizing services for
assistance with migrating and access the Debtor's electronic data and
request for draft contract.

Asset Dispos
Review and revise draft contract with key IT vendor Aegis in order to
recover electronic data.

Asset Dispos
Review and revise consulting agreement with Aegis Networks and
discuss same with T. Casey.

Asset Dispos
Review and revise the Trustee's draft Consulting Agreement with
Aegis.

Asset Dispos

Prepare email to Trustee Jason Rund with attached Aegis Statement
of Work and attached Aegis Consulting Agreement | prepared for his
review and approval and point out differences in timing of payment of
Aegis fees as requested by Aegis in its Statement of Work versus the
terms | prepared in the Aegis Consulting Agreement.

Asset Dispos

Review emails from Robert Lazo and Joseph Yoon regarding timing of
migrating data and analyze possible motion to shorten time to pay
Coresight and terminate office lease.

Asset Dispos
Review email from K. Driggers regarding filing of Motions and Notices

today and prepare responsive email regarding same and order of filing.

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Page 21
Hrs/Rate Amount
0.10 19.50
195.00/hr
0.30 58.50
195.00/hr
0.20 39.00
195.00/hr
0.20 120.00
600.00/hr
0.20 39.00
195.00/hr
1.00 600.00
600.00/hr
0.30 180.00
600.00/hr
0.20 120.00
600.00/hr
0.10 19.50
195.00/hr
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Jason M. Rund, Ch. 7 Trustee

6/24/2022 MS

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Asset Dispos
Telephone call with K. Driggers regarding updated ECF list as request
for electronic notice was filed yesterday.

Asset Dispos

Review and revise Declarations of K. Driggers regarding ECF service
in support of the Motions and Notices (.2); prepare email
correspondence to K. Driggers regarding same (.1).

Asset Dispos

Review email and attached Declaration of K. Driggers regarding ECF
service of Motion and Notice of Motion to approve IT Consulting
Agreement (.1); draft and preparation of email correspondence to K.
Driggers regarding revising Declaration and attached exhibits and
return to me for final approval prior to filing with the Court (.1).

Asset Dispos

Review email from Ed at Integrity Legal Corp regarding service of the
motions and notices on the Debtor and prepare responsive email
regarding same.

Asset Dispos

Further emails with Integrity Legal Corp regarding serving the Debtor,
confirming completion of US Mail service and telephone call with Ed at
Integrity regarding dropping package in the mail to the Debtor.

Asset Dispos

Draft and preparation of email correspondence to T. Casey regarding
completion of service on the two motions and two notices and | am
preparing Declaration of Service for Ed at Integrity to sign.

Asset Dispos

Draft and preparation of Declaration of Ed Rodieck regarding service
(.5), cover page for execution by T. Casey regarding same (.3), exhibit
in support and email al! drafts to T. Casey (.1)

Asset Dispos

Telephone call with T. Casey regarding revising Declaration of Ed
Rodieck of Integrity and preparing motion to approve agreement with
Aegis.

Asset Dispos
Revisions to the Declaration of Ed Rodieck of Integrity and forward ta
T. Casey for approval prior to sending to Ed.

Asset Dispos
Draft and preparation of Motion to Approving IT Vendor Consulting
Agreement and Compensation.

Page 22
Hrs/Rate Amount
0.10 19.50
195.00/hr
0.30 58.50
195.00/hr
0.20 39.00
195.00/hr
0.10 19.50
195.00/hr
0.20 39.00
195.00/hr
0.10 19.50
195.00/hr
0.90 175.50
195.00/hr
0.20 39.00
195.00/hr
0.20 39.00
195.00/hr
1.00 195.00
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

6/24/2022 THC

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Asset Dispos

Review email from electronic data vendor Aventiico regarding
threatening to suspend license unless certain amount is paid, review
pétition date and analyze the Trustee's potential legal remedies and
options.

Asset Dispos
Prepare email to Robert Lazo regarding position of Aventico and
request copy of licensing agreement with Aventico.

Asset Dispos

Prepare email to Trustee Rund regarding creditor Aventico is
threatening to terminate Child360 license which will cause loss of
electronic date and recommended response.

Asset Dispos

Review email from Trustee and prepare email response regarding
scheduling call at 2:00 p.m., conference call with Robert Lazo and
followed by conference call with Aventico regarding its demand for
payment of its debtor and licensing issues and not allowing access to
estate's electronic financial data.

Asset Dispos

Prepare email to Joseph Yoon of Aegis Networks attaching draft Aegis
Consulting Agreement with the Trustee and explain why payments
must bé made monthly and proposed payments and timing of
payments subject to Bankruptcy Court approval.

Asset Dispos

Review the Debtor's contract with Aventico and analyze the Trustee's
potential legal remedies if Aventico terminates license resulting in loss
of the Debtor's financial data.

Asset Dispos

Review email from client Trustee Jason Rund regarding 457(b) plan
created by Debtor and link to Internal Revenue Service website
regarding same and review Internal Revenue Service regulations on
point regarding whether funds in 457(b) plan are assets of the estate.

Asset Dispos

Review email from Debtor counsel Mike Jenkins dated yesterday with
attached claim recently filed by Sperling, former Debtor general
counsel and CEO as of April and prepare email to Trustee Jason Rund
regarding same and obtaining emails regarding attorney client
communications regarding D & © claim and date of becoming aware
funds were not restricted as required, and estate's potential causes of
action against Sperling.

Page 23
Hrs/Rate Amount
0.30 180.00
600.00/hr
0.10 60.00
600.00/hr
0.50 300.00
600.00/hr
0.20 120.00
600.00/hr
0.40 240.00
600.00/hr
0.60 360.00
600.00/hr
0.30 180.00
600.00/hr
0.40 240.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

6/24/2022 THC

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6/25/2022 THC

6/27/2022 THC

Asset Dispos
Telephone call with Trustee regarding Aventico is threatening to
terminate license and potential resolutions.

Asset Dispos

Review email from Joseph Yoon at Aegis with his attached signature
to Aegis Consulting Agreement and prepare email to paralegal M.
Silva regarding prepare draft of Trustee motion to approve Aegis
Consulting Agreement and terms of prior motion to approve.

Asset Dispos

Telephone cail with Robert Lazo regarding Aegis is on board, Aventico
is threatening to terminate license, and explain ! can likely obtain a
Bankruptcy Court order for post-petition obligations incurred by off site
location Coresight, and discuss the specific data the Trustee may
need first.

Asset Dispos

Review email from Joseph Yoon from Aegis regarding his signed
agreement and prepare email! regarding Court approval and starting
work,

Asset Dispos

Review draft declaration of Integrity Legal Corp. regarding service of
Trustee motion to approve agreement with Robert Lazo and Trustee
motion to limit notice and prepare email instructions regarding
revisions.

Asset Dispos
Review email from Trustee approving Aegis Consulting Agreement
and prepare email to Joseph Yoon of Aegis regarding same.

Asset Dispos

Review email from counsel for Iron Mountain regarding 1,226 Child360
boxes held by Iron Mountain and prepare email to client Trustee
regarding !ron Mountain inventory report does not describe or explain
nature of documents in storage and why saved and whether personal,
private information is in documents in storage and recommend course
of action, documents from Finance and Accounting Department may
assist regarding D & O Claim and attach emails from Debtor counsel
regarding same and from counsel for [ron Mountain.

Asset Dispos

Review, revise and sign the Trustee Supplemental Proof of Service
regarding Rodieck service of Trustee motion to approve Lazo
agreement and Trustee motion to limit notice.

Page 24
Hrs/Rate Amount
0.20 120.00
600.00/hr
0.20 120.00
600.00/hr
0.20 120.00
600.00/hr
0.10 60.00
600.00/hr
0.20 120.00
600.00/hr
0.20 120.00
600.00/hr
0.40 240.00
600.00/hr
0.20 120.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

6/27/2022 THC

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Asset Dispos
Review and review Trustee motion to approve agreement with Aegis
Networks.

Asset Dispos

Draft and preparation of email correspondence to T. Casey and attach
signed Declaration of Ed Rodieck regarding service of documents last
Friday and exhibit to his Declaration.

Asset Dispos

Telephone call with T. Casey regarding Declaration of Ed Rodieck
regarding service of documents last Friday and exhibit to his
Declaration.

Asset Dispos

Update exhibit to attach to Declaration of Ed Rodieck regarding
service of documents last Friday (.1); draft and preparation of email
correspondence to K. Driggers regarding same and to use attached
exhibit in support of hts Declaration prior to filing (.1).

Asset Dispos

Review email from K. Driggers and prepare responsive email
regarding filing and service of Ed Rodieck's Declaration regarding
service.

Asset Dispos

Telephone call with T. Casey regarding revising Motion to Approve
Consulting Agreement with Aegis Networks and preparing Declaration
of J. Rund in support.

Asset Dispos

Review another email from K. Driggers regarding proof of service and
prepare responsive email to make updates to proof of service then
okay to file.

Asset Dispos

Prepare email to Trustee regarding attached draft motion te approve
consulting agreement with Aegis and advise my of phone call with
counsel to lessor Hancock of Debtor's business premises.

Asset Dispos

Review and revise Motion to Approve IT Vendor Consulting
Agreement (.2); draft and preparation of Declaration of J. Rund in
support (.4); draft and preparation of email correspondence to T.
Casey regarding draft is completed for Trustee review (.1).

Asset Dispos
Emails with Ed at Integrity Legal Corp regarding new mailing tomorrow
and communicate details regarding same.

Page 25
Hrs/Rate Amount
0.50 300.00
600.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.20 39,00
495.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.50 300.00
600.00/hr
0.70 136.50
195.00/hr
0.20 39.00
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

6/27/2022 MS

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Asset Dispos

Review recently filed claims and creditor matrix for serving Motion to
approve IT vendor consulting agreement; revisions to matrix (.5);
prepare email correspondence to Ed at Integrity and attach service list
for preparing to serve documents tomorrow (.1).

Asset Dispos
Telephone call with T. Casey regarding my communications with
Integrity regarding serving out the next motion and notice tomorrow.

Asset Dispos
Draft and preparation of Notice of Motion to approve IT vendor
consulting agreement.

Asset Dispos
Telephone call with T. Casey regarding finalizing motion and notice
now that J. Rund has provided his signature.

Asset Dispos

Revise, finalize Motion and Notice of Motion to approve IT vendor
consulting agreement (.2): draft and preparation of email
correspondence to T. Casey regarding same (.1).

Asset Dispos
Telephone call with K. Driggers regarding filing and service tomorrow
of the next motion and notice of motion.

Asset Dispos

Finalize the Motion and Notice of Motion to approve IT vendor
consulting agreement (.2); prepare exhibit in support (.1); draft and
preparation of email correspondence to Ed at Integrity Legal Corp and
attach Motion and Notice and instructions on serving documents
tomorrow (.2).

Asset Dispos

Draft and preparation of Declaration of K. Driggers regarding service
of Motion and Notice of Motion to approve IT vendor consulting
agreement.

Asset Dispos
Review 457 Plan regarding issue of "top hat" management.

Asset Dispos

Review email from Robert Lazo regarding 457 plan and prepare draft
email response to him and prepare cover email to Trustee with draft
response to Lazo and request authority to send.

Page 26
Hrs/Rate Amount
0.60 117.00
195.00/hr
0.10 19.50
195.00/hr
0.30 58.50
195.00/hr
0.10 19.50
195.00/hr
0.30 58.50
495.00/hr
0.10 19.50
195.00/hr
0.50 97.50
195.00/nr
0.10 19.50
195.00/hr
0.30 180.00
600.00/hr
0.30 180.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

6/27/2022 KM

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6/28/2022 THC

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Asset Dispos
Review and analyze plan documents; correspondence to T. Casey
regarding same.

Asset Dispos
Research regarding 457 plans.

Asset Dispos

Prepare email to Trustee Jason Rund requesting authority to agree on
his behalf to file a motion to pay key IT vendor Avantiico for
post-petition obligations and to terms for agreement subject to Court
approval for continued Avanticco IT services and terms of motion to
approve agreement with Aventicco per Section 363 on local rule 14
day negative notice period.

Asset Dispos
To prepare for conference call with key IT vendor Avanticco review the
Debtor's agreement with Avantiico.

Asset Dispos

Discussion with K. Driggers regarding filing her Declaration regarding
ECF service of Motion and Notice of Motion to approve consulting
agreement with Aegis Networks.

Asset Dispos

Draft and preparation of responsive email to Patty at Integrity Legal
Corp regarding service today of the Trustee's Motion and Notice of
Motion to approve consulting agreement with Aegis Networks.

Asset Dispos

Prepare email to Trustee Jason Rund regarding Avantiico’s agreement
with the Debtor, and obtaining Court approval of certain terms if an
agreement can be negotiated with Avanticco, and potential issues with
Avantiico and Avantiico is a key IT vendor Lazo insists he needs to
recover and maintain the Debtor's electronic data.

Asset Dispos
Draft and preparation of email correspondence to Ed at Integrity Legal
Corp regarding status of today's service of the Motion and Notice.

Asset Dispos

Telephone call with Trustee Jason Rund regarding strategy regarding
Aventiico conference call this afternoon, accruing rent on office space
and race to migrate electronic data and pending legal research
regarding whether 457 plan assets are property of bankruptcy estate.

Page 27
Hrs/Rate Amount
0.70 315.00
450.00/hr
3.30 1,485.00
450.00/hr
0.40 240.00
600.00/hr
0.60 360.00
600.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/nr
0.40 240.00
600.00/hr
0.10 19.50
195.00/hr
0.30 180.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

6/28/2022 THC

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6/29/2022 MS

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Asset Dispos

Conference call with Aventiico representatives, Trustee Jason Rund
and Robert Lazo terms of potential agreement with the Trustee and
scope of electronic data needed.

Asset Dispos

Telephone call with Trustee Jason Rund regarding refining scope of
electronic data needed and evidence needed to obtain Court authority
for approval of agreement with Avantiico plus licensing fees.

Asset Dispos

Conference call with Robert Lazo and Trustee Jason Rund regarding
specific electronic data needed for pending D&O claim and contested
receivables.

Asset Dispos
Research and drafting memorandum regarding 457 plans, whether
457 plan should be terminated making funds property of the estate.

Asset Dispos

Review email correspondence from Client Trustee administrator L.
Gitnik regarding service of accountant application and prepare email
correspondence to regarding same and provide twenty largest list
utilized by our office.

Asset Dispos

Telephone call with Don Fife CPA regarding electronic data needed
supporting contested receivables, D&O claim and two years of
pre-petition activity with focus on when Debtor started fraudulent billing
practices and used grant in an unrestricted manner.

Asset Dispos

Prepare for conference call with Trustee and Cindy Esquivel and
outline information needed regarding where key electronic data is
located in the Debtor's electronic data and other data points regarding
Head Start and Best Start receivables.

Asset Dispos

Telephone call with Attorney Karl Burrer of Greenberg Taurig firm
regarding documents needed regarding tax refund owing and my
request for specific documents.

Asset Dispos

Prepare email to Attorney Karl Burrer of Greenburg Taurig confirming
our phone call and he will forward certain Insperity documents to me
and ID the documents including calculation of tax refund owing,

Asset Dispos
Conference call with Cindy Esquivel and Trustee Jason Rund
regarding amounts owing to Child 360 by Early Head Start and

Page 28
Hrs/Rate Amount
0.50 300.00
600.00/hr
0.20 120.00
600.00/hr
0.20 120.00
600.00/hr
4.80 2,160.00
450.00/hr
0.10 19.50
195.00/hr
0.40 240.00
600.00/hr
0.30 180.00
600.00/hr
0.10 60.00
600.00/hr
0.30 180.00
600.00/hr
0.60 360.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

6/29/2022 THC

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6/30/2022 THC

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potential offset and related issues, and electronic data she has
regarding same.

Asset Dispos
Telephone call with Trustee Jason Rund after conference call with
Cindy Esquivel.

Asset Dispos

Draft and preparation of Declaration of Ed Rodieck regarding USPS
service of Motion and Notice of Motion to approve Consulting
Agreement with Debtor's Former IT Vendor Aegis (.2); draft and
preparation of email correspondence to Ed with request to review,
approve and return signature (.1).

Asset Dispos

Draft and preparation of cover for Declaration of Ed Rodieck regarding
USPS service of Motion and Notice of Motion to approve Consulting
Agreement with Debtor's Former IT Vendor Aegis (.1): draft and
preparation of exhibit in support of Declaration (.1); draft and
preparation of email correspondence to T. Casey and attach all
requesting to sign and forward to K. Driggers to file with the Court
today (.1).

Asset Dispos
Draft memorandum regarding 457 plans.

Asset Dispos

Telephone call with Robert Lazo regarding the Trustee cannot pay
Avantiico's pre-petition debt but will request Court authority to pay
post-petition debt incurred, and terms of the Trustee's proposed
agreement with Avantiico.

Asset Dispos

Review two emails from Robert Lazo regarding he needs Avantiico
hired by the Trustee to recover and access all data and key receivable
data is under control of Avantiico and prepare email response
regarding same and Bankruptcy Court approval required and explain
key terms needed for Bankruptcy Court approval.

Asset Dispos

Review email from Morten from Avantiico stating Avantiico's demands
and prepare draft responsive email to Avanticco explaining the Trustee
cannot request authority to pay a pre-petition debt and the Trustee's
counter to all terms for agreement with Avantiico subject to Bankruptcy
Court approval.

Asset Dispos

Following conference call with Cindy Esquivel prepare outline of
evidence supporting the Trustee's potential cause of action against
Early Head Start and their argued offset of technology purchased with

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Page 29
Hrs/Rate Amount
0.30 180.00
600.00/hr
0.30 58.50
195.00/hr
0.30 58.50
195.00/hr
0.60 270.00
450.00/nr
0.20 120.00
600.00/hr
0.30 180.00
600.00/hr
1.30 780.00
600.00/hr
0.60 360.00
600.00/hr
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Jason M. Rund, Ch. 7 Trustee

6/30/2022 KM

7/1/2022 THC

7/5/2022 THC

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7/6/2022 THC

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their grant money to Debtor, and additional electronic data and
evidence needed.

Asset Dispos
Continue researching (2.0) and draft legal memo regarding whether
funds in 457 plan are property of estate per 541 (4.9).

Asset Dispos

Review another email from counsel to lron Mountain and prepare
email response regarding Child360 boxes on site, abandonment by
Trustee versus cost to destroy all records.

Asset Dispos

Review email from counsel for lron Mountain regarding cost to destroy
Debtor records at Iron Mountain and prepare email to Trustee
regarding same and potential issue regarding PP! in records.

Asset Dispos

Prepare email to Trustee Jason Rund regarding insurer letter denying
coverage and more information needed regarding same and who
specifically made the claim, scope of next 341 exam and employing
special insurance counsel.

Asset Dispos
Prepare outline of priority tasks to prepare for call with Trustee
tomorrow.

Asset Dispos
Prepare email to Robert Lazo regarding instructions regarding fallow
up with Avantiico regarding proposed counter and contract terms.

Asset Dispos
Continue drafting memorandum regarding 457 plan and whether funds
in 457 plan are property of the bankruptcy estate.

Asset Dispos
Prepare contract with Avantiico.

Asset Dispos
Continue to prepare proposed agreement between the Trustee and
Avantiico.

Asset Dispos
Telephone call with Trustee Jason Rund regarding all pending issues
in case.

Asset Dispos
Telephone call with T. Casey regarding preparing another motion
regarding approving agreement with vendor, Avantiico.

Page 30
Hrs/Rate Amount
6.90 3,105.00
450.00/hr
0.10 60.00
600.00/hr
0.20 120.00
600.00/hr
0.40 240.00
600.00/hr
0.30 180.00
600.00/hr
0.10 60.00
600.00/hr
2.00 900.00
450.00/hr
0.50 300.00
600.00/hr
1.00 600.00
600.00/hr
0.30 180.00
600.00/hr
0.10 19.50
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

7/6/2022 THC

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7/7/2022 THC

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7/8/2022 MS

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Asset Dispos
Telephone call with Robert Lazo regarding technical terms in the
Trustee's draft agreement with Avantiico and scope of services.

Asset Dispos

Conference call with Trustee Jason Rund and Robert Lazo regarding
timeline to migrate all of Debtor's electronic data, commercial lease on
Debtor premises is accruing rent, and Avantiico draft agreement
subject to Bankruptcy Court approval.

Asset Dispos
Finalize memorandum of 457 plan and whether funds in 457 plan are
property of the bankruptcy estate.

Asset Dispos
Prepare email to Avantiico regarding proposed contract with Trustee
and attach contract.

Asset Dispos

Review email from Attorney Karl Burrer for Insperity and his attached
documents regarding Child 360 employee retention credit and his
attachments regarding same and prepare email to Trustee regarding
same.

Asset Dispos
Draft and preparation of Motion to Approve Consulting Agreement with
Debtor's form IT Vendor Avantiico Inc.

Asset Dispos

Draft and preparation of email correspondence to T. Casey and attach
draft Motion to Approve Consulting Agreement with Debtor's form IT
Vendor Avantiico Inc.

Asset Dispos
Telephone call with T. Casey regarding finalizing motion to approve
consulting agreement with Avantiico and possibly serving today.

Asset Dispos
Draft and preparation of email correspondence to Integrity Legal Corp
regarding service today of a motion and notice on all creditors.

Asset Dispos

Review and analyze creditor matrix and prepare creditor list for
purposes of serving out notice today on all creditors (.3); draft and
preparation of email correspondence to Integrity Legal Corp. and
attach creditor list for service of notice (.1).

Page 31

Hrs/Rate Amount
0.30 180.00
600.00/hr
0.30 180.00
600.00/hr
2.60 1,170.00
450.00/hr
0.20 120.00
600.00/hr
0.30 180,00
600.00/hr
0.70 136.50
195.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/nr
0.10 19.50
195.00/hr
0.40 NO CHARGE
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

7/8/2022 MS

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Asset Dispos

Draft and preparation of email correspondence to T. Casey regarding
availability of Integrity to serve notice today as tong as we get it to
them timely.

Asset Dispos

Telephone call with T. Casey regarding preparing Declaration of J.
Rund in support of Motion to Approve Consulting Agreement with
Avantiico.

Asset Dispos

Draft and preparation of Declaration of J. Rund in support of Motion to
Approve Consulting Agreement with Avantiico (.3); draft and
preparation of email correspondence to T. Casey regarding same (.1).

Asset Dispos

Review email from Avantiico CEO regarding signed contract with
Trustee and prepare email instructions to paralegal M. Silva regarding
same and instructions to prepare draft motion to approve Avantiico
contract.

Asset Dispos
Prepare email to Trustee regarding signed Avantiico agreement
signed by Avantiico CEO and request Trustee signature.

Asset Dispos
Review and revise the Trustee's motion to approve his agreement with
Avantiice.

Asset Dispos
Review and revise Trustee Jason Rund's declaration in support of the
Trustee's motion to approve the Avantiico agreement.

Asset Dispos

Prepare email to Trustee Rund regarding draft Trustee motion to
approve Avantiico agreement and his supporting declaration and
stated amount of cash on hand.

Asset Dispos

Identify and prepare exhibit in support of Motion to Approve Consulting
Agreement with Avantiico (.1); finalize Motion and Notice (.2):; draft and
preparation of email correspondence to Integrity Legal Corp and
attach Notice and Motion and provide instructions for service of
documents, Monday, July 11, 2022 (.2).

Asset Dispos
Telephone call with Attorney Zev from Danning Gill regarding First
Five LA's transactions with the Debtor.

Page 32
Hrs/Rate Amount
0.10 19.60
195.00/hr
0.10 19.50
195.00/hr
0.40 78.00
195.00/hr
0.20 120.00
600.00/hr
0.10 60.00
600.00/hr
0.90 540.00
600.00/hr
0.20 120.00
600.00/hr
0.20 120.00
600.00/hr
0.50 97.50
195.00/hr
0.20 120.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

7/10/2022 THC

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7/11/2022 THC

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Asset Dispos

Review legal authorities regarding the Debtor's 457 plan and whether
the funds in the plan are property of the estate per Section 541 or
property of the individual plan participants.

Asset Dispos

Prepare extensive revisions to legal memorandum regarding 457 plan
and prepare written instructions regarding more information and
certain documents needed.

Asset Dispos

Prepare email to Trustee Jason Rund requesting copy of underlying
“basic plan document” as referenced in produced 457 plan Adoption
Agreement and status of legal memorandum, and plan administrator
Newport.

Asset Dispos

Review all documents regarding Child360 employee tax credit with
supporting documentation (.4) and prepare email to Trustee's
accountant Don Fife regarding same (.2).

Asset Dispos
Review denial of D&O claim by Debtor's insurer and timing of claim
and denial.

Asset Dispos

Review email from pian administrator Newport and attached,
underlying basic plan document as referenced in Adoption Agreement
for Child 360 457 Plan.

Asset Dispos

Review recently filed claim of FedEx (.1); draft and preparation of
email correspondence to Integrity Legal Corp and provide new
address for FedEx and request they serve the Avantiico notice on
them (.1).

Asset Dispos :
Telephone call with T. Casey regarding service of the Motion to
Approve Consulting Agreement with Avantiico today and filing same.

Asset Dispos

Draft and preparation of email correspondence to K. Driggers
regarding confirming to file Motion and Notice of Motion regarding
Avantiico Consulting Agreement today.

Asset Dispos
Draft and preparation of Declaration of K. Driggers regarding service
of the Motion and Notice filed with the Court today (.3); draft and

Page 33
Hrs/Rate Amount
1.40 840.00
600.00/hr
1.30 780.00
600.00/hr
0.30 180.00
600.00/hr
0.60 360.00
600.00/hr
0.20 120.00
600.00/hr
0.30 180.00
600.00/hr

0.20 NO CHARGE
195.00/hr

0.10 19.50
195.00/hr

0.10 19.50
195.00/hr

0.40 78.00
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

7/11/2022 MS

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7/12/2022 THC

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preparation of email correspondence to her regarding same and attach
for her to sign and file (.1).

Asset Dispos
Draft and preparation of email correspondence to R. Lazo and attach
schedule B personal property and request a call to discuss same.

Asset Dispos
Revise memo regarding 457 pian.

Asset Dispos

Review email from Scott Van Horn regarding meeting tomorrow at
Debtor's premises with former IT Director Robert Lazo and Trustee
and prepare email response regarding same.

Asset Dispos

Prepare email to Debtor's former IT Director regarding meeting
Trustee and Scott Van Horn on site at Debtor's premises tomorrow
morning.

Asset Dispos

Review Order entered yesterday granting the Trustee's motion to
terminate 403(b) plan and review latest draft of legal memorandum
regarding analysis of whether funds in 457 plan are property of estate.

Asset Dispos

Review Court docket for opposition to Trustee's Motion to Approve
Consulting Agreement with Debtor's Former IT Director R. Lazo and
preparation of Non Opposition to same; identify and prepare exhibits in
support; draft and preparation of Order approving Trustee's Motion.

Asset Dispos

Draft and preparation of email correspondence to T. Casey and attach
draft Order Approving Trustee's Motion to Approve Consulting
Agreement with Debtor's Former IT Director R. Lazo.

Asset Dispos

Draft and preparation of Declaration of Ed Rodieck of Integrity Legal
Corp regarding US Mail service yesterday of Trustee’s Motion and
Notice for Approval of Consulting Agreement with Avantiico (.2); draft
and preparation of email correspondence to Ed and attach Declaration
and request to return signature to the undersigned (.1).

Asset Dispos

Draft and preparation of email correspondence to K. Driggers and
attach Declaration of Non Opposition regarding Motion and Notice for
Approval of Consulting Agreement with R. Lazo, plus all exhibits and
instructions on filing and serving.

Page 34
Hrs/Rate Amount
0.10 19.50
195.00/hr
0.30 135.00
450.00/nr
0.20 120.00
600.00/hr
0.10 60.00
600.00/hr
0.30 180.00
600.00/hr
0.70 136.50
195.00/hr
0.10 19.50
195.00/nr
0.30 58.50
195.00/hr
0.10 19.50
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

7/12/2022 MS

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7/13/2022 THC

Asset Dispos

Finalize Declaration of E. Rodieck regarding service of Motion and
Notice for Approval of Avantiico Consulting Agreement (.1); identify
and prepare exhibit in support (.1); draft and preparation of email
correspondence to K. Driggers and attach Declaration of E. Rodieck,
cover page and exhibit for filing with the Court today (.1).

Asset Dispos
Telephone call with T. Casey regarding draft Order Granting Trustee's
Motion for Approval of Consulting Agreement with R. Lazo.

Asset Dispos

Review Court docket for opposition to Trustee’s Motion to Limit Notice;
draft and preparation of Non Opposition to same; identify and prepare
exhibits in support; draft and preparation of Order approving Trustee's
Motion.

Asset Dispos

Draft and preparation of email correspondence to K. Driggers and
attach Non Opposition to the Trustee's Motion to Limit Notice and all
exhibits; instructions regarding filing and serving today.

Asset Dispos
Draft and preparation of email correspondence to T. Casey and attach
draft Order Granting Trustee's Motion to Limit Notice.

Asset Dispos
Review and sign declaration regarding no opposition to Trustee motion
to employ and compensate Lazo and review and approve order.

Asset Dispos
Review and approve draft order limiting notice and review and sign
declaration on non-opposition to Trustee motion to limit notice.

Asset Dispos
Telephone call with R. Lazo regarding personal property located at the
Debtor's premises.

Asset Dispas

Telephone call with Trustee Jason Rund regarding issues to cover at
341 exam regarding claim made on D&O policy, lease and contested
receivables.

Asset Dispos

Review email from Robert Lazo regarding the date all electronic data
was moved from Debtor's 515 South Figueroa business premises and
additional hours he needs and prepare email response regarding
same.

Page 35
Hrs/Rate Amount
0.30 58.50
195.00/hr
0.10 19.50
195.00/hr
0.70 136.50
195.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.10 60.00
600.00/nr
0.10 60.00
600.00/hr
0.20 39.00
195.00/hr
0.30 180.00
600.00/hr
0.20 120.00
600.00/nr

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Jason M. Rund, Ch. 7 Trustee

7/13/2022 THC

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7/14/2022 THC

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7/15/2022 THC

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Asset Dispos

Review email from Attorney Zev Schectman of Danning Gill for First
Five LA with his attached demand letter from Trustee and check
evidencing payment (.2) and prepare email to Trustee Rund regarding
same and recommended response (.1).

Asset Dispos
Prepare email to Attorney Zev Shectman for First 5 LA and confirm the
Trustee's demand upon First 5 LA is resolved.

Asset Dispos

Review entered Order Approving Motion to Limit Notice and Order
Approving Consulting Agreement with Robert Lazo (.1); draft and
preparation of email correspondence to K. Driggers with instructions to
serve Orders on interested parties and prepare and file proof of
service of same, if required (.1).

Asset Dispos
Revise memo regarding 457 plan.

Asset Dispos
Telephone call with AUSA Elan Levy regarding facts of case and
possible deal that can be worked out but more information needed.

Asset Dispos

Telephone cail with client Trustee Jason Rund regarding my phone
call with AUSA Elan Levy and strategy regarding potential agreement
with HHS.

Asset Dispos

Prepare email instructions to Robert Lazo regarding Court approved
fee procedure for himself, and requested pending fee procedure for
Aegis and Avantiico.

Asset Dispos

Prepare email to Trustee regarding the Court granted the Trustee's
two applications to shorten time and terms of Order Shortening Time
and draft orders on both motions will be forwarded to Matt Pham
before the hearings.

Asset Dispos
Review and revise legal memorandum regarding 457 plan and
whether cash in 457 plan is property of the bankruptcy estate.

Asset Dispos

Further revisions and note in second draft legal memo additional
revisions needed (.8); and prepare email to Attorney Moynihan
regarding same and second issue regarding potential remedies

Page 36
Hrs/Rate Amount
0.30 180.00
600.00/hr
0.10 60.00
600.00/hr
0.20 39.00
195.00/hr
4.00 1,800.00
450.00/hr
0.80 480.00
600.00/hr
0.30 180.00
600.00/hr
0.10 60.00
600.00/hr
0.20 120.00
600.00/nr
0.90 540.00
600.00/hr
1.10 660.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

7/15/2022 THC

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7/18/2022 MS

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available to the Trustee and filing potential complaint for declaratory
relief and turnover against 457 plan participants (.3).

Asset Dispos

Prepare list of data and documents needed from Debtor's electronic
files regarding Best Start and Head Start receivables, and D&O claim
and when Debtor started going out of trust.

Asset Dispos

Review T. Casey notes from conference call with Trustee and Cindy
Esquivel and emails regarding contact info for Cindy Esquivel (.1); and
prepare email to Trustee regarding Cindy Esquivel did not provide
documents to us as she promised and suggested course of action (.3).

Asset Dispos
Review three documents regarding termination of 403(b) plan.

Asset Dispos

Review email from AUSA Elan Levy regarding HHS letter to Debtor
regarding grant close out letter and review attached grant close out
letter.

Asset Dispos

Continue to prepare email to Trustee regarding electronic, financial
data needed to analyze estate's potential D&O claim and
complications arising from Debtor may have had separate internal
systems for each grant program.

Asset Dispos

Draft and preparation of email correspondence to K. Driggers
regarding email from creditor Anitu Sanchez regarding incorrect
address and prepare responsive email to instruct her to file a notice of
change of address with the Court.

Asset Dispos

Review email from Trustee Rund regarding termination documents for
Child 360 403(b) plan and review termination documents (.3) and
prepare email to Trustee Rund regarding same and entered Order
authorizes him to sign the termination documents (.2)

Asset Dispos

Review email from Joseph Yoon from Aegis with attached invoice and
prepare email to Trustee regarding order approving the Trustee's
agreement with Aegis will be lodged today, Aegis motion like Lazo
motion requires monthly fee statements with time entries be filed with
the Court and requested compensation procedure for Aegis with
attachments.

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Page 37
Hrs/Rate Amount
0.40 240.00
600.00/hr
0.40 240.00
§00.00/hr
0.20 120.00
600.00/hr
0.30 180.00
600.00/hr
0.30 180.00
600.00/hr
0.190 19.50
195.00/hr
0.50 300.00
600.00/hr
0.30 180.00
600.00/hr
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Jason M. Rund, Ch. 7 Trustee

7/18/2022

7/19/2022

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Asset Dispos

Review email from T. Casey regarding compensating Aegis and
review consulting agreement (.1); telephone call with T. Casey
regarding same and instructions to prepare fee statement for them to
file with the Court (1).

Asset Dispos

Review Court docket for opposition to Trustee's Motion to Approve
Consulting Agreement with Aegis (.1); draft and preparation of Non
Opposition to same (.1); identify and prepare exhibits in support (.2);
draft and preparation of Order approving Trustee's Motion (.2)..

Asset Dispos

Draft and preparation of email correspondence to K. Driggers and
attach Non Opposition to Trustee's Motion to Approve Agreement with
Aegis and proposed order and instructions to compile and forward to
T. Casey for signature.

Asset Dispos
Draft and preparation of professional fee statement for Aegis Networks
(.5); prepare email correspondence to T. Casey regarding same (.1).

Asset Dispos
Telephone call with T. Casey regarding revising fee statement for
Aegis Networks.

Asset Dispos
Review and revise professional fee statement for Aegis Networks.

Asset Dispos

Review email with attached correspondence from Attorney Grace Yeo,
General Counsel to Los Angeles Unified School District requesting
service of all pleadings and prepare email response regarding same.

Asset Dispos
Email and telephone call with T. Casey regarding communication with
LAUSD assistance general counsel.

Asset Dispos
Discussion with K. Driggers regarding forwarding form to general
counsel for the LAUSD for receiving notice in the case.

Asset Dispos
Discussion with K. Driggers regarding updating service list in
accordance with limiting notice order and recently filed claims.

Asset Dispos
Conference call with Trustee and Cindy Esqiuvel regarding evidence
needed to obtain Court approval of Trustee's agreement with her,

Page 38
Hrs/Rate Amount
0.20 39.00
195.00/hr
0.60 117.00
195.00/hr
0.10 19.50
195.00/hr
0.60 117.00
195.00/hr
0.10 19.50
195.00/hr
0.20 39.00
195.00/hr
0.10 60.00
600.00/hr
0.10 19.50
195.00/hr
6.10 19.50
195.00/hr
0.10 NO CHARGE
195.00/hr
0.50 300.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

7/19/2022 MS

MS

7/20/2022 MS

MS

MS

THC

7/21/2022 THC

THC

THC

range of estimated receivable owing Debtor with back up and narrative
explanation of Early Head Start program.

Asset Dispos

Telephone call with T. Casey regarding analyzing compensation
requested by Cindy Escoval for Trustee's Motion to Approve
Consulting Agreement and Compensation.

Asset Dispos

Pursuant to T. Casey's request review and analyze compensation
requested by Cindy Escoval for Trustee's Motion to Approve
Consulting Agreement and Compensation (.2); discussion with T.
Casey regarding same (.1).

Asset Dispos

Draft and preparation of email correspondence to T. Casey regarding
Order Approving Aegis Consulting Agreement entered and instructions
to send fee statement to Client Trustee J. Rund for approval.

Asset Dispos
Telephone call with T. Casey regarding call regarding uploading
abandonment order today.

Asset Dispos

Review and revise professional fee statement for Aegis (.1); draft and
preparation of email correspondence to T. Casey regarding same and
attach draft and await further instructions on forwarding to Aegis for
signature (.1).

Asset Dispos

Add to list regarding additional documents from Debtor's electronic
data base including minutes of Board of Director meetings
commencing from June of 2021 to petition date and all Debtor
communications with Debtor counsel.

Asset Dispos
Review email from former Debtor employee Cindy regarding EHS
receivable.

Asset Dispos
Telephone call Trustee Jason Rund regarding evidence in support of

collecting receivables and role of Trustee's accountant regarding same.

Asset Dispos

Prepare for conference call with Trustee and CPA Don Fife regarding
all pending areas requiring active role of Don Fife regarding potential
claims against directors and officers, BDO due to audit, potential
avoidance actions and largest receivables.

Page 39
Hrs/Rate Amount
0.10 19.50
195.00/hr
0.30 58.50
195.00/hr
0.10 19.50
495.00/hr
0.10 19.50
195.00/hr
0.20 39.00
195.00/hr
0.20 120.00
600.00/hr
0.20 120.00
600.00/hr
0.30 180.00
600.00/hr
0.50 300.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

7/21/2022 THC

MS

THC

KM

KM

7/22/2022 THC

THC

THE

7/24/2022 THC

7/25/2022 THC

Asset Dispos

Conference call with Don Fife and Trustee Jason Rund regarding all
pending issues, role of Don Fife, receivables, financial analysis
regarding potential estate claims against directors and officers, and
potential avoidance actions.

Asset Dispos

Revise, finalize fee statement for Aegis Networks (.1); draft and
preparation of email correspondence to J. Yoon at Aegis and attach
fee statement and invoice and request to return signature and we will
file with the Court on Aegis’s behalf {.1).

Asset Dispos

Prepare email to Trustee regarding minutes of Board of Director
meetings for one year period prior to petition date and all Debtor
communications with counsel for one year period as well.

Asset Dispos
Revise memo regarding 457 plan.

Asset Dispos
Review company website and research regarding 457 plan
participants.

Asset Dispos

Prepare email to Robert Lazo requesting all minutes from Debtor
Board of Director meetings and Debtor communications with counsel
for one year period prior to petition date.

Asset Dispos

Prepare email to Debtor counsel Jenkins from Best, Best & Krieger
requesting ail attorney communications by and between Debtor
Child360 and any counsel for one year period prior to petition date,
and cite to USSC Weintraub ruling regarding the Trustee holds the
attorney client privilege.

Asset Dispos

Prepare email to Attorney Jackie for lron Mountain regarding follow up
and request she provide me a quote from Iron Mountain to destroy all
documents.

Asset Dispos
Prepare Trustee's agreement with former head of Debtor's Early Head
Start Program, Cindy Monsivais.

Asset Dispos
Review revised, draft Trustee Agreement with Cindy M regarding Early
Head Start program.

Page 40
Hrs/Rate Amount
1.20 720,00
600.00/hr
0.20 39.00
195.00/hr
0.10 60.00
600.00/hr
0.50 225.00
450.00/hr
0.40 180.00
450.00/hr
0.30 180.00
600.00/nr
0.50 300.00
600.00/hr
0.10 60.00
600.00/hr
0.40 240.00
600.00/hr
0.30 180.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

7/26/2022 THC

THC

MS

MS

MS

MS

THC

MS

MS

MS

Asset Dispos
Review email from Attorney Price for |ron Mountain regarding quote to
destroy all Debtor records and her attachment.

Asset Dispos

Telephone call with paralegal Marissa Silva regarding two pages
missing from Debtor agreement with Iron Mountain and prepare
motion to abandon Debtor records.

Asset Dispos

Telephone call with T. Casey regarding Iron Mountain bill for
destruction of records and to review file for contract between the
Debtor and Iron Mountain.

Asset Dispos

Review files and locate "agreement" between the Debtor and Iron
Mountain (.1); telephone call with T. Casey regarding same, review
monthly storage costs, and there are missing pages of the contract
and instructions to contact Iron Mountain's counsel for full contract (.1).

Asset Dispos
Discussion with T. Casey regarding preparing Motion to abandon the

documents in storage at Iron Mountain and rejecting the lease/contract.

Asset Dispos

Draft and preparation of email correspondence to J. Price, attorney for
Iron Mountain requesting missing pages of contract between the
Debtor and fron Mountain.

Asset Dispos

Telephone call with Trustee Jason Rund regarding motion to abandon
records in storage at Iron Mountain and latest position andhigh quote
by Iron Mountain of 49k to destroy all of the Debtor's records, Core
Sight Location, information needed from Cindy regarding EHS
program and her deadiine is today, status of legal research regarding
457 plan.

Asset Dispos
Review consulting contract with Cindy at Early Head Start (.2);
discussion with T. Casey regarding same (.1).

Asset Dispos

Discussion with T. Casey regarding his communications with Client
Trustee J. Rund and abandon the records at Iron Mountain and not
destroying them.

Asset Dispos
Draft and preparation of email correspondence to K. Driggers with
instructions to file and serve professional fee statement of Aegis.

Page 41
Hrs/Rate Amount
0.10 60.00
600.00/hr
0.20 120.00
600.00/hr
0.10 19.50
195.00/hr
0.20 39.00
195.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.50 300.00
600.00/hr
0.30 58.50
195.00/hr
0.10 19.50
195.00/nr
0.10 NO CHARGE
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

7/26/2022 THC

THC

7/27/2022 MS

THC

THC

THC

THC

THC

7/28/2022 THC

THC

MS

Asset Dispos
Prepare outline regarding ail issues to discuss with Robert Lazo during
scheduled call this afternoon.

Asset Dispos
Telephone call with Robert Lazo regarding all pending issues, Core
Sight location, Cyber Communications, Avantiico and attorney emails.

Asset Dispos
Review complete, executed Iron Mountain contract provided by their
counsel J. Price.

Asset Dispos
Prepare email to Robert Lazo regarding top ten employees in 457 Plan
and review his response with attachment.

Asset Dispos

Prepare email to Robert Lazo requesting email communications with
Debtor counsel Best Best Krieger and provide domain names for his
search.

Asset Dispos
Telephone call with Clndy Esqiuvel regarding terms of her employment
and evidence needed for Court approval.

Asset Dispos
Prepare email to Attorney Kerry Moynihan regarding top ten
employees regarding 457 plan analysis.

Asset Dispos
Review and revise the Trustee agreement with Esquivel.

Asset Dispos

Telephone call with Attorney Jackie Price for lron Mountain regarding
potential agreement regarding destroying all Debtor records for certain
amount.

Asset Dispos

Telephone call with Trustee regarding authorization for me to present
counter to counsel for Iron Mountain and my phone call yesterday with
Cindy Esquivel regarding terms of Trustee's agreement with Cindy
Esquivel.

Asset Dispos
Discussion with T. Casey regarding amount of boxes and monthly
storage costs for lron Mountain.

Page 42
Hrs/Rate Amount
0.10 60.00
600.00/hr
0.30 180.00
600.00/hr
0.10 19.50
195.00/hr
0.20 120.00
600.00/hr
0.20 120.00
600.00/hr
0.20 120.00
600.00/hr
0.20 120.00
600.00/hr
0.30 180.00
600.00/hr
0.10 60.00
600.00/hr
0.30 180.00
600.00/hr
0.10 19.50
195.00/nr

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Jason M. Rund, Ch. 7 Trustee

7/28/2022 THC

THC

THC

MS

7/29/2022 MS

8/1/2022 THC

THC

THC

MS

THC

Asset Dispos
Prepare draft settlement counter for ron Mountain for Trustee Jason
Rund to review and approve.

Asset Dispos
Telephone call with Trustee Rund regarding settlement terms with
Attorney Jackie Price for fron Mountain.

Asset Dispos
Review latest draft of Trustee's agreement with Cindy Esquivel and
prepare email to Cindy requesting signature.

Asset Dispos

Commence drafting Motion to Approve Consulting Agreement with the
Debtor's Former Director of the Early Head Start Program, Cindy
Esquivel.

Asset Dispos

Review Court docket for opposition to Trustee's Motion to Approve
Consulting Agreement with Avantiico, Inc.; draft and preparation of
Non Opposition to same; identify and prepare exhibits in support; draft
and preparation of Order approving Trustee's Motion.

Asset Dispos

Prepare email to Trustee Jason Rund regarding the estate's potential
causes of action against officers and directors and employing special
counsel on a hybird basis to firm obtain evidence to ensure a potential
cause of action exists.

Asset Dispos
Prepare email to Cindy, former EHS Director, regarding agreement
with Trustee.

Asset Dispos

Review lengthy email from Cindy regarding narrative explanation of
how Head Start program functioned and necessary steps to determine
amount of Head Start receivable owed estate.

Asset Dispos

Revise, finalize Declaration of Non Opposition (.1); revise, finalize
Order approving Trustee's Consulting Agreement with Avantiico, Inc.
(.1); draft and preparation of email correspondence to K. Driggers and
attach Declaration, Exhibits in support and Order with instructions to
obtain T. Casey's signature and file, serve and upload with the Court
today (.1).

Asset Dispos
Telephone call with Trustee regarding obtaining evidence in support of
potential causes of action against directors and officers.

Page 43
Hrs/Rate Amount
0.30 180.00
600.00/hr
0.10 60.00
600.00/hr
0.30 180.00
600.00/hr
0.70 136.50
195.00/hr
0.60 117.00
195.00/hr
0.20 120.00
600.00/hr
0.10 60.00
600.00/hr
0.30 180.00
600.00/hr
0.30 58.50
195.00/hr
0.10 60.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

8/1/2022 THC

THC

THC

MS

KM

8/2/2022 THC

THC

THC

THC

Asset Dispos
Prepare email to proposed special counsel Steve Gubner regarding
potential causes of action and employing his firm as special counsel.

Asset Dispos

Review and sign Declaration That No Party Requested a Hearing on
Motion for Approval of Trustee's Consulting Agreement with the
Debtor's Former IT Vendor Avantiico, Inc.

Asset Dispos

Review email from Robert Lazo and his attached invoice and prepare
email to Trustee Rund regarding same, my firm will file Lazo
professional fee statement after Trustee approves Lazo invoice per
Court approved agreement and compensation procedure with Lazo

Asset Dispos

Review email exchanges between Robert Lazo, T. Casey and Client
Trustee J. Rund (.1); draft and preparation of Professional Fee
Statement for Robert Lazo (.1).

Asset Dispos
Continue drafting revised memorandum regarding 457 plan.

Asset Dispos

Review email from AUSA Elan Levey regarding phone call today and
prepare email to Trustee regarding same and prepare email to AUSA
Elan Levey and the Trustee with conference call in information in less
than two hours.

Asset Dispos

Review email from Attorney Michael Jenkins from Best Best & Krieger
regarding no production of Debtor's electronic communications by
Debtor counsel Best Best & Krieger despite prior request and his
explanations of the Debtor's electronic data and prepare email
response regarding same and advise Best Best & Krieger must
produce all electronic communications in its possession, custody or
control as previously requested by the Trustee.

Asset Dispos

Prepare email to Trustee regarding Debtor counsel Best Best &
Krieger has refused to comply with the Trustee's request for turnover
of electronic communications.

Asset Dispos

Telephone call with Robert Lazo regarding Best Best & Krieger has
requested he obtain attorney communications in Debtor's data base,
latest position by Avantiico regarding license fees and his latest
invoice.

Page 44
Hrs/Rate Amount
0.20 120.00
600.00/hr
0.10 60.00
600.00/hr
0.40 240.00
600.00/hr
0.20 39.00
195.00/hr
0.50 225.00
450.00/hr
0.10 60.00
600.00/hr
0.60 360.00
600.00/hr
0.20 120.00
600.00/hr
0.20 120.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

8/2/2022 THC

THC

THC

THC

THC

THC

MS

MS

THC

KM

Asset Dispos

Prepare email to Trustee regarding Best Best & Krieger has not
complied with the Trustee's request to produce electronic
communications with Debtor counsel.

Asset Dispos

Conference call with AUSA Elan Levey and Trustee Jason Rund
regarding Health and Human Services will fund Early Head Start
creditors with restricted funds and such funds would be restricted per
federal regulation and are not property of the bankruptcy estate.

Asset Dispos
Review Best Best & Krieger response regarding Trustee request for
their electronic communications with the Debtor.

Asset Dispos
Review email from Kerry Moynihan regarding Rabbi trust agreement.

Asset Dispos
Review emails forwarded by Robert Lazo regarding emails from
Debtor counsel.

Asset Dispos

Review 457 plan adoption agreement (.4) and prepare email to
Trustee regarding requesting Newport Group for a copy of the Rabbi
Trust (.1).

Asset Dispos

Discussion with T. Casey regarding production of emails from Best

Best & Krieger (.1); attempt to access downloaded emails and advise

T. Casey regarding same (.1); draft and preparation of email
correspondence to D. Wakeling to set up emails so we can review with
Outlook with one click (.1). ‘

Asset Dispos

Draft and preparation of responsive email to Joseph Yoon at Aegis
Networks regarding status of payment of his fees and provide timeline
according to the filing of the fee statement and pursuant to Court
approved agreement.

Asset Dispos
Upload documents requested by proposed special counsel regarding
potential causes of action against officers and directors.

Asset Dispos
Research regarding termination and liquidation of 457 plan.

Page 45
Hrs/Rate Amount
0.30 180.00
600.00/hr
0.20 120.00
600.00/hr
0.20 120.00
600.00/hr
0.10 60.00
600.00/hr
0.20 120.00
600.00/hr
0.50 300.00
600.00/hr
0.30 58.50
195.00/nr
0.10 19.50
195.00/hr
1.00 600.00
600.00/hr
2.50 1,125.00
450.00/hr

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Jason M. Rund, Ch. 7 Trustee

8/3/2022 MS

MS

THC

THC

THC

KM

KM

8/4/2022 MS

MS

MS

Asset Dispos

Draft and preparation of email correspondence Dave regarding
creating Outlook subfile for Debtor counsel Best Best & Krieger emails
so Trustee can access same.

Asset Dispos

Review entered Order Approving Motion to Approve Consulting
Agreement with Avantiico, Inc.; forward to K. Driggers with instructions
fo serve on interested parties and prepare and file proof of service of
same.

Asset Dispos

Review email from administrator Newport regarding no trust is part of
Adoption Agreement for 457 plan and review her email regarding
same.

Asset Dispos

Review email from Attorney Kerry Moynihan regarding administrator
Newport is wrong and a trust should be attached to Adoption
Agreement and review terms in Adoption Agreement requiring trust be
attached.

Asset Dispos

Review another email from Attorney Kerry Moynihan regarding
ramifications of lack of trust to plan as required and prepare email
response regarding same.

Asset Dispos
Continue researching and drafting revised memorandum regarding
457 plan.

Asset Dispos
Analysis regarding Rabbi Trust agreement as part of 457 Plan.

Asset Dispos
Telephone call with T. Casey regarding preparing another agreement
with Robert Lazo and scope of services.

Asset Dispos
Discussion with T. Casey regarding revising legal memorandum
regarding 457 deferred compensation plan.

Asset Dispos
Draft and preparation of email correspondence to R. Lazo and attach
professional fee statement and request to sign and return.

Page 46
Hrs/Rate Amount
0.10 NO CHARGE
195.00/hr
0.10 19.50
195.00/hr
0.20 120.00
600.00/hr
0.30 480.00
600.00/hr
0.20 120.00
600.00/hr
3.00 1,350.00
450.00/hr
0.30 135.00
450.00/nr
0.20 39.00
195.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

8/4/2022

8/5/2022

MS

MS

MS

MS

MS

MS

THC

THC

THC

THC

Asset Dispos

Review signed professional fee statement from R. Lazo; attach his
invoice; prepare email correspondence to K. Driggers to attach a proof
of service and file and serve tomorrow.

Asset Dispos

Revisions to legal memorandum regarding the Debtor's 457 deferred
compensation plan {.2); daft and preparation of email correspondence
to T. Casey regarding same (.1).

Asset Dispos

Telephone call with T. Casey regarding preparing new agreement with
Robert Lazo and additional scope of services (.1); discuss agreement

with Cindy and receive instructions to email her to identify documents

she needs to collect the Early Head Start receivable (.1).

Asset Dispos

Review email from K. Driggers and prepare responsive email
regarding filing and serving Robert Lazo's professional fee statement
per Court order.

Asset Dispos

Draft and preparation of second consulting agreement with Robert
Lazo (.5); draft and preparation of email correspondence to T. Casey
regarding same (.1).

Asset Dispos

Draft Motion to Approve Consulting Agreement and Compensation
with Cindy Esquivel (.9): draft and preparation of email
correspondence to T. Casey regarding same (.1).

Asset Dispos
Telephone call with Robert Lazo regarding Court approval of his
second agreement with the Trustee.

Asset Dispos

Telephone call with Trustee regarding terms of second agreement with
Robert Lazo and terms of agreement with proposed special counsel
regarding D&O claims.

Asset Dispos
Telephone call with Attorney Corey Weber regarding revising his
proposed terms of engagement.

Asset Dispos
Prepare email to Trustee Rund regarding my phone call with proposed
special counsel Corey Weber regarding his firm's retention terms.

Page 47
Hrs/Rate Amount
0.10 19.50
195.00/hr
0.30 58.50
195.00/hr
0.20 39.00
195.00/hr
0.10 19.50
195.00/hr
0.60 117.00
195.00/hr
1.00 195.00
195.00/hr
0.20 120.00
600.00/hr
0.20 120.00
600.00/hr
0.10 60.00
600.00/hr
0.10 60.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

8/5/2022 THC

THC

THC

THC

THC

THC

THC

THC

8/7/2022 THC

8/8/2022 MS

MS

Asset Dispos

Review email from Attorney Jacqueline Price for Iron Mountain
regarding their settlement counter (‘2) and prepare email to Trustee
regarding recommended counter (.2).

Asset Dispos
Review and revise Robert Lazo second employment agreement.

Asset Dispos
Prepare email to Trustee Jason Rund explaining revisions to draft,
second agreement with Lazo.

Asset Dispos

Prepare text to Cindy Esquivel requesting accounting on EHS
receivable with back up and request she identify specific documents
she may need.

Asset Dispos
Review and revise the Trustee’s motion to approve agreement with
Cindy Esquivel.

Asset Dispos
Prepare email to Attorney Jacqueline Price regarding settlement
counter regarding Iron Mountain.

Asset Dispos
Prepare email to Trustee regarding fee procedure for Robert Lazo and
requiring a fee application.

Asset Dispos
Review email from Attorney Michael Jenkins with link to produced Best
Best & Krieger emails and prepare email response regarding same.

Asset Dispos
Review and analyze legal memorandum regarding 457 plan and
whether it is property of estate.

Asset Dispos
Telephone call with T. Casey regarding finalizing Motion to Approve
Consulting Agreement with Cindy Esquivel.

Asset Dispos

Revisions to the Motion to Approve Consulting Agreement with
Debtor's Former Director of the Early Head Start Program (.1); prepare
Declaration of J. Rund in support of the Motion (.4); draft and
preparation of email correspondence to T. Casey regarding same and
we need current cash on hand from the Trustee prior to filing the
Motion (.1).

Page 48
Hrs/Rate Amount
0.40 240.00
600.00/hr
0.40 240.00
600.00/hr
0.30 180.00
600.00/hr
0.20 120.00
600.00/hr
0.30 180.00
600.00/hr
0.30 180.00
600.00/hr
0.20 120.00
600.00/hr
0.40 240.00
600.00/hr
0.40 240.00
600.00/hr
0.10 19.50
195.00/hr
0.60 117.00
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

8/8/2022 MS

THC

THC

MS

MS

MS

MS

MS

MS

Asset Dispos
Telephone call with T. Casey regarding consulting agreement signed
by Cindy Esquivel.

Asset Dispos

Telephone cali with Trustee regarding second agreement with Robert
Lazo, agreement with Cindy and terms of employment for special
counsel.

Asset Dispos

Telephone call with paralegal Marissa Silva regarding revisions to
motion to approve agreement with Cindy and revisions to second
agreement with Lazo.

Asset Dispos

Another telephone call with T. Casey regarding sending Motion to
Client Trustee J. Rund to sign and to set up conference call with
myself, T. Casey, R. Lazo and C. Esquivel for purposes of having
Robert get Cindy whatever she needs to collect on the Early Head
Start receivable.

Asset Dispos
Draft and preparation of email correspondence to J. Yoon at Aegis
Networks and request confirmation of forwarding its fee check.

Asset Dispos

Draft and preparation of email correspondence to Client Trustee J.
Rund regarding signed agreement by Cindy, and attach the Motion to
Approve the Consulting Agreement with Cindy for his review, approval
and signature to his Declaration in support; also advise no objections
to Aegis's fees and to prepare and forward the fee check and provide
address to send check confirmed by J. Yoon.

Asset Dispos
Draft and preparation of Notice of Trustee's Motion to Approve
Consulting Agreement with Cindy Esquivel.

Asset Dispos

Draft and preparation of email correspondence to R. Lazo and C.
Esquivel regarding availability for a conference call to discuss the
electronic data required to assist in with the Early Head Start
receivable.

Asset Dispos

Revise, finalize Motion and Notice of Motion to Approve Consulting
Agreement with Cindy Esquivel (.2); identify and prepare exhibit in
support of Trustee's Motion (.1).

Page 49
Hrs/Rate Amount
0.10 19.50
195.00/hr
0.30 180.00
600.00/hr
0.10 60.00
600.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.20 39.00
195.00/hr
0.30 58.50
195.00/hr
0.10 19.50
195.00/hr
0.30 58.50
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

8/8/2022 MS

8/9/2022 THC

MS

MS

THC

MS

THC

MS

MS

8/10/2022 MS

Asset Dispos

Draft and preparation of email correspondence to R. Lazo and attach
second consulting agreement with a request to review and provide
signature.

Asset Dispos

Review email from Attorney Jackie Price for Iron Mountain regarding
settlement agreement with Trustee and prepare email response to
Attorney Price regarding same.

Asset Dispos
Draft and preparation of responsive email to R. Lazo regarding his
availability for a conference call tomorrow at 3:15pm.

Asset Dispos

Compile Motion, Notice of Motion and exhibit in support of Motion to
Approve Consulting Agreement with Cindy Esquivel and forward to T.
Casey for signature.

Asset Dispos

Review and revise legal memorandum regarding 457 Plan and legal
authorities under Internal Revenue Code and Bankruptcy Code, and
legal remedies available to Trustee to recover the 457 Plan funds (.4)
and prepare email to Trustee regarding same, attach legal
memorandum and recommend certain forms of communication with
457 plan participants before filing Trustee motion to recover the funds

(.3)

Asset Dispos
Draft and preparation of Motion to Approve Second Consulting
Agreement with IT Director Robert Lazo.

Asset Dispos
Review and sign the Trustee's motion to approve agreement with
former director of Early Head Start program.

Asset Dispos
Discussion and instructions to K. Driggers regarding filing and serving
Motion and Notice of Motion today.

Asset Dispos

Commence drafting Settlement Agreement between the Trustee and
Iron Mountain for the destruction and abandonment of the Debtor's
records.

Asset Dispos
Draft and preparation of email correspondence to Cindy and Robert
regarding scheduling our conference cail today at 3:15 p.m.

Page 50
Hrs/Rate Amount
0.10 19.50
195.00/hr
0.20 120.00
600.00/hr
0.10 19.50
195.00/hr
0.20 39.00
195.00/hr
0.70 420.00
600.00/hr
0.90 175,50
195.00/hr
0.30 180.00
600.00/hr
0.10 NO CHARGE
195.00/hr
0.60 117.00
195.00/hr
0.10 19.50
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

8/10/2022 MS

MS

THC

8/11/2022 MS

THC

THC

8/12/2022 THC

8/13/2022 THC

THC

8/15/2022 MS

Asset Dispos
Telephone call with T. Casey prior to our call with Cindy and Robert.

Asset Dispos

Conference call with T. Casey, Cindy E. and Robert L. regarding
accessing documents and information needed to collect on the Early
Head Start receivable.

Asset Dispos

Review email from Office of the U.S. Trustee Elan Levey regarding
Trustee's efforts to collect Early Head Start receivable and her client's
position that funds collected on the receivable can only be used for
RHS progam and prepare email to Trustee Jason Rund regarding
same and Debtor provided several months of services to EHS
providers and did not bill for it or get paid for it. .

Asset Dispos
Review and revise Trustee's Motion to Approve Second Consulting
Agreement with Robert Lazo and forward to T. Casey.

Asset Dispos
Telephone call with Trustee Jason Rund regarding position of HHS
and AUSA Elan Levey, and administering 457 plan.

Asset Dispos

Prepare email to Attorney Kerry Moynihan regarding list of current
participants from Newport and prepare trustee motion to administer
the 457 plan assets.

Asset Dispos
Telephone call with Cindy regarding her investigation to date of EHS
receivable and prepare email to Trustee regarding same.

Asset Dispos
Review email from Robert Lazo with attached invoices and prepare
email to Robert Lazo regarding same.

Asset Dispos
Review and revise the Trustee's motion to approve second agreement
with Robert Lazo.

Asset Dispos

Draft and preparation of Declaration of J. Rund in support of Motion to
Approve Second Consulting Agreement with R. Lazo (.4); draft and
preparation of email correspondence to T. Casey regarding same (.1).

Page 51
Hrs/Rate Amount
0.10 19.50
195.00/hr
0.20 39.00
195.00/hr
0.40 240.00
600.00/hr
0.20 39.00
195.00/hr
0.30 180.00
600.00/hr
0.10 60.00
600.00/hr
0.10 60.00
600.00/hr
0.20 120.00
600.00/hr
0.50 300.00
600.00/hr
0.50 97.50
195. 00/hr

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Jason M. Rund, Ch. 7 Trustee

8/15/2022 MS

MS

MS

THC

MS

MS

THE

Asset Dispos

Telephone call with T. Casey and receive instructions to review email
from R. Lazo and Avantiico invoices to confirm we are within the terms
of the consulting agreement to compensate them.

Asset Dispos

Commence reviewing Avantiico invoices attached to email from R.
Lazo and review Court approved consulting agreement (.3); draft and
preparation of email correspondence to T. Casey requesting prior
correspondence with Avantiico regarding payment of post-petition
invoices (.1).

Asset Dispos

Further review of Avantiico invoices attached to email from R. Lazo;
the Court approved consulting agreement; and prior Avantiico invoice
provided regarding post-petition (.2); calculate amount due and owing
for post-petition services and amount due pursuant to consulting
agreement (.2); draft and preparation of email correspondence to T.
Casey regarding same (.1).

Asset Dispos

Telephone call with paralegal Marissa Silva regarding entered order
approving Avantiico agreement and confirming payment of certain
invoices and payment of other invoices ten days after we file
professional fee statement.

Asset Dispos

Telephone call with T. Casey regarding my review of the invoices by
Avantiico; review consulting agreement and motion; confirm amounts
to pay for post-petition services, and amount to pay based on their
work completed to date under the Court approved consulting
agreement.

Asset Dispos
Draft and preparation of Professional Fee Statement for Avantiico, Inc.

Asset Dispos

Prepare email to Trustee Jason Rund attaching Avantiico invoices,
Trustee motion to approve agreement with Avantiico and order
approving Trustee motion, and recommend per Order payment of
Avantiico invoices incurred post-petition and before agreement plus
license fees and wait on paying remaining invoices until after ten day
period after we file Avantiico fee statement per Order, and attach
Trustee motion, Order approving Trustee motion and all Avantiico
invoices.

Page 52
Hrs/Rate Amount
0.10 19.50
195.00/hr
0.40 78.00
195.00/hr
0.50 97.50
195.00/hr
0.20 120.00
600.00/hr
0.30 58.50
195.00/hr
0.20 39.00
195.00/hr
0.60 360.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

8/15/2022 MS

THC

THC

8/16/2022 MS

8/17/2022 MS

THC

THC

MS

MS

8/18/2022 MS

Asset Dispos

Another telephone call with T. Casey regarding paying post-petition
invoices of Avantiico and preparing and filing professional fee
statement.

Asset Dispos
Review latest draft of the Trustee's motion to approve second
agreement with Robert Lazo.

Asset Dispos

Telephone call with CPA Don Fife regarding his access to Debtor
electronic data regarding when Debtor started operating using
restricting funds and commencement of insolvency.

Asset Dispos

Review email from T. Casey regarding emails from Debtor's counsel
Best Best & Krieger; research files regarding same and confirm they
are located in a separate file under the client file.

Asset Dispos
Telephone call with T. Casey regarding status of second agreement
and motion with Robert Lazo.

Asset Dispos
Review lengthy email from AUSA Elan Levey regarding HHS federal
regulations.

Asset Dispos

Telephone call with Trustee Jason Rund regarding all pending issues
including but not limited to estate receivables, 457 plan, and recent
email from AUSA Elan Levey regarding HHS federal regulations on
point.

Asset Dispos

Revise Motion to Approve Second Consulting Agreement with Robert
Lazo (.1); draft and preparation of email correspondence to Client
Trustee J. Rund and attach along with consulting agreement and
request to return signatures (.1)

Asset Dispos
Draft and preparation of Notice of Motion to Approve Second
Consulting Agreement with Robert Lazo.

Asset Dispos

Draft and preparation of email correspondence to Client Trustee J.
Rund instructing him, if he hasn't already done so, to remit payment to
Robert Lazo as there was no objection to his professional fee
statement.

Page 53
Hrs/Rate Amount
0.10 19.50
195.00/hr
0.30 180.00
600.00/hr
0.20 120.00
600.00/hr
0.20 39.00
195.00/hr
0.10 19.50
195.00/hr
0.30 480.00
600.00/nr
0.40 240.00
600.00/hr
0.20 39.00
195.00/hr
0.30 58.50
195.00/hr
0.10 19.50
195.00/hr

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Jason M, Rund, Ch. 7 Trustee

8/18/2022 THC

THC

THC

THC

THC

KM

KM

KM

8/19/2022 THC

MS

THC

Asset Dispos

Review another lengthy email fram AUSA Elan Levey regarding HHS
objects to the Trustee's motion to employ firmer director of Debtor's
EHS program with lengthy cited authorities and prepare email to
Trustee with draft response to AUSA Elan Levey.

Asset Dispos

Review email from Trustee Rund regarding response to email from
AUSA Elan Levey regarding OHS funds and use of OHS funds and
prepare email response inquiring why OHS can't distribute OHS funds
directly to EHS creditors if OHS funds are not property of estate why
involve trustee.

Asset Dispos
Telephone call with AUSA Elan Levey regarding all pending issues.

Asset Dispos

Prepare outline of potential stipulation with AUSA Elan Levey on HHS
potential objection to Trustee application to employ Cindy Debtor's
former head of EHS Program.

Asset Dispos

Telephone call with Trustee Jason Rund regarding resolving potential
objection by HHS to Trustee motion to aprove agreement with former
director of EHS Program.

Asset Dispos
Telephone call and email to Newport Group, the administrator of 457
Plan,

Asset Dispos
Telephone call from Newport Group regarding 457 plan.

Asset Dispos
Correspondence to T. Casey regarding 457 plan.

Asset Dispos
Telephone call with AUSA Elan Levey regarding resolving pending
issues.

Asset Dispos

Review and revise professional fee statement for Avantiico (.1); draft
and preparation of email correspondence to Morten of Avantiico and
request to sign the statement and we will file with the Court on his
behalf (.1).

Asset Dispas
Telephone call with Trustee Jason Rund regarding 457 plan, lease
issues, and my phone call this morning with AUSA Elan Levey

Page 54
Hrs/Rate Amount
1.00 600.00
600.00/nr
0.20 120.00
600.00/hr
0.20 120.00
600.00/hr
0.30 180.00
600.00/hr
0.20 120.00
600.00/hr
0.10 45.00
450.00/hr
0.20 90.00
450.00/hr
0.10 45.00
450.00/hr
0.40 240.00
600.00/hr
0.20 39.00
195.00/hr
0.50 300.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

8/19/2022

8/22/2022

MS

THC

MS

THC

THC

KM

THC

THC

THC

KM

KM

regarding resolution of potential HHS objection to Trustee motion to
approve agreement with Debtor former EHS director.

Asset Dispos

Telephone call with T. Casey and instructions to prepare supplement
to Trustee’s Motion to Approve Consulting Agreement with Cindy
Esquivel.

Asset Dispos

Telephone call with paralegal Marissa Silva regarding instructions
regarding preparing supplement to Trustee motion to approve
agreement with EHS director to resolve potential objection from AUSA
Elan Levey on behalf of HHS.

Asset Dispos

Draft and preparation of Supplement to the Trustee's Motion to
Approve Consulting Agreement with Cindy Esquivel (.4); draft and
preparation of email correspondence to T. Casey regarding same (.1).

Asset Dispos

Review email from Elan Levey confirming the Trustee is not seeking
to collect funds directly from HHS and prepare email response
regarding same.

Asset Dispos
Review emai! from Kerry Moynihan regarding 457 plan information and
prepare email instructions regarding same.

Asset Dispos
Draft Trustee motion to terminate 457 plan.

Asset Dispos
Review email from Attorney Moynihan to Newport, administrator of 457
plan, and prepare email to Trustee regarding same.

Asset Dispos

Telephone call with Trustee Jason Rund regarding audit required on
403(b) plan, access to Debtor's financial data for plan and lease
amount and position of landlord.

Asset Dispos
Review Rabbi Trust produced by Newport and list of 457 plan
participants.

Asset Dispos
Continue drafting motion to terminate 457 plan.

Asset Dispos
Analysis regarding 457 plan participants.

Page 55
Hrs/Rate Amount
0.20 39.00
195.00/hr
0.30 180.00
600.00/hr
0.50 97.50
195.00/hr
0.10 60.00
600.00/hr
0.10 60.00
600.00/hr
1.50 675.00
450.00/hr
0.10 60.00
600.00/hr
0.20 120.00
600.00/hr
0.20 120.00
600.00/hr
2.20 990.00
450.00/hr
0.30 135.00
450.00/hr

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Jason M. Rund, Ch. 7 Trustee

8/22/2022 KM

KM

8/23/2022 THC

8/24/2022 MS

THC

MS

THC

THC

8/25/2022 MS

MS

THC

MS

Asset Dispos
Correspondence with Newport Group regarding 457 plan.

Asset Dispos
Correspondence with client and T. Casey regarding 457 plan
participants.

Asset Dispos

Prepare email to Attorney Kerry Moynihan regarding Trustee motion to
terminate 457 plan and liquidate investments, and to employ and
compensate fund manager Charles Schwab.

Asset Dispos
Telephone call with T. Casey regarding preparing agreement with Iron
Mountain and discuss release language.

Asset Dispos
Review email from Cindy regarding EHS receivable and prepare email
response regarding same.

Asset Dispos

Continue drafting Settlement Agreement with Iron Mountain (.5); draft
and preparation of email correspondence to T. Casey regarding same
and provide draft agreement for his review (.1).

Asset Dispos
Review and revise the Trustee's agreement with jron Mountain.

Asset Dispos
Prepare email to Trustee Jason Rund with copy of draft Agreement
wkith tron Mountain.

Asset Dispos

Discussion with T. Casey regarding insurance policy with Gallagher;
confirm that it was provided by Debtor's counsel and we have not had
any contact with them.

Asset Dispos

Finalize professional fee statement for Avantiico (.1); draft and
preparation of email correspondence to K. Driggers with instructions to
file and serve today (.1).

Asset Dispos
Telephone call with Don Fife CPA regarding his preliminary analysis
regarding insolvency and high salaries.

Asset Dispos
Draft and preparation of email correspondence to Client Trustee J.
Rund and attach Avantiico fee statement filed today.

Page 456
Hrs/Rate Amount
0.20 90.00
450.00/hr
0.20 90.00
450.00/hr
0.30 180.00
600.00/hr
0.10 19.50
195.00/hr
0.10 60.00
600.00/hr
0.60 117.00
195.00/hr
0.50 300.00
600.00/hr
0.10 60.00
600.00/hr
0.10 19.50
195.00/hr
0.20 39.00
195.00/hr
0.30 180.00
600.00/hr
0.10 19.50
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

8/25/2022 KM

KM

8/26/2022 MS

KM

8/29/2022 THC

8/30/2022 THC

MS

MS

THC

8/31/2022 THC

Asset Dispos
Continue drafting motion to terminate 457 plan.

Asset Dispos
Correspondence to Newport Group, the administrator of 457 Plan
regarding 457 participants.

Asset Dispos

Review and revise Motion and Notice of Motion to Approve Second
Consulting Agreement with Robert Lazo (.2): identify and prepare
exhibit in support (.1); draft and preparation of email correspondence
to K. Driggers with instructions to obtain T. Casey's signatures, file and
serve (.1).

Asset Dispos
Continue drafting motion to terminate 457 plan.

Asset Dispos

Review JLK Rosenberger certification requirements, Conditions for
Plan Management And ERISA Audit and Engagement Letter to
prepare for scheduled conference call.

Asset Dispos

Prepare email to Trustee Jason Rund my phone call yesterday with a
Broadnax from LAEP regarding potential offer on Child 360 software
and many open questions regarding same.

Asset Dispos

Review Court docket for opposition to Trustee's Motion to Approve
Consulting Agreement with Debtor's Former Director of the Early Head
Start Program, Cindy Esquivel and Compensation; draft and
preparation of Non Opposition to same; identify and prepare exhibits in
support; draft and preparation of Order approving Trustee's Motion.

Asset Dispos

Draft and preparation of email correspondence to J. Rund and attach
filed Motion to Approve Second Consulting Agreement with Robert
Lazo.

Asset Dispos

Review email from Attorney Ron Vera for Los Angeles Education
Partnership describing the assets his client may be interested in
purchasing and prepare responsive email requesting offer stating what
dollar amount his client is offering to pay.

Asset Dispos

Telephone call with Attorney Ron Vera for Los Angeles Education
Partnership regarding possible sale of certain Debtor software and
next steps.

Page 57
Hrs/Rate Amount
1.20 540.00
450.00/hr
0.20 90.00
450.00/hr
0.40 78.00
195.00/hr
3.20 1,440.00
450.00/hr
0.40 240.00
600.00/hr
0.40 240.00
600.00/hr
0.60 117.00
195.00/hr
0.10 19.50
195.00/hr
0.20 120.00
600.00/hr
0.20 120.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

8/31/2022 MS

KM

9/1/2022 MS

THC

THC

9/2/2022 MS

MS

KM

9/5/2022 THC

9/6/2022 MS

MS

THC

Asset Dispos
Commence drafting Motion to Approve Agreement with JLKR and
Compensation.

Asset Dispos
Continue drafting motion to terminate 457 plan.

Asset Dispos

Review entered Order Approving Agreement with C. Esquivel; forward
to K. Driggers with instructions to serve on interested parties and
prepare and file proof of service of same.

Asset Dispos
Review entered order approving Trustee's agreement with Cindy and
prepare text to Cindy requesting written status report.

Asset Dispos
Review letter from Attorney Corey Weber to Gallagher requesting
documents and prepare email to Corey regarding same.

Asset Dispos
Telephone call with T. Casey regarding revisions to the engagement

letter and addendum; make revisions; email T. Casey regarding same.

Asset Dispos
Continue drafting Motion to Approve Agreement with JLKR.

Asset Dispos
Finalize Trustee motion to reject 457 plan.

Asset Dispos

Review email from Attorney Ron Vera for LAEP regarding interest in
acquiring potential programs and software and prepare email
response regarding same.

Asset Dispos
Review and revise Motion ta Approve JLKR Agreement and
Compensation.

Asset Dispos

Discussion with T. Casey regarding revised engagement letter and |
believe an additional revision is required; make required revision;
prepare email correspondence to D. Luna at JLKR and attach revised
engagement letter and provide location of latest revision.

Asset Dispos

Telephone call with Trustee Jason Rund regarding all pending issuers.

Page 58
Hrs/Rate Amount
1.20 234.00
195.00/hr
1.50 675.00
450.00/hr
0.10 19.50
195.00/hr
0.20 120.00
600.00/hr
0.20 120.00
600.00/hr
0.20 39.00
195.00/hr
0.50 97.50
195.00/hr
1.50 675.00
450.00/hr
0.20 120.00
600.00/hr
0.20 39.00
195.00/hr
0.20 39.00
195.00/hr
0.40 240.00
600.00/nr

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Jason M. Rund, Ch. 7 Trustee

9/6/2022 THC

9/7/2022 MS

MS

MS

MS

MS

MS

THG

9/8/2022 MS

MS

Asset Dispos
Telephone call with special counsel Corey Weber regarding his access
to electronic data.

Asset Dispos
Telephone call with T. Casey regarding making certain revisions to the
JLKR engagement letter and addendum.

Asset Dispos
Revisions to JLKR engagement letter and addendum (.2); draft and
preparation of email correspondence to T. Casey regarding same (.1).

Asset Dispos

Telephone call with T. Casey regarding revisions to JLKR engagement
letter and addendum (.1); make additional revisions and forward to T.
Casey via email (.1).

Asset Dispos

Telephone call with T. Casey regarding revising Motion to Approve
JLKR agreement asap for purposes of sending to J. Rund for
signature.

Asset Dispos

Revisions to Motion to Approve JLKR agreement and prepare
Declaration of J. Rund in support (.5); draft and preparation email
correspondence to T. Casey regarding same and request further
instructions on sending all documents to J. Rund to sign (.1).

Asset Dispos

Draft and preparation of email correspondence to J. Rund and attach
Motion to Approve JLKR agreement; engagement letter; and
addendum to engagement letter and request J. Rund provide
signatures to all documents.

Asset Dispos

Review email from Attorney Jacqueline Price for Iron Mountain and
draft agreement with her red edits to draft agreement (.3) and prepare
email to Trustee Jason Rund regarding same (.2).

Asset Dispos
Draft and preparation of Notice of Trustee's Motion for Approval of
Agreement with JLKR, CPA.

Asset Dispos

Revisions to Motion to Approve Agreement with JLKR and discuss
same with T. Casey (.1); draft and preparation of email
correspondence to J. Rund and attach revised Motion and explain the
revisions and they won't affect his signature page (.2).

Page 59
Hrs/Rate Amount
0.10 60.00
600.00/hr
0.20 39.00
195.00/hr
0.30 58.50
195.00/hr
0.20 39.00
195.00/hr
0.10 19.50
195.00/hr
0.60 117.00
195.00/hr
0.10 19.50
195.00/hr
0.50 300.00
600.00/hr
0.40 78.00
195.00/hr
0.30 58.50
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

9/8/2022 MS

MS

MS

MS

9/9/2022 MS

9/12/2022 THC

THC

9/15/2022 THC

THC

Asset Dispos

Discussion with T. Casey regarding revisions required to Notice of
Motion and Motion to Approve Agreement with JLKR to include
additional information regarding terminating 457 Pian and payment to
JLKR.

Asset Dispos

Revisions to the Motion to Approve Agreement with JLKR to include
additional information regarding terminating 457 Plan and payment to
JLKR and discuss same with T. Casey (.2); draft and preparation of
email correspondence to J. Rund and attach revised Motion with a
request to review, approve and forward his Declaration in support (.1)

Asset Dispos

Revisions to the Notice of Motion to Approve Agreement with JLKR to
include additional information regarding terminating 457 Plan and
payment to JLKR and discuss same with T. Casey (.1); identify and
prepare exhibit in support and forward to T. Casey (.1).

Asset Dispos

Draft and preparation of email correspondence to J. Rund advising
that no objection to the Avantiico professional fee statement was made
and to pay the invoice.

Asset Dispos
Review email from K. Driggers and prepare responsive email
regarding service of Motion and Notice today.

Asset Dispos

Conference call with special counse! Corey Weber, Trustee Jason
Rund, and IT Director Robert Lazo regarding migrating electronic data
to Corey's firm, and certain electronic data Corey needs asap.

Asset Dispos
Conference call with special counsel Corey Wever and Trustee Jason
Rund regarding insurance policies and tail coverage.

Asset Dispos

Prepare email to Corey Weber regarding his access to electronic data
and pending issue regarding 457 plan and legal authorities indicate
the 457 plan participants will not receive a distribution as plan funds
are property of the bankruptcy estate.

Asset Dispos

Review red line revisions to agreement from Attorney Jacqueline Price
for Iron Mountain (.2) and prepare email response regarding Trustee
accepts revisions and return final version with signatures (.2)

Page 60
Hrs/Rate Amount
0.10 19.50
195.00/hr
0.30 58.50
195.00/hr
0.20 39.00
195.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.40 240.00
600.00/hr
0.20 120.00
600.00/hr
0.20 120.00
600.00/hr
0.40 240.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

9/16/2022 THC

9/16/2022 THC

THC

THC

9/19/2022 THC

MS

MS

9/20/2022 MS

9/21/2022 MS

Asset Dispos

Review report from Cindy Monsavias and analyze the Trustee's
potential causes of action (.3) and prepare email to Jason Rund
regarding same (.1).

Asset Dispos

Review email from Debtor counsel Michael Jenkins of Best Best &
Krieger regarding Trustee employment of special counsel and
potential causes of action and prepare email recommendation to
Trustee.

Asset Dispos
Review email from Attorney Price with final, signed Agreement with
Iron Mountain and prepare email response regarding same.

Asset Dispos

Review email from Attorney Michael Jenkins of Best Best Krieger
regarding communicating with special counsel and Child 360 Board
wants to open a dialogue and review email from Trustee regarding
same (.2) and prepare email to special counsel Corey Weber
regarding same (.1).

Asset Dispos

Review email from Trustee regarding audit of plan and JKL
Rosenberger needs data from Insperity and telephone call with
paralegal Marissa regarding same.

Asset Dispos
Review email regarding items needed from Insperity for 403(b) audit
and telephone call with T. Casey regarding same.

Asset Dispos
Draft and preparation of email correspondence to K. Burrer at

Greenberg Traurig introducing myself and request for a telephone call

to discuss documents required by the Trustee and his accountants to
complete the 403(b) audit.

Asset Dispos
Telephone call with to K. Burrer at Greenberg Traurig following up on

my email of last night, leave voice mail message; draft and preparation

of email correspondence to T. Casey and J. Rund regarding same.

Asset Dispos
Draft and preparation of email correspondence to K. Burrer and

request to provide Robyn at Insperity's telephone number to reach out

to her.

Page 61
Hrs/Rate Amount
0.40 240.00
600.00/hr
0.20 120.00
600.00/hr
0.10 60.00
600.00/hr
0.30 180.00
600.00/hr
0.10 60.00
600.00/hr
0.20 39.00
195.00/hr
0.30 58.50
195.00/nr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

9/21/2022 MS

THC

THC

MS

MS

MS

MS

MS

MS

Asset Dispos

Draft and preparation of email correspondence to Martin at JLKR LLP
regarding availability for a phone call today with Robyn as she has left
me a voice mail.

Asset Dispos

Telephone call with paralegal Marissa regarding push back from
Insperity and pending audit of estate retirement plan and documents
needed from Insperity.

Asset Dispos
Telephone call with Attorney Karl Burrer of Greenberg Taurig
regarding documents requests from his client Insperity.

Asset Dispos
Several attempts to call Robyn with no luck; email Martin at JLKR
regarding calling Robyn and conferencing me in.

Asset Dispos

Conference call with Robyn at Insperity and Martin at JLKR regarding
403(b) plan audit; discuss documents required by auditor for 2021 to

complete the audit; Robyn advised they likely do not have everything
on Martin's list and discussed alternative documents, timing of

providing everything (.3); follow up cail with Martin regarding same (.1).

Asset Dispos
Telephone call with T. Casey regarding results of the conference call
with Robyn at Insperity and Martin at JLKR.

Asset Dispos

Further phone calls with T. Casey regarding contacting counsel for
Insperity to obtain documents for auditor as we are under deadline to
complete the 403(b) audit, advising Trustee regarding same and
instructions to send confirming email to Robyn at Insperity regarding
phone call today.

Asset Dispos

Draft and preparation of email correspondence to Robyn regarding
memorializing our conversation today regarding providing
documents/reports/information to Martin for the 403(b) audit.

Asset Dispos

Review Court docket for opposition to Trustee's Motion to Approve
Second Consulting Agreement with R. Lazo and Compensation; draft
and preparation of Non Opposition to same; identify and prepare
exhibits in support; draft and preparation of Order approving Trustee's
Motion.

Page 62
Hrs/Rate Amount
0.10 19.50
195,00/hr
0.10 60.00
600.00/hr
0.20 120.00
600.00/nr
0.10 19.50
195.00/nr
0.40 78.00
195.00/hr
0.10 19.50
195.00/hr
0.20 39.00
195.00/hr
0.20 39.00
195.00/hr
0.60 117.00
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

9/21/2022 THC

9/22/2022 MS

THC

MS

THC

9/23/2022 THC

THC

THC

THC

MS

Asset Dispos
Telephone call with Trustee Jason Rund regarding push back by
Insperity on request for documents regarding estate's ERC.

Asset Dispos
Revise, finalize Order Approving Second Consulting Agreement with
Debtor's Former IT Director and Compensation.

Asset Dispos

Review emails from special counsel Corey Weber and Trustee Jason
Rund regarding purchasing tail coverage and potential need to
prepare and file Trustee ex parte application to pay tail coverage
pollicy.

Asset Dispos
Discussion with T. Casey regarding obtaining tail coverage insurance
for D&O claims.

Asset Dispos

Conference call with Trustee Jason Rund, special counsel Corey
Weber and Jason Kamorsky regarding extending tail coverage for
certain policies, and filing ex parte application for order to pay cost of
premiums to extend reporting and tail coverage.

Asset Dispos

Review email from Attorney Jackie Price for Iron Mountain regarding
settlement agreement and Trustee 9019 motion and prepare email
response regarding same.

Asset Dispos

Review email from special counsel Cory Weber regarding draft motion
to pay insurance premiums and application to shorten time for hearing
(.2) and revise Trustee's draft Declaration and return to Cory (.3)

Asset Dispos

Telephone call with client Trustee Jason Rund regarding application to
shorten time to pay insurance premium to extend reporting period and
tail coverage and my revision to his supporting declaration.

Asset Dispos
Conference call with Cindy and Trustee regarding EHS receivable.

Asset Dispos

Draft and preparation of email correspondence to K. Driggers
regarding providing creditor with BNC information to sign up to receive
electronic notice.

Page 63
Hrs/Rate Amount
0.10 60.00
600.00/hr
0.10 19.50
195.00/hr
0.30 180.00
800.00/hr
0.10 19.50
195.00/hr .
0.70 420.00
600.00/hr
0.10 60.00
600.00/hr
0.50 300.00
600.00/hr
0.20 120.00
600.00/hr
0.70 420.00
600.00/hr
0.10 19.50
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

9/23/2022 MS

MS

MS

MS

MS

MS

9/26/2022 THC

9/28/2022 THC

THC

Asset Dispos
Telephone call with K. Driggers regarding sending creditor link to the
BNC to sign up to receive notice in the case.

Asset Dispos

Review Court docket for opposition to Trustee's Motion to Approve
Agreement with JLKR; draft and preparation of Non Opposition to
same; identify and prepare exhibits in support; draft and preparation of
Order approving Trustee's Motion; draft and preparation of email
correspondence to K. Driggers and attach all and to confirm next
Monday no opposition was filed and if not, to process the Declaration
and Order..

Asset Dispos

Draft and preparation of email correspondence to T. Casey regarding
background and information relating to 403(b) audit, attempts to gain
information required, deadline provide by Insperity and contact
information for all parties involved.

Asset Dispos

Draft and preparation of email correspondence to Martin at JLKR
regarding our call to counsel for Insperity and to follow up with T.
Casey and J. Rund Monday if he does not get what he needs as | will
be out of the office all week.

Asset Dispos
Draft and preparation of Settlement Agreement between the Chapter 7
Trustee and Landlord John Hancock Life Insurance Company.

Asset Dispos

Review Trustee's Motion to Terminate the 403(b) Plan (.2); prepare
email correspondence to T. Casey regarding same and provide
additional potential deadlines to adhere to (.1).

Asset Dispos

Review recently entered Order approving Trustee motion to approve
second agreement with Lazo and prepare email to Triustee and
Robert Lazo regarding same.

Asset Dispos

Review email from auditor Martin and prepare email to Attorney Karl
Burrer for Insperity requesting documents, citing to Section 704(a)(11)
and explain the Trustee's duty and deadlines he is facing to file certain
tax forms to complete audit of employee benefit plan and terminate
plan.

Asset Dispos
Telephone call with auditor Martin regarding he has not been able to
contact Robyn at Insperity and she is not responding to request for

Page 64
Hrs/Rate Amount
0.10 19.50
195.00/hr
0.70 136.50
195.00/hr
0.30 58.50
195.00/nr
0.10 19.50
195.00/hr
4.50 292.50
195.00/hr
0.30 » 58.50
195.00/hr
0.20 120.00
600.00/hr
0.50 300.00
600.00/hr
0.10 60.00
600.00/nr

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Jason M. Rund, Ch. 7 Trustee

9/28/2022 THC

THC

9/29/2022 THC

THC

THC

10/3/2022 THC

THC

MS

10/4/2022 THC

THC

MS

documents and pending deadline for Trustee and advise | will contact
Attorney Karl Burrer at Greenberg Taurig for Insperity.

Asset Dispos
Review email from special counsel Cory Weber regarding counsel for
Almodavar and potential conflict.

Asset Dispos
Telephone call with Trustee Jason Rund regarding insurance policies
and audit documents.

Asset Dispos
Review draft demand letter from special counsel to carrier and analyze
issue of sources of funding.

Asset Dispos
Telephone call with Trustee Jason Rund regarding statement oif
background facts in draft demand letter to carrier.

Asset Dispos

Telephone call with special counsel Corey Weber regarding statement
of background facts in draft demand letter to carrier and sources of
funding to Child 360.

Asset Dispos
Review email from AUSA Elan Levey regarding potential settlement
with OHS and her attached analysis of filed claims.

Asset Dispos

Prepare email to Trustee Jason Rund regarding analysis of settlement
request by AUSA Elan Levey for OHS and recommend counter
regarding funding part of settlement with Landlord Hancock.

Asset Dispos
Commence drafting Motion to Approve Settlement Agreement with
Iron Mountain,

Asset Dispos
Telephone call with paralegal M. Silva regarding preparing Trustee
9019 Motion to Approve Settlement Agreement with Iron Mountain.

Asset Dispos

Telephone call with Trustee Jason Rund regarding proposal from
AUSA Elan Levey for Office of Head Start and time entries from
auditor Martin and terms of Court order approving employment and
compensation :

Asset Dispos
Discussion with T. Casey regarding filing professional fee statement
for JLKR; future agreement with US Attorney's office; revised

EXHIBIT 1 PAGE 101

Page 65
Hrs/Rate Amount
0.10 60.00
600.00/hr
0.10 60.00
600.00/hr
0.70 420.00
600.00/hr
0.40 240.00
600.00/hr
0.10 60.00
600.00/hr
0.40 240.00
600.00/hr
0.50 300.00
600.00/hr
1.20 234.00
195.00/hr
0.10 60.00
600.00/hr
0.30 180.00
600.00/hr
0.20 39.00
195.00/hr
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Jason M. Rund, Ch. 7 Trustee

10/4/2022 MS

MS

THC

MS

MS

10/5/2022 MS

MS

MS

THC

MS

agreement with the Landlord on their administrative claim and draft
9019 motion with ron Mountain should be completed today for his
review.

Asset Dispos
Draft and preparation of Professional Fee Statement for JLKR.

Asset Dispos

Review and revise JLKR Professional Fee Statement (.1):; draft and
preparation of email correspondence to D. Luna at JLKR and request
to review, sign and send signature back to our office for filing with the
Court (.1).

Asset Dispos
Prepare email to AUSA Elan Levey regarding agreement between
OHS and the Trustee.

Asset Dispos

Forward iron Mountain Settlement Agreement to T. Casey and request
signature so we can send fully executed Settlement Agreement to
counsel for lron Mountain.

Asset Dispos
Continue drafting Motion to Approve Settlement Agreement with Iron
Mountain.

Asset Dispos
Telephone cail with T. Casey regarding compromise with lron
Mountain and adding more to the 9019 motion.

Asset Dispos

Draft and preparation of email correspondence to K. Driggers
confirming service of professional fee statement for JLKR and to file
and serve today.

Asset Dispos
Two telephone calls with T. Casey regarding Settlement Agreement
with Iron Mountain and monthly storage costs.

Asset Dispos
Review and revise draft Trustee 9019 motion to approve settlement
agreement with Iron Mountain.

Asset Dispos

Review and revise Motion to Approve Settlement Agreement with tron
Mountain (.5); draft and preparation of Declaration of Trustee J. Rund
in support (.6); draft and preparation of email correspondence to T.
Casey regarding Motion in final for sending to Client Trustee for review
and signature (.1).

EXHIBIT 71 PAGE 102

Page 66
Hrs/Rate Amount
0.20 39.00
195.00/hr
0.20 39.00
195.00/hr
0.10 60.00
600.00/hr
0.10 19.50
195.00/hr
1.00 195.00
195.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.20 39.00
195.00/hr
0.20 120.00
600.00/hr
1.20 234.00
195.00/hr
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Jason M. Rund, Ch. 7 Trustee

10/6/2022 MS

MS

MS

MS

MS

MS

THC

10/13/2022 MS

10/17/2022 THC

MS

MS

Asset Dispos
Identify and prepare exhibit in support of Trustee’s Motion to Approve
Settlement Agreement with Iron Mountain.

Asset Dispos
Draft and preparation of email correspondence to J. Price for Iron
Mountain and attach fully executed settlement agreement.

Asset Dispos

Review email from J. Rund regarding revising his Declaration in
support of the 9019 Motion and telephone call with T. Casey regarding
same.

Asset Dispos

Revise J. Rund’s Declaration in support of the 9019 Motion and
prepare email correspondence to J. Rund and attach revised
Declaration for his review and approval.

Asset Dispos
Revise, finalize 9019 Motion with Iron Mountain and forward to K.
Driggers with instructions to file and serve today.

Asset Dispos
Review filed professional fee statement for JLKR and calendar
objection deadline and to pay their fees if no objection is filed.

Asset Dispos

Meeting with paralegal Marissa Silva regarding instructions regarding
preparing agreement with Office of Head Start, terms of agreement
and exhibits to 9019 motion to approve the agreement.

Asset Dispos
Review Early Head Start grant documents in preparation of drafting
settlement agreement.

Asset Dispos
Telephone call with paralegal Marissa regarding preparing draft
settlement agreement with Office of Head Start and terms.

Asset Dispos

Telephone call with T. Casey regarding recitals for the Settlement
Agreement with the Office of Head Start/Health and Human
Resources.

Asset Dispos

Continue reviewing grant provided to the Debtor by the Office of Head
Start, applicable regulations and authorities on the disbursement of
these funds to certain creditors, they are not property of the estate and

Page 67
Hrs/Rate Amount
0.10 49.50
195.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.20 39.00
195.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.30 180.00
600.00/hr
0.60 117.00
195.00/hr
0.10 60.00
600.00/hr
0.10 19.50
195.00/hr
0.70 136.50
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

10/17/2022 MS

10/18/2022 MS

MS

MS

THC

10/19/2022 THC

THE

10/20/2022 THC

THC

MS

review chart of creditors that should be paid with the remaining grant
funds maintained by OHS.

Asset Dispos
Draft and preparation of Settlement Agreement with Office of Head
Start.

Asset Dispos
Telephone call with T. Casey regarding confirming the entity/party
regarding the agreement with Office of Head Start.

Asset Dispos

Draft and preparation of email correspondence to J. Rund regarding
no objection to professional fee statement of JLKR and to make
payment to them according to the fee statement.

Asset Dispos
Review and revise Settlement Agreement with Office of Head Start.

Asset Dispos
Review and revise draft settlement agreement with Office of Head
Start.

Asset Dispos
Review and revise settlement with Office of Head Start.

Asset Dispos
Telephone call with Trustee Jason Rund regarding LA School District

may want to purchase certain Intellectual Property and Trustee motion

regarding 457 plan.

Asset Dispos
Review and revise the draft settlement agreement with Office of Head
Start.

Asset Dispos

Meeting with paralegal Marissa Silva regarding instructions regarding
extended insurance policies to preserve value of the Trustee's
potential causes of action against officer and directors and obtain
insurance premium invoice and coordinate with Trustee and special
counsel.

Asset Dispos

Review email from T. Casey regarding contacting Gallager for invoice
for extended coverage of D&O Policy and discussion with him
regarding same.

EXHIBIT 1 PAGE 104

Page 68
Hrs/Rate Amount
1.60 312.00
195.00/hr
0.10 NO CHARGE
195.00/hr
0.10 19.50
195.00/hr
0.40 78.00
195.00/hr
0.20 120.00
600.00/hr
0.40 240.00
600.00/hr
0.20 120.00
600.00/hr
0.60 360.00
600.00/hr
0.20 120.00
600.00/hr
0.10 19.50
195.00/hr
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Jason M. Rund, Ch. 7 Trustee

10/20/2022 THC

THC

THC

MS

10/21/2022 MS

MS

THC

MS

MS

10/24/2022 MS

Asset Dispos
Continue to review and revise draft settlement agreement with Office
of Head Start regarding OHS payment to estate.

Asset Dispos
Review Office of Head Start federal regulations and revise draft
settlement agreement with Office of Head Start.

Asset Dispos
Telephone call with Trustee regarding revisions to agreement with
lessor John Hancock counsel.

Asset Dispos
Review and revise Settlement Agreement with OHS as requested by
T. Casey.

Asset Dispos

Telephone cail to Peter at Gallagher insurance and leave voice mail:
telephone call to Jenna at Gallagher insurance and leave voice mail:
Draft and preparation of email correspondence to Peter and Jenna
memorializing my voice mails and status of providing the invoice for
the Trustee to pay for the Extended Reporting Period for the D&O
Policy.

Asset Dispos
Review email from T. Casey and prepare responsive email confirming
| left voice mails with both Peter and Jenna at Gallagher insurance.

Asset Dispos

Telephone call with paralegal Marissa Silva regarding insurance
invoice regarding extended coverage for D&O insurance and lease
agreement with Hancock.

Asset Dispos
Telephone call with T. Casey regarding invoice from Gallagher.

Asset Dispos

Draft and preparation of email correspondence to Client Trustee J.
Rund forwarding email from Gallagher attaching invoice (.1);
telephone call with J. Rund regarding same and payment issued to
Travelers from the forfeiture account and he will follow up and if not
paid, he willissue payment (.1).

Asset Dispos

Telephone call with T. Casey regarding my phone call with J. Rund on
Friday and today he will pay the two invoices on the insurance through
Travelers and the D&O Extended policy.

Page 69
Hrs/Rate Amount
0.60 360.00
600.00/hr
0.50 300.00
600.00/hr
0.10 60.00
600.00/hr
0.30 58.50
195.00/hr
0.40 NO CHARGE
195.00/hr
0.10 NO CHARGE
195.00/hr
0.10 60.00
600.00/hr
0.10 NO CHARGE
195.00/hr
0.20 39.00
195.00/hr
0.10 19.50
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

10/24/2022

10/25/2022

THC

THC

MS

THC

MS

MS

THC

THC

MS

MS

Asset Dispos

Review email from Lazo regarding latest invoice and prepare email
instructions to paralegal Marissa regarding same and confirm Lazo's
latest invoice falls within scope of second Lazo Order in order for
Trustee to pay it.

Asset Dispos
Prepare email to Robert Lazo regarding his latest invoice and filing his
fee statement with the Court.

Asset Dispos

Review email fram T. Casey regarding invoice from Avantiico; review
files and prepare responsive email that invoice is okay to pay after the
professional fee statement is filed and no one objects.

Asset Dispos
Telephone call with Robert Lazo regarding inquiry by LACOE
regarding possible purchase of Debtor's data.

Asset Dispos

Draft and preparation of email correspondence to T. Casey regarding
filing Declaration of Non Opposition and uploading Order on the 9019
Motion with tron Mountain.

Asset Dispos

Review Court docket for opposition to Trustee's 9019 Motion with Iron
Mountain; draft and preparation of Non Opposition to same: identify
and prepare exhibits in support; draft and preparation of Order
approving Trustee's Motion.

Asset Dispos
Telephone cali with Trustee regarding interest by LACOE in
purchasing Child 360 data and 457 plan.

Asset Dispos
Meeting with paralegal Marissa regarding finalizing motion to file
termination of 457 plan.

Asset Dispos
Discussion with T. Casey regarding 457 plan and the status of the
receivables.

Asset Dispos
Draft and preparation of professional fee statement number 2 for
Avantiico, Inc.

Page 70
Hrs/Rate Amount
0.10 60.00
600.00/hr
0.10 60.00
600.00/hr
0.10 19.50
195.00/hr
0.20 120.00
600.00/hr
0.10 19.50
195.00/hr
0.60 117.00
195.00/hnr
0.10 60.00
600.00/hr
0.20 120.00
600.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

10/26/2022 THC

THC

THC

MS

MS

10/27/2022 THC

THC

THC

10/28/2022 MS

Asset Dispos

Review email from Attorney Ron Vera regarding LAEP request to
communicate with Robert Lazo and prepare responsive email
regarding same and | gave such authority to Robert Lazo last week.

Asset Dispos

Prepare email instructions to Robert Lazo regarding do not incur
further fees responding to inquiries from LAEP and request his
estimate of additional time he may need.

Asset Dispos

Review email from Michelle Broadnax of LAEP regarding LAEP may
need Lazo's future fees performing search for LAEP and prepare email
to Trustee regarding same and note time estimate by Lazo is
exponentially more than time estimate from LAEP.

Asset Dispos

Draft and preparation of email correspondence to T. Casey and
attached Avantiico's professional fee statement for review and
approval.

Asset Dispos

Draft and preparation of responsive email to T. Casey regarding | do
not see a recent invoice from R. Lazo for purposes of preparing
professional fee statement.

Asset Dispos

Review email from Robert Lazo regarding LAEP requests for
information and prepare email response to him regarding the Trustee
has agreed to LAEP's offer to pay his further fees for further searching
Child 360 data for LAEP and instructions regarding same.

Asset Dispos

Review email from Michele Broadnax and Attorney Ron Vera for LAEP
regarding LAEP will directly compensate Lazo for additional work he
performs and prepare responsive email regarding same.

Asset Dispos

Review Order entered yesterday approving Trustee motion to approve
settlement with Iron Mountain and prepare email to client Trustee
Jason Rund regarding same and instructions regarding he is now
authorized to pay $4,000 to Iron Mountain for destruction of records
and attach order, motion and request copy to Attorney Jackie Price for
Iron Mountain.

Asset Dispos

Draft and preparation of email correspondence to T, Casey regarding
confirming the Avantiico professional fee statement is okay to send for
signature.

Page 71
Hrs/Rate Amount
0.20 120.00
600.00/hr
0.20 120.00
600.00/hr
0.30 180.00
600.00/hr
0.10 19.50
195.00/nr
0.10 19.50
195.00/nr
0.40 240.00
600.00/hr
0.30 180.00
600.00/hr
0.50 300.00
600.00/hr
0.10 19.50
195.00/hr

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Jason M. Rund, Ch, 7 Trustee

10/28/2022 MS

MS

10/31/2022 THC

11/1/2022 THC

THC

MS

THC

MS

Asset Dispos

Draft and preparation of instructions to K. Driggers regarding serving
9019 Order on interested parties and filing Proof of Service if
necessary.

Asset Dispos

Draft and preparation of email correspondence to Morten at Avantiico
and attach second professional fee statement and request to date,
sign and return.

Asset Dispos
Review email from AUSA Elan Levey and her attached red lined
revisions to the Trustee's settlement agreement with OHS.

Asset Dispos

Review red lined version of agreement (.2) and prepare email to AUSA
Elan Levey regarding term in her red lined version of agreement
regarding Office of Head Start required procedure for estate to receive
the settlement funds and prepare email response to Elan Levey
regarding same (.3).

Asset Dispos

Review responsive email fram Elan Levey regarding how Office of
Head Start will make settlement payment and she needs more
information from Office of Head Start regarding electronic program the
Trustee must access to receive payment and prepare email to Trustee
regarding same.

Asset Dispos

Conference call with T. Casey, E. Levey and Patrick from OHS
regarding payment from the OHS system to the Trustee for purposes
of providing payments to certain creditors from the earmarked funds,
discuss logistics for completing task up Court approval of Settlement
Agreement with OHS (.2); meeting with T. Casey after conference call

(.1).

Asset Dispos

Conference call with AUSA Elan Levey, Attorney Patrick as in house
counsel for Office of Head Start, Trustee Jason Rund and my
paralegal Marissa Silva regarding procedures to implement proposed
settlement agreement through Office of Head Start website.

Asset Dispos

Review email from Heather at Avantiico regarding additional unpaid
invoices; review all invoices received to date and note potential
missing invoices; draft and preparation of email correspondence to
Heather to provide me with two missing invoices pursuant to her
attachment.

Page 72
Hrs/Rate Amount
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.30 180.00
600.00/hr
0.50 300.00
600.00/hr
0.20 120.00
600.00/hr
0.30 58.50
195.00/hr
0.30 180.00
600.00/hr
0.30 58.50
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

11/1/2022 MS

THC

MS

MS

THC

11/2/2022 MS

MS

MS

11/3/2022 MS

Asset Dispos

Review billing provided by Lazo; review his prior fee statement and
fees paid; review the second Court approved agreement with Lazo:
prepare responsive email to T. Casey regarding same and confirm his
fees are okay to pay.

Asset Dispos
Review email from Robet Lazo and prepare email to Trustee regarding
same regarding his monthly invoices.

Asset Dispos

Draft and preparation of Professional Fee Statement (Second) for
Robert Lazo (.1); draft and preparation of email correspondence to R.
Lazo and attach and request to date, sign and return and our office will
file with the Court (.1).

Asset Dispos

Review invoice from JLKR for balance owed on their invoice for the
audit of the 403(b) plan, review prior invoice and fee statement (.1);
draft and preparation of Professional Fee Statement (Second) for
JLKR (.1); draft and preparation of email correspondence to Dary!
Luna at JLKR and request to date, sign and return and our office will
file with the Court (.1).

Asset Dispos
Prepare email to Trustee recommending letter to all participants in 457
plan before filing motion terminating 457 plan.

Asset Dispos

Review email and signed professional fee statement from Daryl Luna
of JLKR and attach his latest invoice (.1): draft and preparation of
email correspondence to Daryl confirming receipt and draft and
preparation of email correspondence to K. Driggers and attach
statement with instructions to file with the Court today (.1).

Asset Dispos

Review email and signed professional fee statement from Robert Lazo
and attach his latest invoice (.1); draft and preparation of email
correspondence to Robert confirming receipt and draft and preparation
of email correspondence to K. Driggers and attach statement with
instructions to file with the Court today (.1).

Asset Dispos
Review email from K. Driggers regarding serving both professional fee
statements and prepare responsive email regarding same.

Asset Dispos
Review email from R. Lazo and Avantiico's latest invoice; review prior
invoices and review Court approved motion (.2); draft and preparation

Page 73
Hrs/Rate Amount
0.20 39.00
195.00/hr
0.10 60.00
600.00/hr
0.20 39.00
195.00/hr
0.30 58.50
195.00/hr
0.10 60,00
600.00/hr
0.20 39,00
195.00/hr
0.20 39.00
195.00/hr
0.10 19.50
195.00/hr
0.30 58.50
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

11/3/2022 MS

11/8/2022 THC

11/10/2022 MS

THC

11/11/2022 MS

MS

11/14/2022 THC

11/15/2022 MS

of email correspondence to L. Gitnick regarding confirming payment
was forwarded to Avantiico pursuant to the Motion (.1).

Asset Dispos

Review all invoices provided by Avantiico; review Motion to Approve
Consulting Agreement and Order; reconcile all invoices with payments
made by the Trustee; draft and preparation of lengthy email
correspondence to Heather at Avantiico laying out all invoices and
payments made by the Trustee; list invoices that appear to have not
yet been paid and to confirm same so that | may update and resend
the professional fee statement to Avantiico.

Asset Dispos

Telephone call with client Trustee Jason Rund regarding OHS position
regarding access to OHS system for settlement payment and pending
Debtor license with Microsoft.

Asset Dispos

Draft and preparation of email correspondence to K. Driggers
regarding J. Rund forwarded check to lron Mountain on October 31,
2022.

Asset Dispos
Prepare email to Trustee regarding releasing 2004 future transcripts to
creditor counsel Zev per his request.

Asset Dispos

Review email from Avantiico regarding response to my prior request
for confirmation of certain invoices; review provided invoices; revise
professional fee statement; draft and preparation of email
correspondence to Heather and attach revised professional fee
statement and email to Heather for signature.

Asset Dispos

Draft and preparation of email correspondence to K. Driggers and
attach signed Avantiico professional fee statement with enclosures
and instructions to file and serve today.

Asset Dispos

Telephone call with Trustee regarding Trustee motion to terminate 457
plan and evidence to date regarding the Trustee's potential causes of
action against officers and directors.

Asset Dispos

Draft and preparation of email correspondence to Client Trustee J.
Rund to pay invoices of the professionals (JLKR and Lazo) as there
was no objection to their filed fee statements.

Page 74
Hrs/Rate Amount
0.80 156,00
195.00/hr
0.20 120.00
600.00/hr
0.10 19.50
195.00/hr
0.10 60.00
600.00/hr
0.30 58.50
195.00/hr
0.10 19.50
195.00/hr
0.30 180.00
600.00/hr
0.10 19.50
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

11/15/2022 MS

11/16/2022 MS

THC

11/17/2022 MS

THC

THC

THC

MS

11/18/2022 THC

THC

THC

Asset Dispos
Review Settlement Agreement with Iron Mountain and calendar
deadline to provide destruction certificate.

Asset Dispos

Draft and preparation of email correspondence to L. Gitnick at Client
Trustee J. Rund’s office regarding providing details regarding payment
to Iron Mountain for the destruction of the Debtor's records.

Asset Dispos
Review and revise the Trustee's motion to terminate 457 plan.

Asset Dispos

Discussion with T. Casey regarding Charles Schwab
account/statements regarding 457 plan; research client files regarding
same; advise T. Casey no Charles Schwab statements were located.

Asset Dispos
Prepare email to Karen Christ regarding evidence for Trustee motion
to terminate 457 plan.

Asset Dispos
Review and revise the Trustee's motion to terminate the 457 plan.

Asset Dispos
Prepare email to Trustee Jason Rund regarding draft Trustee motion
to terminate 457 plan and liquidate plan investments.

Asset Dispos
Review and revise Motion to Reject 457 Plan and Turnover Funds.

Asset Dispos

Telephone call with Trustee Jason Rund regarding draft Trustee
motion to terminate the 457 plan and term allowing participants of plan
to file unsecured claims, and question by Lazo regarding pending
microsoft licensing fees.

Asset Dispos

Telephone call with Robert Lazo regarding no access to Child 360
electronic database unless Microsoft monthly licensing fees paid and
provide credit card info to maintain estate licensing fee.

Asset Dispos

Prepare email to Karen Crist regarding evidence for Trustee's motion
to terminate the Child 360 457 plan and liquidate the 457 plan
investments.

Page 75
Hrs/Rate Amount
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
1.00 600.00
600.00/nr
0.20 39.00
195.00/hr
0.10 60.00
600.00/hr
1.50 900.00
600.00/hr
0.20 120.00
600.00/hr
1.00 195.00
195.00/hr
0.30 180.00
600.00/hr
0.30 180.00
600.00/hr
0.20 120.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

11/18/2022 THC

THC

11/21/2022 THC

MS

MS

11/23/2022 MS

THC

THC

11/28/2022 THC

THC

Asset Dispos

Prepare email to Attorney Karl Burrer of Greenburg Taurig regarding
request for information on when earned income credit will be received
by the Trustee.

Asset Dispos

Review email from Karen Crist of Newpart Group regarding future
Trustee motion to terminate 457 plan and prepare email response
regarding same.

Asset Dispos
Prepare follow up email to AUSA Elan Levey regarding follow up
regarding how OHS will make proposed distribution payment.

Asset Dispos

Review and revise Motion to Terminate the Debtor's 457 Plan and
Rabbi Trust (.2); draft and preparation of Declaration of J. Rund in
support (.8).

Asset Dispos
Draft and preparation of Notice of Trustee's Motion to Terminate the
Debtor's 457 Plan.

Asset Dispos
Revise Declaration of J. Rund in support of Motion to Terminate 457
Plan pursuant to T. Casey's instructions and email him regarding same.

Asset Dispos

Review email from AUSA Elan Levey regarding her latest revisions to
attached settlement agreement with the Trustee regarding agreed
upon method for obtaining settlement payment from OHS and
procedure for issuing settlement check to the Trustee (.3) and prepare
email to Trustee regarding same with recommendation (.2)

Asset Dispos

Prepare email to Karen Crist of Newport Group regarding my follow up
regarding requesting confirmation no fees or commissions charged
upon liquidation of 457 plan and evidence needed for the Trustee's
motion.

Asset Dispos

Review and revise the Trustee's motion to terminate the 457 plan and
to liquidate the Plan Investments, and review and revise the Trustee's
supporting Declaration.

Asset Dispas
Prepare email instructions to paralegal Marissa Silva regarding
instructions regarding notice to all participants of the Trustee's mation

Page 76
Hrs/Rate Amount
0.30 180.00
600.00/hr
0.10 60.00
600.00/hr
0.10 60.00
600.00/hr
1.00 195.00
195.00/hr
0.40 78.00
195.00/hr
0.60 117.00
195.00/hr
0.50 300.00
600.00/hr
0.20 120.00
600.00/hr
0.60 360.00
600.00/nr
0.10 60.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

11/28/2022 THC

11/29/2022 MS

MS

MS

THC

THC

12/2/2022 THC

MS

MS

MS

to terminate 457 plan and researching all plan participants to ensure
notice to their personal addresses.

Asset Dispos

Telephone call with Karen Crist of Newport Group regarding explain
terms of motion | will be filing on behalf of Trustee and evidence for the
motion.

Asset Dispos
Revise, finalize Motion to Terminate 457 Plan (.3); draft and
preparation of Table of Contents and Table of Authorities (.7).

Asset Dispos
Revise, finalize Notice of Motion to Terminate 457 Plan.

Asset Dispos
Identify and prepare exhibits in support of Motion to Reject the 457
Plan.

Asset Dispos

Prepare email to Trustee Jason Rund regarding final version of
Trustee motion to terminate the 457 pan and to turnover the funds and
request signature on his supporting declaration and discuss latest draft
of settlement agreement revised by Elan Levey regarding distribution
of OHS funds.

Asset Dispos

Prepare email to AUSA Elan Levey regarding the Trustee accepts her
latest revisions to the settlement agreement and request approval! from
LACOE.

Asset Dispos

Review email from Jonathan Maloney for Newport Group regarding
the Trustee's future motion to terminate the 457 plan and turnover the
sale proceeds and prepare email response regarding his list of issues.

Asset Dispos
Telephone call with T. Casey regarding future motion to reimburse him
for monthly Microsoft charges and calendar same.

Asset Dispos
Telephone call with K. Driggers regarding filing and serving of the
Motion to Terminate the 457 Plan.

Asset Dispos

Review email exchanges between T. Casey and Newport and email K.
Driggers regarding same regarding service of future motion on all
participants.

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Page 77
Hrs/Rate Amount
0.20 420.00
600.00/hr
1.00 195.00
195.00/hr
0.20 39.00
195.00/hr
0.30 58.50
195.00/hr
0.20 120.00
600.00/hr
0.10 60.00
600.00/hr
0.30 180.00
600.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
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Jason M. Rund, Ch. 7 Trustee

12/2/2022 MS

12/6/2022 THC

MS

MS

MS

12/8/2022 MS

MS

12/12/2022 THC

12/13/2022 THC

12/20/2022 THC

Asset Dispas

Draft and preparation of email correspondence to K. Driggers and
attach Motion, Notice and exhibits regarding Termination of 457 Plan
and instructions to forward to T. Casey for signature.

Asset Dispos

Review email from AUSA Elan Levey and her attached, latest version
of the settlement agreement approved by LACOE and OHS (.3) and
prepare email response to Elan Levy regarding same (.1)

Asset Dispos
Discussion with K. Driggers regarding making minor revisions to
motion and notice prior to filing this week.

Asset Dispos
Discussion with T. Casey regarding preparing 9019 Motion regarding
settlement with the Office of Head Start.

Asset Dispos
Commence drafting Motion to Approve Settlement Agreement with
OHS pursuant to Federal Rules of Bankruptcy Procedure 9019.

Asset Dispos

Research Newport Group, Inc. in California, Pennsylvania and
Delaware for corporate headquarters and agent for service of process
(4); locate several addresses and forward to K. Driggers to include in
service of Motion to Terminate Debtor's 457 Plan (.1).

Asset Dispos

Further discussions with K. Driggers regarding service and revising
Motion to Terminate Debtor's 457 Plan regarding exhibit and page
number.

Asset Dispos
Telephone call with 457 plan participant regarding recently filed motion
to terminate plan and recommend she seek the advice of counsel.

Asset Dispos

Review email from Attorney Ron Vera for LAEP and prepare email
response regarding same, attach my two prior emails to Ron Vera and
again request a written offer and again advise him all sales of Child
360 assets are subject to Court approval and overbid.

Asset Dispos

Review email from Jonathan at Newport Group regarding requests by
457 plan participants for distributions and prepare email to Trustee
Jason Rund regarding the Trustee’s motion to terminate 457 plan is
pending.

Page 78
Hrs/Rate Amount
0.10 19.50
195.00/hr
0.40 240.00
600.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
4.80 351.00
195.00/hr
0.50 97.50
195.00/hr
0.20 39.00
195.00/hr
0.10 60.00
600.00/hr
0.30 180.00
600.00/hr
0.10 60.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

12/21/2022 MS

MS

THC

THC

MS

MS

MS

MS

MS

12/22/2022 MS

MS

Asset Dispos

Continue drafting Motion to Approve Compromise of Controversy with
OHS pursuant to Federal Rules of Bankruptcy Procedure 9019 (1.0):

draft and preparation of email correspondence to T. Casey regarding

same and the Table of Contents and Table of Authorities needs to be
updated still (.1).

Asset Dispos
Revisions to Motion to Approve Compromise of Controversy with
Office of Head Start.

Asset Dispos
Review and revise the Trustee's 9019 motion requesting approval of
agreement with OHS.

Asset Dispos
Review email from Eli Pessar regarding 457 plan and prepare email
response regarding same.

Asset Dispos
Telephone call with T. Casey regarding draft 9019 Motions.

Asset Dispos

Another telephone call with T. Casey regarding draft 9019 Motions and
to finalize 9019 Motion with OHS and prepare J. Rund Declaration in
support.

Asset Dispos
Revisions to 9019 Motion (OHS) and prepare Declaration of J. Rund in
support.

Asset Dispos

Telephone call with T. Casey regarding forwarding both 9019 Motions
to J. Rund for signature (.1); draft and preparation of email
correspondence to Client Trustee and attach both 9019 Motions and
request to returned signed Declarations to our office so that we may
file this week (.1).

Asset Dispos
Draft and preparation of Table of Contents and Table of Authorities for
9019 Motion with OHS.

Asset Dispos
Draft and preparation of Notice of 9019 Motion between the Trustee
and Office of Head Start.

Asset Dispos
Revise, finalize Motion and Notice of 9019 Motion between the Trustee
and Landlord (.2); identify and prepare exhibits in support (.2).

Page 79
Hrs/Rate Amount
1.10 214.50
195.00/hr
0.60 117.00
195.00/hr
0.80 480.00
600.00/hr
0.30 180.00
600.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.90 175.50
195.00/hr
0.20 39.00
195.00/hr
0.60 117.00
195.00/hr
0.50 97.50
195.00/hr
0.40 78.00
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

12/22/2022 MS

MS

MS

12/27/2022 MS

MS

MS

MS

12/29/2022 MS

1/3/2023 THC

THC

Asset Dispos
Revise, finalize Motion and Notice of 9019 Motion between the Trustee
and Office of Head Start (.2); identify and prepare exhibit in support

(1).

Asset Dispos
Several conversations with K. Driggers regarding filing and service of
both 9019 motions today.

Asset Dispos

Review email from Cindy Esquivel and prepare responsive email
regarding payment to L. Fonseca from OHS and advise of her
amended claim and attach.

Asset Dispos
Discussion with T. Gasey regarding email from E. Levey, reviewing her
concern and responding to same.

Asset Dispos

Review email from E. Levey regarding her concern with language in
the 9019 Motion and Notice regarding OHS and the payment
regarding Grant Funds; review both Motion and Notice regarding
discrepancies and any other inconsistencies; discuss discrepancies
with T. Casey and preparing response to E Levey.

Asset Dispos

Draft and preparation of email correspondence to E. Levey regarding
discrepancies/inconsistencies in the 9019 Motion and Notice with OHS
and provide potential resolution to same.

Asset Dispos
Draft and preparation of Notice of Errata for the Trustee's Motion and
Notice of Motion to Approve Compromise of Controversy with OHS.

Asset Dispos
Revise, finalize Notice of Errata and forward to K. Driggers to file and
serve today.

Asset Dispos

Review the Court's detailed tentative ruling granting the Trustee's
motion to terminate the Child 360 457 Plan and turnover plan funds to
the estate (.2) and instructions to paralegal regarding per tentative
ruling order must reference and incorporate tentative ruling and
include all terms in order (.1)

Asset Dispos
Meeting with paralegal! Marissa Silva regarding after entry of order
approving Trustee motion to terminate 457 plan prepare draft letter for

Page 80
Hrs/Rate Amount
0.30 58.50
195.00/hr
0.20 39.00
195.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.50 97.50
195.00/nr
0.30 58.50
195.00/hr
0.70 136.50
195.00/hr
0.10 19.50
195.00/hr
0.30 180.00
600.00/hr
0.20 120.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

1/3/2023 MS

MS

1/5/2023 THC

MS

THC

THC

1/6/2023 MS

MS

1/9/2023 MS

1/11/2023 MS

my signature to all participants regarding they can file claims and
enclose entered Order.

Asset Dispos
Discussion with T. Casey regarding preparing order granting Motion to
Reject 457 Plan.

Asset Dispos

Draft and preparation of Order Granting Chapter 7 Trustee's Motion to
Reject the 457 Plan, Authorizing Liquidation and Turnover of Sale
Proceeds.

Asset Dispos

Telephone call with Trustee Rund regarding implementing order when
entered regarding 457 plan participants may file claims and | will
prepare letter to all plan participants and enclose and reference order.

Asset Dispos
Telephone call with T. Casey regarding draft order and future letter to
the plan participants regarding filing proof of claim with the Court.

Asset Dispos

Telephone call with paralegal Marissa regarding Trustee Jason
request for certain information in my letter to 457 plan participants
enclosed order terminating 457 plan and term allowing filing of claims.

Asset Dispos

Review draft order granting Trustee motion to terminate 457 plan and
turnover plan funds to Bankruptcy Trustee, and set claims bar date for
participants and compare to relief requested in prayer of filed motion
and revise the Order.

Asset Dispos
Commence draft letter to 457 plan participant regarding filing proof of
claim pursuant to Court Order.

Asset Dispos
Draft and preparation of email correspondence to K. Driggers
regarding uploading Order on Trustee’s Motion to Terminate 457 Plan.

Asset Dispos
Review and update outline of tasks to be completed for case
administration.

Asset Dispos

Review and revise draft letter to 457 plan participants (.2); draft and
preparation of email correspondence to T. Casey and attach for review
and approval (.1).

Page 81
Hrs/Rate Amount
0.10 19.50
195.00/hr
0.50 97.50
195.00/hr
0.10 60.00
600.00/hr
0.10 19.50
195.00/hr
0.10 60.00
600.00/hr
0.20 120.00
600.00/hr
0,50 97.50
195.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.30 58.50
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

1/11/2023 THC

MS

MS

THC

THC

MS

MS

THC

THC

Ms

Asset Dispos

Telephone call with paralegal Marissa Silva regarding instructions
regarding letter to Newport Group enclosing order and requiring
compliance and second letter to all 457 plan participants.

Asset Dispos
Draft and preparation of email correspondence to T. Casey regarding
providing me with second engagement letter for JLK Rosenberger.

Asset Dispos

Telephone call with T. Casey and receive instructions to prepare letter
to the Newport Group regarding liquidating 457 plan and turning over
funds to the Trustee.

Asset Dispos
Review draft letter to all 457 participants.

Asset Dispos

Review letter to 457 plan participants regarding enclose order which
provides they may file an unsecured claim and make one minor
revision (.2) and prepare email to Trustee Jason Rund regarding same

(.1)

Asset Dispos

Draft and preparation of letter to the Newport Group regarding
terminating plan and liquidating plan investments (.4); draft and
preparation of email correspondence to T. Casey regarding same and
potentially adding request for "closing statement" after plan liquidation

(1).

Asset Dispos
Telephone call with T. Casey regarding approval by Trustee regarding
plan participant letters and | will complete them all now.

Asset Dispos

Review and revise letter to Newport Group requesting their
compliance with Court order terminating 457 plan and liquidating
investments and turning over net cash to the Bankruptcy Trustee (.2)
and email to Trustee regarding same (.1).

Asset Dispos
Review and sign letters to all 457 plan participants.

Asset Dispos

Draft and preparation of letters to Plan Participants and/or their
counsel of record regarding enclosed order terminating plan and per
order, deadline to file unsecured claim; prepare enclosures: multiple
calls with K. Driggers and T. Casey regarding same.

Page 82
Hrs/Rate Amount
0.10 60.00
600.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.10 60.00
600.00/hr
0.30 180.00
600,00/hr
0.50 97,50
195.00/hr
0.10 19.50
195.00/hr
0.30 180.00
600.00/hr
0.20 120.00
600.00/hr
1.40 273.00
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

1/11/2023 MS

MS

MS

MS

MS

MS

MS

MS

1/16/2023 MS

1/19/2023 MS

Asset Dispos

Telephone call with K. Driggers regarding forwarding Newport Group
letter today; prepare email correspondence to her with contact
information for Newport Group.

Asset Dispos
Review email from Napolitano regarding he does not represent
Sperling; telephone call with T. Casey regarding same.

Asset Dispos
Telephone call with Cory Weber, special counsel regarding who
represents William Sperling.

Asset Dispos

Review list of plan participants regarding individual represented by
Napolitano; another telephone cal with T. Casey regarding same;
prepare responsive email to Napolitano regarding inadvertently sent
him letter and we will send directly to W. Sperling.

Asset Dispos
Draft and preparation of Motion to Approve Second Agreement with
JLK Rosenberger, CPA to complete 403(b) plan audit for 2022.

Asset Dispos

Review proposed engagement letter with JLK Rosenberger CPA
regarding 2022 403(b) plan audit; note potential revision required and
email T. Casey regarding same.

Asset Dispos
Draft and preparation of Addendum to proposed engagement letter
with JLK Rosenberger CPA regarding 2022 403(b) plan audit.

Asset Dispos

Review engagement letter again and note another date discrepancy
(.1); Draft and preparation of email correspondence to D. Luna at JLK
Rosenberger and attach engagement letter and note date
discrepancies and to revise accordingly (.1).

Asset Dispos

Review change of address for creditor Anilu Sanchez and prepare
email correspondence to K. Driggers with instructions to update our
records including service lists.

Asset Dispos

Draft and preparation of email correspondence to Robyn and Erin at
Insperity regarding assisting us and Newport regarding issues for 2022
403(b) plan and future audit of same.

Page 83

Hrs/Rate Amount

0.10 NO CHARGE
195.00/hr

0.10 NO CHARGE
195.00/hr

0.10 NO CHARGE
195.00/hr

0.20 NO CHARGE
195.00/hr

1.20 234.00
195.00/nr

0.20 39.00
195.00/hr

0.10 19.50
195.00/hr

0.20 39.00
195.00/hr

0.10 19.50
195.00/hr

0.20 39.00
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

1/19/2023 MS

MS

1/20/2023 MS

1/24/2023 THC

THC

MS

MS

MS

MS

1425/2023 THC

Asset Dispos
Review and revise Motion to Approve Second Consulting Agreement
with JKL Rosenberger, CPA.

Asset Dispos
Discussion with T. Casey regarding 403(b) plan participants and
access to their funds.

Asset Dispos

Draft and preparation of email correspondence to K. Burrer, counsel
for Insperity and provide detailed email regarding certain issues that
require Insperity's attention and review for the 403(b) plan audit for
2022.

Asset Dispos
Meeting with paralegal Marissa Silva regarding terms of second
application to employ Dary! Luna regarding 403(b) plan.

Asset Dispos
Review correspondence from Attorney Vera for LAEP regarding offer

on certain electronic data and prepare email response regarding same.

Asset Dispos

Review and revise correspondence to W. Sperling, prepare enclosures
and instructions to K. Driggers to forward to W. Sperling via mail (.2);
draft and preparation of email correspondence to W. Sperling and
attach letter regarding filing Proof of Claim as 457 plan participant (.1).

Asset Dispos

Draft and preparation of email correspondence to J. Rund regarding
providing clarification on second audit to be conducted by JLK
Rosenberger.

Asset Dispos

Review email from J. Rund regarding clarification on second audit to
be conducted by JLK Rosenberger and our first motion; review first
motion and prepare responsive email to him regarding same.

Asset Dispos
Review and revise Motion to Approve Second Consulting Agreement
with JLK Rosenberger and forward same to T. Casey.

Asset Dispos

Review and revise the Trustee's motion to employ again auditor to
complete administration of 403(b) (.3) and two telephone calls with
instructions to paralegal Marissa regarding explain source of
compensation and if source of any compensation is from estate add
Section 327 to P's and A's and in caption (.2).

Page 84
Hrs/Rate Amount
0.30 58.50
195.00/hr
0.10 19.50
195.00/hr
0.40 78.00
195.00/nr
0.10 60.00
600.00/hr
0.30 180.00
600.00/hr
0.30 58.50
195.00/hr
0.10 19.50
195.00/hr
0.20 39.00
195.00/hr
0.30 58.50
195.00/hr
0.50 300.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

1/25/2023 THC

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1/26/2023 THC

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1/27/2023 MS

Asset Dispos
Review and revise letter to Attorney Ron Vera rejecting LAEP's offer to
purchase.

Asset Dispos

Discussion with T. Casey regarding Motion to Approve Second
Consulting Agreement with JKL Rosenberger and requested revisions
to same.

Asset Dispos

Draft and preparation of email correspondence to Client Trustee J.
Rund and request further information as to the final audit and payment
of JLKR's fees.

Asset Dispos
Discussion with T. Casey regarding J. Rund's information on the final
audit and payment of fees to JLKR.

Asset Dispos
Revisions to Motion to Approve Second Consulting Agreement with
JLKR and forward to T. Casey.

Asset Dispos
Further review and revisions to Trustee motion to retain CPA firm
regarding 403(b) plan.

Asset Dispos
Draft and preparation of Declaration of J. Rund in support of Motion to
Approve Second Consulting Agreement with JLKR.

Asset Dispos

Draft and preparation of email correspondence to J. Rund and attach
draft Motion and JLKR’s engagement letter and request fo review and
return signatures on both.

Asset Dispos

Telephone call with Trustee Jason Rund regarding revising motion
employing Daryl Luna regarding winding up 403(b) plan and projected
net amount in forfeiture account.

Asset Dispos
Review email from J. Rund regarding draft motion and potential
revisions; telephone call with T. Casey regarding same.

Asset Dispos
Revisions to Motion to Approve Second Agreement with JLKR and
email to T. Casey.

Page 85
Hrs/Rate Amount
0.10 60.00
600.00/hr
0.20 39,00
195.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.30 58.50
195.00/hr
0.20 120.00
600.00/hr
0.40 78.00
195.00/hr
0.10 19.50
195.00/hr
0.20 120.00
600.00/hr
0.20 39.00
195.00/hr
0.30 58.50
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

1/27/2023 MS

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1/30/2023 MS

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Asset Dispos

Telephone call with T. Casey regarding revised Motion to Approve
Second Agreement with JLKR and instructions to prepare clean copy
and send both to client for review and approval.

Asset Dispos

Review revised, draft Child 360 motion to employ Daryl Luna (.1) and
telephone call with paralegal Marissa regarding same and forward to
Trustee with revisions highlighted in yellow plus a clean draft with his
declaration requiring a signature (.1).

Asset Dispos

Telephone call with T. Casey regarding revisions are acceptable to
Motion with JLKR and to make to versions, one with revisions
highlighted and a clean version and send to Trustee for review and
approval.

Asset Dispos

Prepare clean version of the Motion to Approve Second Agreement
with JLKR (.2); draft and preparation of email correspondence to Client
Trustee J. Rund and attach both versions and request review,
approval and forward his signature if acceptable (.1)..

Asset Dispos
Draft and preparation of email correspondence to Insperity following
up On my prior email request.

Asset Dispos

Review responsive email from Insperity counsel regarding delay as
personnel addressing the issue is on family leave and request for
additional information regarding 2021/2022 census; prepare email
correspondence to Ashley at Newport Group and request they provide
information Insperity is requesting.

Asset Dispos

Prepare email instructions to paralegal Marissa regarding prepare two
orders granting two Trustee motions scheduled for hearing and
prepare two draft letters with instructions after orders are entered to
pay Landlord Hancock and to AUSA Elan Levey regarding fund
settlement agreement.

Asset Dispos

Telephone call with T. Casey regarding preparing two orders pursuant
to tentative rulings today by Judge Robles and instructions to provide
to Trustee upon entry of each order.

Asset Dispos
Draft and preparation of Notice of Chapter 7 Trustee's Motion for
Approval of Second Agreement with JLK Rosenberger, CPA.

Page 86
Hrs/Rate Amount
0.10 19.50
195.00/hr
0.20 120.00
600.00/nr
0.10 19.50
195.00/hr
0.30 58.50
195.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.20 120.00
600.00/nr
0.10 19.50
195.00/hr
0.30 58.50
195.00/nr

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Jason M. Rund, Ch. 7 Trustee

1/30/2023

1/31/2023

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Asset Dispos
Identify and finalize Exhibit "1" to Motion to Approve Second
Consulting Agreement with JLKR.

Asset Dispos
Revisions to the Order Approving Settlement Agreement with the
Landlord adding a term from the Settlement Agreement.

Asset Dispos

Review email and attachments from Client Trustee J. Rund regarding
2022 Census for Debtor/Insperity/Newport Group; review prior
correspondence/communication regarding same and last audit for
2021; prepare email to J. Rund regarding same.

Asset Dispos

Draft and preparation of email correspondence to counsel for Insperity,
K. Burrer and attach 2022 Census from Newport Group with
information reported by the Debtor for year 2022 pursuant to his
request and to let us know if he needs anything further.

Asset Dispos
Draft and preparation of Order Granting Motion to Approve
Compromise of Controversy with Office of Head Start.

Asset Dispos

Review draft order approving the Trustee's settlement with OHS and
instructions regarding revise to incorporate Elan's prior reference to
funding being made my LACOE as a pass through entity, review
revised order and instructions regarding forward to Elan for approval
before lodging.

Asset Dispos

Review and approve draft order approving settlement agreement with
lessor and instructions regarding forward to Attorney Matthew Pham
for approval before lodging.

Asset Dispos

Discussion with T. Casey regarding revising Order Granting 9019
Motion with Office of Head Start; make revision as requested and
return proposed Order to T. Casey.

Asset Dispos

Draft and preparation of email correspondence to E. Levy and attach
proposed Order and tentative ruling and request to review and provide
approval prior to our office submitting to the Court.

Asset Dispos
Draft and preparation of email correspondence to M. Pham and attach
proposed Order Approving 9019 Motion with the Landlord and request

Page 87
Hrs/Rate Amount
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.30 58.50
195.00/hr
0.10 19.50
195.00/nr
0.40 78.00
195.00/hr
0.10 60.00
600.00/hr
0.10 60.00
600.00/nr
0.20 39.00
195.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

1/31/2023 MS

2/1/2023 MS

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2/2/2023 MS

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2/3/2023 THC

to review and provide approval prior to our office submitting to the
Court.

Asset Dispos

Review accept all changes to proposed Order Approving Trustee's
9019 Motion with the Landlord and create finalized Order; forward to
K. Driggers with instructions to upload with the Court.

Asset Dispos

Revisions to Order Granting Trustee's 9019 Motion with Office of Head
Start (.1); draft and preparation of email correspondence to T. Casey
regarding same and advise of revision and whether it is appropriate
based on email from Elan Levey (.1).

Asset Dispos

Draft and preparation of email correspondence to K. Driggers
regarding instructions to lodge Order Granting 9019 Motion with Office
of Head Start.

Asset Dispos
Prepare email to AUSA Elan Levey requesting update as to when
Office of Head Start will make the settlement payment.

Asset Dispos

Review entered Order approving 9019 Motion with Landlord and
commence drafting email to Client Trustee J. Rund regarding same
and instructions on making payment to the Landlord.

Asset Dispos

Telephone call with T. Casey regarding setting up conference call with
Insperity and Newport Group to meet and discuss what needs to be
produced.

Asset Dispos

Draft and preparation of email correspondence to Client Trustee J.
Rund recommending conference call with Insperity and Newport
Group.

Asset Dispos

Draft and preparation of email correspondence to T. Casey regarding
we should recommend to J. Rund to wait until he receives the funds
from the settlement with OHS to prepare and forward the two checks
to the Landlord.

Asset Dispos
Review Order entered yesterday approving the Trustee's agreement
with OHS and prepare email to AUSA Elan Levey regarding same.

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88
Hrs/Rate Amount
0.10 19.50
195.00/hr
0.20 39.00
195.00/hr
0.10 19.50
195.00/hr
0.10 60.00
600.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/nr
0.10 19.50
195.00/hr
0.10 60.00
600.00/hr
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Jason M. Rund, Ch. 7 Trustee

2/6/2023 MS

2/7/2023 THC

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2/8/2023 THC

Asset Dispos

Draft and preparation of email correspondence to K. Burrer at Insperity
and A. Robledo at Newport Group regarding setting up conference call
to discuss the documents and information required to complete audit
of 403(b) plan.

Asset Dispos
Telephone call with paralegal Marissa regarding request by Attorney
Karl of Greenburg Taurig regarding cost to Insperity.

Asset Dispos
Telephone call with Attorney Karl Burrer for Insperity regarding
demands being made on Insperity.

Asset Dispos
Telephone call and email to T. Casey regarding Insperity issues with
recent request for information for audit of 403(b) plan.

Asset Dispos
Telephone call with Ashley at Newport Group regarding information
requested of Insperity and call tomorrow between all.

Asset Dispos

Draft and preparation of email correspondence to Karl, Robyn and
Ashley and confirm conference call tomorrow and provide call in
instructions.

Asset Dispos

Telephone call with T. Casey regarding conference call tomorrow with
Insperity and Newport and | did speak with Ashley; forward conference
call information to him; instructions to see if CPA wants to be on the
call as well.

Asset Dispos

Telephone call with Trustee Jason Rund regarding pending issues
regarding Attorney Karl Burrer for Insperity and conference call with
him tomorrow, and my scheduled Zoom call with LACOE tomorrow.

Asset Dispos

Draft and preparation of email correspondence to D. Luna at JLKR
CPA and provide conference call information for tomorrow's call if he
wishes to attend.

Asset Dispos

Telephone conference call with Attorney Karl Burrer of
GreenburgTaurig, Ashley of Newport Group, Robyn of Insperity and
paralegal Marissa Silva regarding census data to complete 403(b)
audit.

Page 89
Hrs/Rate Amount
0.20 39.00
195.00/hr
0.10 60.00
600.00/hr
0.20 120.00
600.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr

0.10 NO CHARGE
195.00/hr

0.10 NO CHARGE
195.00/hr

0.20 120.00
600.00/hr

0.10 NO CHARGE
195.00/hr

0.50 300.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

2/8/2023 MS

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Asset Dispos

Conference call with Robyn and Karl at Insperity, Ashley R. from
Newport and T. Casey regarding information requests by Newport of
Insperity to complete the 2022 403(b) audit.

Asset Dispos

Follow up call with T. Casey after conference call to reach out to JLKR
for 2021 information provided by Insperity and to forward to Ashley at
Newport.

Asset Dispos

Draft and preparation of email correspondence to Martin Galvin and
Daryl Luna at JLKR requesting to provide Ashley with 2021 payroll
information.

Asset Dispos

Participate in Zoom call with Ron Vera and Doenetsky, counsel for
LAEP and Michele Broadnax for LAEP regarding their rejected offer to
purchase assets and explain the Trustee needs to show benefit to the
estate.

Asset Dispos
Review email from Newport Group administrator Ashley regarding she
cannot complete audit.

Asset Dispos
Telephone call with paralegal Marissa Silva regarding audit of 403(b)
plan and documents needed from Insperity.

Asset Dispos
Telephone call with Trustee regarding 403(b) audit issues and
conference call today with counsel for Insperity regarding same.

Asset Dispos

Telephone call with T. Casey regarding emails between Ashley and
Martin and to get email from Ashley on exactly what she needs from
Insperity and to confirm after sending email.

Asset Dispos

Draft and preparation of email correspondence to Ashley regarding
providing me with an email of the exact reports she is looking for from
Insperity for 2022.

Asset Dispos

Telephone call with T. Casey after his phone call with Client Trustee J.
Rund and moving forward with obtaining request from Ashley
regarding exact information needed for 2022 audit.

Page +90
Hrs/Rate Amount
0.50 97.50
195.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.50 300.00
600.00/nr
0.10 60.00
600.00/hr
0.20 120.00
600.00/nr
0.40 240.00
600.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

2/8/2023 THC

2/9/2023 THC

2/11/2023 THC

2/12/2023 THC

2/13/2023 MS

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Asset Dispos

Review email from Maloney of Newport Group regarding terminating
457 plan and date of amendment and prepare responsive email
regarding same attach Bankruptcy Court order and acknowledge Care
and Secure Act does not apply.

Asset Dispos

Conference call with special counsel Corey and Trustee Jason Rund
regarding preserving electronic data of Debtor and pending
investigation against officers and directors.

Asset Dispos

Review email from Maloney of Newport Group to Trustee and me and
review two attachments to Maloney email consisting of a sample
resolution and summary of plan modification and prepare email to
Trustee regarding same and recommend he not sign and explain why
the documents are incorrect.

Asset Dispos

Review email from Trustee regarding preparing revised resolution
terminating 457 plan and revised summary of material modification to
the 457 plan and prepare email response regarding same.

Asset Dispos

Draft and preparation of email correspondence to T. Casey regarding
response from Ashley at Newport received and will have follow up call
with her today; prepare email correspondence to Ashley to schedule a
call to discuss her email.

Asset Dispos

Telephone call with Ashley to confirm reports that she needs from
Insperity and only have one shot at asking; telephone with T. Casey
regarding same.

Asset Dispos

Draft and preparation of email correspondence to Martin Galvin at
JLKR CPA's regarding setting up phone call! today to discuss their
request for documents.

Asset Dispos

Review and revise 457 plan corporate resolution documents as
required by Newport Group to terminate 457 plan and liquidate sale
proceeds per Bankruptcy Court Order.

Asset Dispos

Telephone call with Martin Galvin at JLUKR CPA's regarding all
documents he requires to complete the 2022 audit of the 403(b) plan
and email T. Casey regarding same.

Page 91
Hrs/Rate Amount
0.40 240.00
600.00/nr
0.40 240.00
600.00/hr
0.50 300.00
600.00/hr
0.20 120.00
600.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.50 300.00
600.00/hr
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195.00/hr

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Jason M. Rund, Ch. 7 Trustee

2/13/2023 THC

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2/14/2023 THC

THC

2/16/2023 THC

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THC

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Asset Dispos
Further review and revise Child 360 Summary of 457 plan modification

Asset Dispos

Telephone call with T. Casey regarding my call with Martin Galvan at
JLKR and documents/reports they will need from Insperity to complete
the 2022 audit; instructions to prepare and forward draft email to him.

Asset Dispos

Review email from Attorney Jacqueline Price for Iron Mountain
regarding certificate of destruction and prepare email response
regarding same and compliance with Court order approving the
Trustee’s agreement with Iran Mountain regarding destruction of
Debtor documents with employee personal, private information.

Asset Dispos

Review final drafts of 457 plan Summary of Material Modifications,
Termination Amendment and Plan Resolution (.2) and prepare email
to Trustee Jason Rund regarding same (.2).

Asset Dispos
Prepare email to Attorney Ron Vera regarding LAEP making an offer
to purchase certain estate electronic files and data.

Asset Dispos
Prepare email to AUSA Elan Levey requesting a status update on
settlement payment from LACOE.

Asset Dispos
Prepare email to Jason Rund regarding settlement payments per
Court order.

Asset Dispos
Draft and preparation of email correspondence to T. Casey regarding
list of documents requested for our 2022 audit of the 403(b) plan.

Asset Dispos

Discussion with T. Casey regarding my email for request for
documents from Insperity (.1); telephone call with Ashley at Newport
Group to confirm she only requires the report for the specific
employees and advise T. Casey regarding same (.1).

Asset Dispos
Telephone call with T. Casey and Martin G. from JLKR regarding
reports that he requires to complete the audit.

Asset Dispos
Review and revise email to Attorney Karl Burrer for Insperity regarding
documents needed.

Page 92
Hrs/Rate Amount
0.40 240.00
600.00/hr
0.10 19.50
195.00/hr
0.20 120.00
600.00/hr
0.40 240.00
600.00/hr
0.10 60.00
600.00/hr
0.10 60.00
600.00/hr
0.20 120.00
600.00/hr
0.30 58.50
195.00/nr
0.20 39.00
195.00/hr
0.10 19.50
195.00/hr
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Jason M. Rund, Ch. 7 Trustee

2/16/2023 MS

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2/20/2023 THC

2/21/2023 THC

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2/22/2023 THC

2/23/2023 MS

2/24/2023 THC

Asset Dispos
Review email from Martin and compile documents attached for
purposes of sending to Insperity counsel.

Asset Dispos

Review and revise draft email to Kari B., Insperity counsel regarding
documents requested by Newport Group and JLKR to complete the
2022 audit of the 403(b) plan and attach supporting documents.

Asset Dispos
Prepare email to Attorney Karl Burrer for Insperity regarding additional
documents needed.

Asset Dispos

Review email from Attorney Karl Burrer for Insperity regarding
documents the Trustee's plan administrator Newport Group and his
auditor of 403(b) plan need and prepare email to Trustee Jason Rund
regarding same.

Asset Dispos

Prepare email to Attorney Karl Burrer for Insperity requesting update
on tax credit from retention tax credit due the estate and review his
response.

Asset Dispos
Prepare email to Robert Lazo regarding monthly charges to host and
maintain Child 360 electr

Asset Dispos

Review letter from Attorney Ron Vera for LAEP stating an offer to
purchase certain assets of the Child 360 estate (.2) and prepare email
to client Trustee Jason Rund regarding same (.3)

Asset Dispos

Telephone call with Trustee Jason Rund regarding all pending issues
including payment owing to landlord Hancock and counter to LAEP
offer to purchase certain electronic data.

Asset Dispos

Review Court docket for opposition to Trustee's Motion for Approval of
Second Agreement with JLKR; draft and preparation of Non
Opposition to same; identify and prepare exhibits in support; draft and
preparation of Order approving Trustee's Motion.

Asset Dispos

Prepare for phone call with Robert Lazo and review prior order
approving agreement with Avantiico, Court approved agreement with
Avantiico, estate charges incurred to date and compare to Court order

Page 93
Hrs/Rate Amount
0.10 19.50
195.00/hr
0.20 39.00
195.00/hr
0.10 60.00
600.00/hr
0.20 120.00
600.00/hr
0.10 60.00
600.00/hr
0.30 180.00
600.00/hr
0.50 300.00
600.00/hr
0.30 180.00
600.00/hr
0.60 117.00
195.00/hr
0.40 240.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

2/27/2023 MS

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3/1/2023 THC

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3/3/2023 MS

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3/6/2023 THC

3/7/2023 THC

and my prior email to Robert Lazo whether a second cash
disbursement motion must be filed.

Asset Dispos
Telephone call with T. Casey regarding future cash disbursement
motion regarding hosting electronic data charges.

Asset Dispos
Telephone call with Attorney Ron Vera for LAEP regarding the
Trustee's counter and terms.

Asset Dispos

Review email from Attorney Karl Burrer regarding ERC credit and
outstanding document requests and prepare email response regarding
same.

Asset Dispos
Telephone call with T. Casey regarding forwarding checks pursuant to
entered order with Landlord and Office of Head Start.

Asset Dispos

Review email from creditor Aegis regarding status of check per Court
approved motion with OHS; prepare responsive email regarding status
of same and approximate time of checks being written and forwarded.

Asset Dispos
Telephone call with T. Casey regarding emails from Karl Burrer and
instructions to forward to the plan administrator.

Asset Dispos

Draft and preparation of seven emails (forward) to Ashley R. at the
Newport Group and M. Galvan at JLKR regarding documents from
Insperity to complete the audit of the 403(b) plan.

Asset Dispos

Review another email from creditor Aegis regarding status of
remaining claim and advise it shall remain pending until the end of the
case.

Asset Dispos
Telephone call with Attorney Ron Vera for LAEP regarding potential
sale of certain estate data.

Asset Dispos

Review three emails fram Robert Lazo regarding Debtor's electronic
data and cost to continue to maintain it, review prior Trustee motion to
pay hosting company (.2); review Court approved Trustee agreement
with Avantiico and authorized payments and analyze net amount
authorized to be paid in the future (.3)

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Page 94
Hrs/Rate Amount
0.10 NO CHARGE
195.00/hr
0.10 60.00
600.00/hr
0.10 60.00
600.00/hr
0.10 19.50
195.00/nr
0.10 19.50
195.00/nr
0.10 19.50
495.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.10 60.00
600.00/hr
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600.00/hr
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Jason M. Rund, Ch, 7 Trustee

3/7/2023 MS

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3/10/2023 THC

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3/12/2023 THC

3/15/2023 THC

THC

Asset Dispos

Draft and preparation of email correspondence to Ashley R. at
Newport Group and M. Galvan at JLKR requesting to confirm that they
have received all that they need from Insperity to complete the audit.

Asset Dispos

Prepare email to Robert Lazo regarding potential purchase of Child
360 data and electronic files and his potential fees to transmit data and
electronic files to LAEP.

Asset Dispos

Prepare email to Trustee regarding offer by LAEP to purchase Child
360 data and electronic files, my communicated response to LAEP
regarding no reps and warranties and LAEP must confirm existence of
the data and electronic files before proceeding further, LAEP must
bear fees of Robert Lazo to transmit purchased data and electronic
files and my request LAEP obtain pre-approval of Attorney General's
Office before proceeding further.

Asset Dispos

Prepare email to Attorney Ron Vera for LAEP regarding offer to
purchase from LAEP and estimate of fees to transmit electronic data
and files.

Asset Dispos

Telephone call with Robert Lazo regarding LAEP must pay his fees to
transmit the Child 360 data and electronic files, amount owing to
Avantiico and 457 plan participants filing claims per Court order.

Asset Dispos

Prepare lengthy email to Robert Lazo regarding term of the Trustee's
proposed sale to LAEP and LAEP is responsible for paying his fees
incurred transmitting the electronic data, position of hosting company
Avantiico and terms of Court order authorizing payments and filing
claim per 547(b0 plan order.

Asset Dispos
Review legal authorities regarding the Trustee's potential sale of
potential assets of the Debtor to LAEP.

Asset Dispos

Review email from Jonathan Maloney of Newport Group regarding
distribution from 457 Plan and leave Jonathan Maloney a voice mail
advising him he is incorrect.

Asset Dispos
Telephone call with Trustee Jason Rund regarding Newport Group
appears to not understand Court Order regarding 457 Plan.

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Hrs/Rate Amount
0.10 19.50
195,00/hr
0.30 180.00
600.00/hr
0.40 240.00
600.00/hr
0.20 120.00
600.00/hr
0.30 180.00
600.00/hr
0.50 300.00
600.00/hr
0.30 NO CHARGE
600.00/hr
0.10 60.00
600.00/hr
0.10 60.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

3/23/2023 THC

3/24/2023 THC

THC

3/27/2023 MS

THC

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MS

3/28/2023 THC

Asset Dispos

Review email from Robert Lazo regarding monthly costs to maintain
Child 360 data base and prepare email regarding same and scope of
existing Court order authorizing certain payments.

Asset Dispos

Telephone call with Jason Rund regarding my phone call with special
counsel regarding revising many page letter to carrier regarding
demand and not filing claim against separate crime policy.

Asset Dispos

Telephone call with Trustee Jason Rund regarding claim against
officers and directors on one policy and not filing claim on crime policy
and analysis of potential underlying crime versus fraud.

Asset Dispos

Draft and preparation of email correspondence to T. Casey regarding
responses from Ashley at Newport Group and Martin at JLKR
regarding audit and recommendation for moving it forward.

Asset Dispos

Review email from Martin at JLK Rosenberger regarding additional
documents needed (.1) and telephone call with paralegal Marissa
Silva regarding same (.1)

Asset Dispos

Telephone call with T. Casey regarding my email regarding responses
from Ashley and Martin and instructions to prepare email to Ashley
regarding status of completing audit and to email Karl regarding
missing documents requested by JLKR.

Asset Dispos
Draft and preparation of email correspondence to Ashley regarding
status of completing reports and forms regarding 403(b) audit.

Asset Dispos

Draft and preparation of email correspondence to Karl B. for Insperity
regarding missing documents pursuant to our prior request and status
of producing same.

Asset Dispos

Draft and preparation of email correspondence to Martin at JLKR
regarding email from Karl and if they can utilize that link for the missing
data for the 403(b) audit.

Asset Dispos

Review email from Trustee regarding question from law firm of Artiano
& Associates and prepare email response regarding same and
attached copy of claims bar date notice.

Page 96
Hrs/Rate Amount
0.20 120.00
600.00/hr
0.20 120.00
600.00/hr
0.30 180.00
600.00/nr
0.20 39.00
195.00/hr
0.20 120.00
600.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/nr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.10 60.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

3/28/2023 MS

3/29/2023 THC

MS

THC

3/30/2023 THC

4/6/2023 THC

THC

THC

4/11/2023 THC

THC

Asset Dispos

Draft and preparation of email correspondence to Karl B. for Insperity
regarding the link he provided will not suffice and JLKR requires the
reports they provided for year 2021, copies of which | attached, but for
year 2022; prepare email correspondence to Martin at JLKR regarding
same.

Asset Dispos

Review email from Attorney Vera for LAEP regarding proposed sale,
LAEP's terms for Lazo to transfer the data and prepare email response
to Attorney Ron Vera regarding same, he is supposed to obtain OK
from Attorney General's Office for the sale,_LAEP terms for Lazo and
request date for follow up and terms of sale in Bankruptcy Court.

Asset Dispos

Draft and preparation of email correspondence to Martin at JLKR and
provide requested documents from Insperity and request confirmation
these are the remaining documents they need to complete their audit.

Asset Dispos

Review email response from Sugey Dominguez responding to demand
upon him and Sperling and prepare suggested draft response to email
to Trustee regarding same and recommended response to Sugey
Dominguez.

Asset Dispos

Review email from Trustee regarding response from Sugey
Dominguez and prepare email to special counsel Corey Weber
regarding same and request phone call.

Asset Dispos
Prepare email to Robert Lazo regarding keeping Avantiico current per
Court Order and budget.

Asset Dispos
Prepare email fo Attorney Ron Vera for LAEP regarding proposed sale
and required conditions and request phone call.

Asset Dispos
Prepare summary of remaining tasks to close case.

Asset Dispos
Telephone call with Robert Lazo regarding Court approved budget
motion and his agreements with Avantiico.

Asset Dispos
Prepare email to Trustee Jason Rund regarding agreement with
Avantiico.

Page 97
Hrs/Rate Amount
0.10 19.50
195.00/hr
0.40 240.00
600.00/hr
0.10 19.50
195.00/hr
0.30 180.00
600.00/hr
0.10 60.00
600.00/hr
0.20 120.00
600.00/hr
0.20 120.00
600.00/hr
0.30 180.00
600.00/hr
0.20 120.00
600.00/hr
0.30 180.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

4/13/2023 THC

4/17/2023 THC

THC

THC

THC

THC

4/18/2023 THC

THC

THC

Asset Dispos

Review email from Michele Broadnax of LAEP regarding potential
purchase of Child 360 electronic data and prepare email response to
Attorney Ron Vera for LAEP regarding same.

Asset Dispos

Review email from Robert Lazo regarding required payment to tech
vendor Avantiico and review prior Court Order authorizing Trustee to
pay Avantiico and analyze whether Trustee needs a further Court
order.

Asset Dispos

Prepare email to Trustee regarding prior Order entered August 2, 2022
regarding Court authority to pay certain Avantiico invoices and
software licensing fees and terms of Court approved compensation
procedure, cap on amount to pay Avantiico and recommendation.

Asset Dispos

Prepare email to Robert Lazo requesting he confirm Avantiico invoice
is for software licensing and not Avantiico services rendered and
explain as Court Order regarding same provides for different fee
procedure, and a fee statement does not have to be filed for software
licensing fee up to a cap.

Asset Dispos
Telephone call with Attorney Ron Vera for LAEP regarding terms of
proposed purchase of Child 360 electronic data by LAEP.

Asset Dispos

Review Order approving stipulation continuing plan confirmation
hearing and instructions to paralegal Marissa regarding same and
response deadline falls on same date of May 3 hearing where Court
will announce its ruling and instructions regarding prepare stipulation
to continue plan confirmation hearing.

Asset Dispos

Review all documents to prepare for Zoom call this morning with
Attorney Ron Vera for LAEP and Michelle Broadnax for LAEP
regarding remaining terms regarding sale of certain electronic data to
LAEP and term of sale and transmitta! of data.

Asset Dispos

Zoom call with Attorney Ron Vera and Michelle Broadnax of LAEP
regarding proposed purchase and sale of certain Child 360 electronic
data.

Asset Dispos

Prepare email to Trustee Jason Rund regarding Court order
authorizing payment of Avantiico fees and cap on licensing and
recommended resolution and attached entered Court arder and

Page 98
Hrs/Rate Amount
0.30 180.00
600.00/hr
0.30 180.00
600.00/hr
0.50 300.00
600.00/hr
0.30 180.00
600.00/hr
0.10 60.00
600.00/hr
0.10 60.00
600.00/hr
0.30 180.00
600.00/hr
0.50 300.00
600.00/hr
0.40 240.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

4/18/2023 MS

THC

THC

4/20/2023 THC

THC

THC

THC

4/27/2023 THC

5/2/2023 THC

THE

Trustee's motion to approve agreement with Avantiico and
compensation procedure.

Asset Dispos
Discussion with T. Casey regarding payment of Avantiico invoice for
software and licensing.

Asset Dispos

Prepare email to special counsel Corey Weber regarding certain
personnel files requested by LAEP as part of purchase and potential
impact on the Trustee's potential causes of action against directors
and officers, notice to state AG's office and no resolution between
LAEP and Robert Lazo and my recommended next steps.

Asset Dispos
Telephone call with Trustee regarding his response to LAEP position
regarding sale of electronic data to LAEP and terms.

Asset Dispos
Prepare email to Robert Lazo regarding term of LAEP's potential
purchase of certain electronic data.

Asset Dispos
Telephone call with Robert Lazo regarding LAEP offer and terms and
locating and transmitting data.

Asset Dispos

Prepare email to Robert Lazo with attached LAEP offer and explain
exhibits to offer identifying certain Child 360 electronic data and files
LAEP seeks to purchase.

Asset Dispos

Review email from Ron Vera regarding two contacts at CA Attorney
General Office and they advised their approval is not needed for
LAEP's proposed purchase of certain Child 360 electronic data.

Asset Dispos

Prepare email to Attorney Ron Vera for LAEP regarding role of
Debtor's former IT Director Robert Lazo and cost to transmit the
electronic data purchased by LAEP.

Asset Dispos
Review email from Cindy Esquivel and her attached invoice.

Asset Dispos

Review billed time entries regarding Cindy Esquivel and order
authorzing the Trustee to pay her (.3) and commence preparing email
to Trustee regarding same (.3)

Page 99
Hrs/Rate Amount
0.10 19.50
195.00/hr
0.80 480.00
600.00/hr
0.20 120.00
600.00/hr
0.20 420.00
600.00/hr
0.10 60.00
600.00/hr
0.20 120.00
600.00/hr
0.20 120.00
600.00/hr
0.20 120.00
600.00/hr
0.10 60.00
600.00/hr
0.60 360.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

5/8/2023 THC

THC

THC

THC

5/11/2023 THC

5/18/2023 THC

5/30/2023 THC

6/19/2023 THC

6/21/2023 THC

THC

THC

THC

Asset Dispos
Prepare for Zoom call with Attorney Ron Vera for LAEP and review
prior email communications.

Asset Dispos
Zoom call with Michele Broadnax for LAEP regarding Child 360 former
IT Director.

Asset Dispos
Prepare email to Trustee Jason Rund regarding position
communicated by LAEP this morning.

Asset Dispos
Telephone call with special counsel Corey Weber regarding potential
conflict by Robert Lazo.

Asset Dispos
Telephone call with Robert Lazo regarding his role at Way Finder and
potential sale of Child 360 electronic data to LAEP.

Asset Dispos
Prepare email to Attorney Ron Vera for LAEP and Michele Broadnax
of LAEP regarding next steps to proceed with proposed sale.

Asset Dispos
Telephone call with Trustee Jason Rund regarding all pending issues
in the case.

Asset Dispos
Review list of data files LAEP wished to acquire.

Asset Dispos
Review Independent Contractor Agreement between Robert Lazo and
LAEP.

Asset Dispos

Review prior offer from LAEP counsel Ron Vera regarding LAEP's
purchase of certain electronic data from Child 360 estate and list of
employee files.

Asset Dispos
Review prior emails from Attorney Ron Vera for LAEP regarding terms
of purchase and sale agreement and noted issues.

Asset Dispos

Prepare lengthy email to Attorney Ron Vera for LAEP, Michele from
LAEP, and Robert Lazo regarding next steps for sale of certain
electronic data to LAEP.

Page 100
Hrs/Rate Amount
0.30 180.00
600.00/hr
0.30 180.00
600.00/nr
0.40 240.00
600.00/hr
0.20 120.00
600.00/hr
0.10 60.00
600.00/hr
0.10 60.00
600.00/hr
0.30 180.00
600.00/hr
0.20 120.00
600.00/hr
0.30 180.00
600.00/hr
0.20 120.00
600.00/hr
0.30 180.00
600.00/hr
0.80 480.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

6/21/2023 THC

6/22/2023 THC

THC

THC

THC

6/27/2023 THC

7/10/2023 THC

7/11/2023 THC

7/14/2023 THC

Asset Dispos

Review and revise language in Purchase and Sale Agreement
regarding electronic data to be transferred as part of the purchase by
LAEP.

Asset Dispos

Prepare email to Corey Weber advising the sale of certain electronic
data and files to LAEP may adversely affect his future complaint
against the officers and directors and point out certain targets and files
and request his input in order for me to finalize Purchase and Sale
Agreement with LAEP.

Asset Dispos
Review prior emai! with counsel for Insperity.

Asset Dispos

Review list of required documents in order for Internal Revenue
Service to issue retention tax credit (.1) and prepare draft email to
counsel for Insperity requesting Insperity produce the documents the
Trustee needs for the internal Revenue Service to remit the Retention
Tax Credit (.5) and prepare email to Trustee Jason Rund and Don Fife
requesting their approval of my draft letter to counsel for Insperity and
fist of Child 360 2020 and 2021 documents (.2)

Asset Dispos

Review email from LAEP and counsel for LAEP regarding next steps
and scheduling Zoom call to discuss completing Purchase and Sale
Agreement and prepare email response regarding same.

Asset Dispos

Review email from Attorney Corey Weber advising sale of certain
Child 360 electronic data will not impact future complaint against two
officers and prepare email response regarding same.

Asset Dispos

Prepare email to Attorney Karl Burrer for Insperity regarding my follow
up on my prior email to him requesting production of certain
documents.

Asset Dispos

Review email from Attorney Karl Burrer for Insperity regarding
documents requested (.1) and my follow up email to him and prepare
email response regarding same (.1).

Asset Dispos
Review prior communications with LAEP regarding proposed sale
terms.

Page 101
Hrs/Rate Amount
0.30 180.00
600.00/hr
0.60 360.00
600.00/hr
0.20 120.00
600.00/hr
0.80 480.00
600.00/hr
0.10 60.00
600.00/hr
0.20 120.00
600.00/hr
0.10 60.00
600.00/hr
0.20 120.00
600.00/hr
0.30 180.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

7/14/2023 THC

7/17/2023 THC

THC

THE

7/18/2023 THC

THC

7/19/2023 THC

THC

THC

THC

7/21/2023 THC

Asset Dispos
Zoom call with Attorney Ron Vera and Michelle Broadnax regarding
terms to sale of electronic data and files to LAEP.

Asset Dispos

Review email from Attorney Karl Burrer regarding the Trustee's
request for tax documents and Insperity's position regarding ERC due
the estate.

Asset Dispos
Prepare email to Trustee and Don Fife regarding position of Insperity
regarding ERC due the estate.

Asset Dispos
Telephone call with Trustee Jason Rund regarding response by
Attorney Karl Burrer for Insperity.

Asset Dispos

Conference call with Jason Rund and Don Fife regarding email
response from Insperity counsel Kari Burrer regarding ERC due the
estate.

Asset Dispos
Prepare email to Attorney Karl Burrer for Insperity regarding deadline
to file for ERC and conference call.

Asset Dispos
Review email response from Attorney Karl Burrer for Insperity
regarding no cooperation from Insperity and he will not respond.

Asset Dispos
Conference call with Don Fife and Trustee Jason Rund regarding
response to Karl Burrer email advising he will not respond.

Asset Dispos

Review prior email from Attorney Karl Burrer dated July 7, 2022
regarding ERC due the estate and his attachments (.4) and prepare
email draft response to Attorney Karl Burrer regarding his response
email refusing to provide information on large ERC owed the estate (.5)

Asset Dispos

Review email from client Trustee Jason Rund regarding draft email to
Attorney Karl Burrer and revise email to Attorney Karl Burrer for
Insperity and send out.

Asset Dispos
Review email from Robert Lazo regarding status of LAEP purchase
and prepare email response regarding same.

Page 102
Hrs/Rate Amount
0.30 180.00
600.00/hr
0.10 60.00
600.00/hr
0.10 60.00
600.00/hr
0.10 60.00
600.00/hr
0.40 240.00
600.00/hr
0.10 60.00
600.00/hr
0.10 60.00
600.00/hr
0.20 120.00
600.00/hr
0.90 540.00
600.00/hr
0.20 120.00
600.00/hr
0.10 60.00
600.00/nr

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Jason M. Rund, Ch. 7 Trustee

7/21/2023 THC

THC

MS

MS

MS

THC

THC

MS

7/24/2023 THC

MS

MS

Asset Dispos

Review email from Kar! Burrer refusing to provide answers to my
questions and prepare email to Trustee Jason Rund regarding my
recommended course of action regarding Insperity and setting record
for potentially filing a motion for 2004 exam against Insperity.

Asset Dispos
Review prior correspondence from counsel for Insperity regarding
ERC due the estate.

Asset Dispos
Telephone call with T. Casey regarding instructions to research
Insperity, Inc.

Asset Dispos
Research Insperity, Inc. online regarding solvency, size of firm,

accreditations, potential lawsuits, complaints against the company, etc.

Asset Dispos
Telephone call with T. Casey regarding my research into Insperity, Inc.
and likely no issues with 2004 against them.

Asset Dispos

Review email from Trustee regarding flat rejection from counsel for
Insperity and recommended course of action and prepare email to Don
Fife regarding same.

Asset Dispos
Review and substantially revise in red with cross outs LAEP's term
sheet.

Asset Dispos
Review and revise acquisition agreement with LAEP.

Asset Dispos

Telephone call with Don Fife regarding request he attempt to obtain
information from insperity as requested by their counsel Karl Burrer
and set record for potential Trustee motion for 2004 exam order
against Insperity.

Asset Dispos
Telephone cail with T. Casey regarding status of the revisions to the
LAEP agreement.

Asset Dispos
Locate definition to personal identifiable information (PII); update the
agreement with LAEP and revisions to same (.3); draft and preparation

of email correspondence to T. Casey regarding revisions complete (.1).

Page 103
Hrs/Rate Amount
1.00 600.00
600.00/hr
0.40 240.00
600.00/hr
0.10 19.50
195.00/hr
1.00 195.00
195.00/hr
0.10 19.50
195.00/hr
0.10 60.00
600.00/hr
1.80 1,080.00
600.00/hr
0.50 97.50
195.00/hr
0.20 120.00
600.00/hr
0.10 19.50
195.00/hr
0.40 78.00
195,00/hr

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Jason M. Rund, Ch. 7 Trustee

7/24/2023 THC

7/25/2023 THC

7/27/2023 THC

THC

THC

7/28/2023 THC

8/8/2023 THC

THC

8/28/2023 MS

11/21/2023 THC

Asset Dispos

Review and revise term sheet from LAEP (.7) and prepare email to
Trustee attaching my marked up and in red revisions to LAEP's term
sheet (.2)

Asset Dispos
Prepare email to Attorney Ron Vera for LAEP and attach marked up in
red Trustee revisions to LAEP term sheet.

Asset Dispos
Review email response from !nsperity regarding ERC refund.

Asset Dispos
Prepare email to Jason Rund regarding response fram Insperity and
not taking 2004 exam of Insperity.

Asset Dispos

Review email from Ron Vera for LAEP regarding new terms and
LAEP's demand LAEP be allowed to review files before sale and
prepare email recommendation to Trustee regarding same and work
around by LAEP using Lazo who will identify existence of certain
electronic data.

Asset Dispos

Review email from Michele Broadnax of LAEP wanting to review
electronic filed before purchasing and prepare email to Trustee
regarding same.

Asset Dispos

Participate in Zoom call with Attorney Ron Vera and Michele Broadnax
of LAEP regarding terms of LAEP offer to purchase certain Child360
assets.

Asset Dispos

Prepare email to Trustee regarding my Zoom call with Attorney Ron
Vera and Michele Broadnax and | rejected LAEP's latest term to
inspect the electronic files before the purchase.

Asset Dispos
Draft and preparation of responsive email to J. Yoon regarding status
of case and potential closing in a couple of years.

Asset Dispos

Review email from Robert Lazo and prepare email to Trustee
regarding necessity of continuing preservation of electronic data and
pending Trustee litigation against insiders and next steps regarding
Debtor electronic data.

Page 104
Hrs/Rate Amount
0.90 540.00
600.00/hr
0.20 120,00
600.00/hr
0.10 60,00
600.00/hr
0.20 120.00
600.00/hr
0.40 240.00
600.00/hr
0.20 420.00
600.00/hr
0.50 300.00
600.00/hr
0.20 120.00
600.00/hr
0.10 19.50
195.00/hr
0.30 180.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

11/21/2023 MS

11/27/2023 THC

THC

11/28/2023 THC

THC

12/5/2023 MS

12/6/2023 MS

12/7/2023 MS

12/20/2023 THC

1/11/2024 MS

Asset Dispos .
Discussion with T. Casey regarding scope of services and payments
made to R. Lazo: review files and filed professional fee statements and
advise T. Casey regarding same and R. Lazo still has a cushion left in
his capped fees.

Asset Dispos
Telephone call with Don Fife CPA regarding delay by Internal Revenue
Service in issuing estate ERC.

Asset Dispos

Review email from Robert Lazo and prepare an email response
regarding his final invoice regarding preserving the Debtor's electronic
data.

Asset Dispos

Telephone call with Debtor's IT Director Robert Lazo regarding Court
Order allowing for another approximately $8,000 in billable time by him
after his invoice is noticed to all creditors, status of case and timing of
distribution to creditors.

Asset Dispos

Prepare email to Trustee regarding my phone call with Robet Lazo
regarding he can still work for Trustee in 2024 per budget order, and
his questions regarding status of the case.

Asset Dispos
Discussion with T. Casey regarding status of case and funds brought
into the estate.

Asset Dispos
Draft and preparation of email correspondence to Laura at J. Rund
office and request form 2.

Asset Dispos
Discussion with T. Casey regarding funds received and disbursed by
the estate to date.

Asset Dispos
Telephone call with Trustee regarding unsuccessful mediation, filing
interim fee application and remaining steps to close the case.

Asset Dispos
Review and update outline of priority tasks to be completed including
finalizing interim fee application.

SUBTOTAL:

Page 105
Hrs/Rate Amount
0.20 39.00
195.00/hr
0.20 120.00
600.00/hr
0.10 60.00
600.00/hr
0.20 120.00
600.00/hnr
0.20 120.00
600.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.10 60.00
600.00/hr
0.10 19.50
195.00/hr
304.40 128,881.50]

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Jason M. Rund, Ch. 7 Trustee

Claim Objection

6/23/2022 MS

6/24/2022 MS

6/29/2022 THC

7/7/2022 THC

7/14/2022 THC

7/18/2022 MS

7/25/2022 THC

7/26/2022 THC

7/29/2022 THC

8/4/2022 MS

Claim Objection
Draft and preparation of email correspondence to K. Driggers with
instructions to save the recently filed claims.

Claim Objection

Review email from T. Casey regarding claim filed by William Sperling
for salary owed due to termination clause and prepare responsive
email regarding he was paid his salary and PTO upon termination
pursuant to SOFA, except the amount he was paid is missing on
SOFA.

Claim Objection

Two telephone cails with Shelly Shay regarding the process she needs
to follow to withdraw her 403(b) plan money (.1) and telephone call
with Trustee regarding same (.1)

Claim Objection
Telephone call with Luiz from LACOE regarding notices received and
T. Casey request for call back from LACOE counsel.

Claim Objection
Telephone call with creditors Evans responding to her questions.

Claim Objection
Draft and preparation of email correspondence to K. Driggers and
instructions to save recently filed claim plus all enclosures.

Claim Objection

Review email form Attorney Ron Wenkart for Lennox School District
regarding service of Trustee motions and prepare responsive email
responding to his inquiries.

Claim Objection
Telephone call with Bruce at Cyber Communications regarding
services needed at Core Sight.

Claim Objection

Review two emails from Bruce at Cyber Communications regarding
pre and post-petition invoices and prepare email response regarding
Figueroa address was closed months ago and no need for services at
that location.

Claim Objection
Draft and preparation of email correspondence to K. Driggers to save
the recently filed claims.

Page 106

Hrs/Rate Amount

0.10 NO CHARGE
195.00/hr

0.10 19.50
195.00/hr

0.20 120.00
600.00/hr

0.10 60.00
600.00/hr

0.10 60.00
600.00/hr

0.10 NO CHARGE
195.00/hr

0.20 120.00
600.00/hr

0.20 120.00
600.00/hr

0.20 120.00
600.00/hr

0.10 NO CHARGE
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

8/11/2022 THC

8/25/2022 THC

9/2/2022 THC

9/13/2022 MS

10/10/2022 MS

11/3/2022 MS

11/8/2022 THC

11/10/2022 MS

MS

THC

THC

11/15/2022 MS

Claim Objection
Review claim and supporting documents filed by Long Beach Day
Nursery.

Claim Objection
Review two claims filed yesterday by Guiterez.

Claim Objection
Review claim filed by the Debtor's former CEO William Sperling and
prepare email ta Attorney Corey Weber regarding same.

Claim Objection
Discussion with K. Driggers regarding responding to creditor who
wishes to continue to receive notices in the bankruptcy case.

Claim Objection
Commence drafting claims analysis and proposed distribution.

Claim Objection
Continue drafting proposed distribution/claims analysis.

Claim Objection

Telephone call from Claimant Kim Robinson regarding 457 plan and
analysis of 457 plan and why funds in 457 plan will be the subject of a
motion the Trustee will file and explain analysis.

Claim Objection

Review amended claim filed by Laura Fonseca and confirm her
original claim was being paid by the OHS (.1); discuss with T. Casey
regarding same and instructions to email E. Levey and advise (.1).

Claim Objection

Draft and preparation of email correspondence to E. Levey regarding
amended claim of Laura Fonseca and OHS's intended payment on
certain claims including L. Fonseca’'s original, much lower filed claim
and attach all pertinent documents including claims and OHS's
spreadsheet of claims they intend to pay.

Claim Objection
Telephone call with Danning Gill attorney for large creditor regarding
status of case and potential assets and all pending issues.

Claim Objection
Review filed claims.

Claim Objection
Update proposed distribution/claims analysis chart with recently filed
claim and amended claim.

Page 107
Hrs/Rate Amount
0.50 300.00
600.00/hr
0.10 60.00
600.00/hr
0.20 120.00
600.00/hr
0.10 19.50
195.00/hr
2.20 429.00
195.00/hr
1.70 331.50
195.00/hr
0.20 120.00
600.00/hr
0.20 39.00
195.00/hr
0.20 39.00
195.00/hr
0.40 240.00
600.00/hr
0.20 120.00
600.00/hr
0.20 39.00
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

1/30/2023 THC

2/1/2023 MS

MS

3/29/2023 THC

4/17/2023 THC

4/19/2023 THC

6/28/2023 MS

7/6/2023 THC

8/15/2023 MS

Claim Objection
Review claim filed by William Sperling on January 27, 2023 based on
457 plan distribution.

Claim Objection

Review recent proof of claim filed by 457 Plan Participant (.1); review
motion and order approving termination of 457 Plan (.1); draft and
preparation of email correspondence to T. Casey regarding same and
confirm whether they are allowed to file priority unsecured claims or
general unsecured claims (.1).

Claim Objection

Telephone call with T. Casey regarding my email and the filing of
unsecured claims by 457 Plan Participants and potential future
objections to same.

Claim Objection

Review email response from paralegal Leighton regarding claims bar
date notice and her firm filing proof of claim and prepare email
response regarding same.

Claim Objection
Review recently filed claim by Century Group Professionals and back
up attached to claim.

Claim Objection

Review email from Attorney Joanne Leighton for claimant Century
Group and prepare email response regarding her client's claim was
filed late, refer her to claim bar date notice and proof of service
showing here client received notice of claims bar date and request she
stipulate to subordinate her clients’ claim to all timely filed claims and
attached her filed claim.

Claim Objection
Continue working on claims analysis and proposed distribution
analysis.

Claim Objection

Review email from Attorney Mo of Danning Gill counsel to ane of the
estate's largest creditors regarding size and timing of distribution and
prepare email response regarding same and explain special counsel is
filing a complaint against two former officers.

Claim Objection

Review filed claims and proposed distribution analyses; prepare email
correspondence to T. Casey regarding priority wage claims filed,
certain general unsecured claims filed, amounts and totals that we
likely the damages suffered at the hands of the directors and officers.

Page 108
Hrs/Rate Amount
0.10 60.00
600.00/hr
0.30 58.50
195.00/hr
0.10 19.50
195.00/hr
0.20 120.00
600.00/hr
0.20 120.00
600.00/hr
0.40 240.00
600.00/hr
1.30 253.50
195.00/hr
0.20 120.00
600.00/hr
1.40 273.00
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

SUBTOTAL:

Employment

6/3/2022 MS

6/6/2022 MS

THC

6/7/2022 MS

6/10/2022 THC

THC

THC

6/14/2022 MS

MS

THC

Employment ’

Commence drafting Chapter 7 Trustee's Application to Employ
Counsel [The Law Office of Thomas H. Casey, Inc., a Professional
Corporation].

Employment

Continue drafting Chapter 7 Trustee's Application to Employ Counsel
[The Law Office of Thomas H. Casey, Inc., a Professional Corporation]
(.4); draft and preparation of email correspondence to T. Casey
regarding same and instructions on including recent communications
with former employees in the employment application (.1).

Employment
Review and revise the Trustee's application to employ Casey Firm.

Employment

Slightly revise employment application (.1); telephone call with T.
Casey regarding providing greater detail on accounts receivable and
he will attempt to ascertain additional information from K. Schoenbaum
today during their scheduled call (.1).

Employment
Prepare outline of term for employment of the Debtor's former IT
Director as a consultant to the Trustee.

Employment
Review and revise the Trustee's application to employ the Casey Firm,
review documents regarding D&O claim.

Employment

Prepare email instructions to paralegal M. Silva regarding terms
wanted by Trustee in proposed consulting agreement with former {D
Director and revise draft consulting agreement accordingly.

Employment
Meeting with T. Casey regarding finalizing employment application and
preparing IT Consulting agreement with Robert Lazo.

Employment
Review and revise Chapter 7 Trustee's Application to Employ Counsel
[The Law Office of Thomas H. Casey, Inc., a Professional Corporation.

Employment
Review and revise the Trustee's application to employ the Casey Firm.

Page 109
Hrs/Rate Amount
11.80 3,741.00]
1.50 292.50
195.00/hr
0.50 97.50
195.00/hr
0.30 180.00
600.00/hr
0.20 39.00
195.00/hr
0.60 360.00
600.00/hr
0.40 240.00
600.00/hr
0.30 180.00
600.00/hr
0.10 19.50
195.00/hr
0.20 39.00
195.00/hr
0.30 180.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

6/14/2022

6/15/2022

MS

MS

MS

MS

MS

MS

MS

MS

MS

MS

Employment

Draft and preparation of Notice of Chapter 7 Trustee's Application to
Employ Counsel [The Law Office of Thomas H. Casey, Inc., a
Professional Corporation.

Employment
Draft and preparation of Statement of Disinterestedness for
Employment of Professional Person under F.R.B.P. 2014.

Employment

Additional revisions to Chapter 7 Trustee's Application to Employ
Counsel [The Law Office of Thomas H. Casey, Inc., a Professional
Corporation]; Notice of Application; and, Statement of
Disinterestedness for Employment of Professional Person under
F.R.B.P. 2014.

Employment
Draft and preparation of email correspondence to Client Trustee J.

Rund and attach draft employment application for review and approval.

Employment
Draft and preparation of IT Consulting Contract between the Trustee
and Robert Lazo.

Employment

Finalize Chapter 7 Trustee's Application to Employ Counsel [The Law
Office of Thomas H. Casey, Inc., a Professional Corporation] for filing
(.1); draft and preparation of email correspondence to K. Driggers with
instructions to obtain T. Casey's signatures, attach exhibit and to
revise service list and send back to me before filing (.1).

Employment

Revisions to Contract for IT Director (.3); draft and preparation of email
correspondence to T. Casey regarding same, attach draft and to call
me to discuss same (.1).

Employment
Telephone call with T. Casey regarding !T Contract and receive
instructions regarding revisions to same.

Employment

Review and revise [T Contract pursuant to T. Casey's instructions (.2):
draft and preparation of email correspondence to T. Casey regarding
same and attach revised draft (.1).

Employment

Conference call with T. Casey and R. Lazo regarding terms of the
proposed IT contract with the Trustee to provide services in order to
access the Debtor's electronic data.

Page 110
Hrs/Rate Amount
0.40 78.00
195.00/hr
0.30 58.50
195.00/hr
0.40 78.00
195.00/hr
0.10 19.50
195.00/hr
2.00 390.00
195.00/hr
0.20 39.00
195.00/hr
0.40 78.00
195.00/hr
0.30 58.50
195.00/hr
0.30 58.50
195.00/hr
0.50 97.50
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

6/15/2022 MS

MS

MS

6/16/2022 MS

MS

7/3/2022 MS

7/7/2022 MS

8/3/2022 THC

8/8/2022 THC

8/19/2022 THC

Employment
Follow up telephone call with T. Casey regarding revising proposed IT
contract for purposes of forwarding to Client Trustee.

Employment

Review and revise again and telephone call with T. Casey regarding
same; receive instructions to draft application to employ consultant
with modified fee procedure.

Employment
Commence drafting Application to Employ Robert Lazo at Trustee's IT
Consultant and Modified Fee Procedure.

Employment

‘Revise IT Consulting Agreement, advise T. Casey regarding same and

email same to him.

Employment
Continue drafting Application to Employ Robert Lazo at the Trustee's
IT Consultant.

Employment

Review Court docket for opposition to Trustee's Chapter 7 Trustee's
Application to Employ Counsel [The Law Office of Thomas H. Casey,
Inc., a Professional Corporation] (.1); draft and preparation of Non
Opposition to same (.1); identify and prepare exhibits in support (.2);
draft and preparation of Order approving Application (.2).

Employment

Review entered Order Granting Chapter 7 Trustee's Application to
Employ Counsel [The Law Office of Thomas H. Casey, Inc., a
Professional Corporation]; forward to K. Driggers with instructions to
serve on interested parties and prepare and file proof of service of
same.

Employment

Review email from Attorney Corey Weber regarding proposed
retention by the Trustee of his firm regarding potential D&O causes of
action and mark up his proposal.

Employment
Review email from proposed special counsel Corey Weber regarding
terms and prepare email response regarding same.

Employment

Review Trustee application to employ special counsel regarding
potential D&O claims (.5) and prepare email to Trustee regarding split
contingency fee depending on whether recovered asset is a restricted
asset as Debtor was a non--profit (.3)

Page 111
Hrs/Rate Amount
0.10 19.50
195.00/hr
0.20 39.00
195.00/hr
1.90 370.50
195.00/hr
0.20 39.00
195.00/hr
1.00 195.00
195.00/hr
0.60 117.00
195.00/hr
0.10 19.50
195.00/hr
0.30 180.00
600.00/hr
0.20 120.00
600.00/nr
0.80 480.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

8/30/2022 THC

THC

MS

MS

8/31/2022 MS

MS

9/2/2022 THC

THC

9/4/2022 THC

9/5/2022 THC

Employment

Prepare for conference call with CPA Daryl Luna and Trustee Jason
Rund and review proposed retention agreement Daryt Luna wants
Trustee to sign to complete audit of Child 360 retirement plan and
amendments needed to agreement for future Trustee application to
employ and pay CPA Daryl Luna's accounting firm.

Employment

Conference call with CPA Dary! Luna, CPA Don Fife and Trustee
Jason Rund regarding audit of retirement plan, Bankruptcy Court
requirements, and employment and compensation.

Employment

Discussion with T. Casey regarding preparing addendum to
engagement letter from JLK Rosenberger, proposed auditor for the
403(b) plan and instructions to employment them, scope of services
and payment.

Employment
Commence drafting addendum to engagement letter.

Employment
Telephone call with T. Casey regarding addendum, engagement letter
and motion to employ JLKR.

Employment

Review engagement letter from JLK Rosenberger and all terms stated
(.8); continue drafting addendum to engagement letter (.5); draft and
preparation of email correspondence to T. Casey regarding same
attaching both documents and laying out certain terms that | do not
believe the Trustee should agree to (.2).

Employment
Review and revise addendum to draft Trustee retainer agreement with
Daryl Luna.

Employment

Review revised Dayry Luna retainer agreement and addendum (.2)
and prepare email to Trustee explaining many cross outs and
addendum (.2)

Employment
Review and revise Trustee motion to employ 403(b) plan auditor JKL
and approve compensation agreement.

Employment

Review email from Trustee Jason Rund regarding revisions to JLK
Rosenberger engagement letter and addendum and prepare email
response regarding same.

Page 112
Hrs/Rate Amount
0.30 180.00
600.00/hr
0.70 420.00
600.00/hr
0.20 39.00
195.00/hr
0.60 117.00
195.00/hr
0.10 19.50
195.00/hr
1.50 292.50
195.00/hr
0.20 120.00
600.00/hr
0.40 240.00
600.00/hr
0.40 240.00
600.00/hr
0.10 60.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee Page 113
Hrs/Rate Amount
9/5/2022 THC Employment 0.40 240.00
Prepare email to auditor Daryl Luna at JLK Rosenberger regarding 600.00/hr
cross outs to engagement letter plus addendum.
9/7/2022 THC Employment 0.10 60.00
Telephone call with client Trustee Jason Rund regarding JLK 600.00/hr

Rosenberger rejected ail revisions to engagement letter and explain
terms | settled and terms | did not settle and obtain settlement
authority to complete revisions.

THC Employment 0.30 180.00
Another phone call with Daryl Luna regarding revisions to Engagement 600.00/hr
Agreement (.1) and telephone call with paralegal Marissa Silva
regarding revisions to Engagement Letter (.2)

THC Employment 0.20 120.00
Review and revise Trustee motion to approve agreement with JLK 600.00/hr
Rosenberger.
9/8/2022 THC Employment 0.20 120.00
Telephone call with Trustee Jason Rund regarding revisions to 600.00/hr

Trustee motion to approve agreement with JLK Rosenberger.

SUBTOTAL: [ 20.40 6,610.50]

Fee Application

12/16/2023 MS Fee Application 0.10 19.50
Draft and preparation of email correspondence to T. Casey regarding 195.00/hr
preparing shell of interim fee application.

12/20/2023 MS Fee Application 0.20 39.00
Draft and preparation of 45-day notice of interim fee applications. 195.00/hr

12/21/2023 MS Fee Application 0.10 NO CHARGE
Telephone call with T. Casey regarding 45 day notice and the first 195.00/hr
available hearing date for Judge Saltzman.

MS Fee Application 0.10 NO CHARGE

Revise, finalize 45-day notice and forward to K. Driggers with 195.00/hr
instructions to file and serve today.

12/28/2023 MS Fee Application 0.10 19.50
Discussion with K. Driggers regarding preparing first draft of Interim 195.00/hr

Application for Fees and Reimbursement of Expenses of the Law
Offices of Thomas H. Casey, Inc., Attorney for Chapter 7 Trustee.

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Jason M. Rund, Ch. 7 Trustee

12/28/2023 THC

MS

1/2/2024 THC

MS

1/3/2024 MS

1/4/2024 MS

MS

MS

1/8/2024 MS

1/10/2024 MS

1/11/2024 THC

MS

Fee Application
Review and revise the Firm's interim fee application.

Fee Application
Meeting with T. Casey regarding preparation of first interim fee
application and to review and edit time entries accordingly.

Fee Application
Prepare fee application.

Fee Application
Discussions today with T. Casey regarding preparing Interim Fee
Application.

Fee Application

Commence drafting First Interim Application for Fees and
Reimbursement of Expenses of the Law Offices of Thomas H. Casey,
Inc., Attorney for Chapter 7 Trustee.

Fee Application

Revise time entries to ensure entries are in proper fee app categories.

Fee Application
Discussion with T. Casey regarding draft interim fee application.

Fee Application

Continue drafting First Interim Application for Fees and
Reimbursement of Expenses of the Law Offices of Thomas H. Casey,
Inc., Attorney for Chapter 7 Trustee.

Fee Application

Continue drafting First Interim Application for Fees and
Reimbursement of Expenses of the Law Offices of Thomas H. Casey,
Inc., Attorney for Chapter 7 Trustee.

Fee Application

Continue drafting First Interim Application for Fees and
Reimbursement of Expenses of the Law Offices of Thomas H. Casey,
Inc., Attorney for Chapter 7 Trustee (1.6); draft and preparation of
email correspondence to T. Casey regarding same (.1).

Fee Application
Review and revise the Firm's First Interim Fee Application.

Fee Application
Several discussions with T. Casey regarding Interim Fee Application
and provide requested information.

Page 114
Hrs/Rate Amount
1.00 600.00
600.00/hr
0.20 39.00
195.00/hr
0.60 360.00
600.00/hr
0.10 19.50
195.00/hr
5.40 1,053.00
195.00/hr
0.50 97.50
195.00/hr
0.10 19.50
195.00/hr
5.80 1,131.00
195.00/hr

2.90 NO CHARGE
195.00/hr

1.70 NO CHARGE
195.00/hr

1.10 660.00
600.00/hr

0.10 19.50
195.00/hr

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Jason M. Rund, Ch. 7 Trustee Page 115

Hrs/Rate. Amount

1/11/2024 MS Fee Application 0.10 19.50
Draft and preparation of email correspondence to Don Fife, Hahn Fife 195.00/hr

& Company, LLP requesting fees to date and fees to close the case.

SUBTOTAL: [ 20.20 4,096.50]
Lease
6/9/2022 THC Lease 0.20 120.00
Telephone call with Attorney Matt Pham for landlord of Debtor's 600.00/hr

Figueroa LA office regarding lease, notice of default filed, and targeted
timeline to vacate the office.

THC Lease 0.40 240.00
Prepare email to Attorney Matt Pham of Allen Matkins for landlord of 600.00/hr
Debtor's LA Office confirming he will forward to me the lease and
notice of default served on the Debtor and potential agreement.

THC Lease 0.50 300.00
Review email from Attorney Matt Pham for landlord and attached 600.00/hr
lease, amendment to lease and notice of default.
6/15/2022 THC Lease 0.30 180.00
Review lease with John Hancock for office premises. 600.00/hr
6/27/2022 THC Lease 0.10 60.00
Telephone call with Attorney Matthew Pham regarding status of case 600.00/hr
and potential framework for settlement discussions.
7/7/2022 THC Lease 0.20 120.00
Review Code regarding automatic rejection of commercial lease. 600.00/hr
THC Lease 1.10 660.00
Review Section 365 and recent amendments to it regarding time 600.00/hr

periods as to when nonresidential lease is automatically rejected, and
review applicable authorities regarding rejection as of date of filing the
Trustee's motion (.7) and prepare email to Attorney Kerry Moynihan
regarding researching 365 issues and motion to reject lease on
shortened and as of date of filing Trustee motion to reject (.4)

THC Lease 0.60 360.00
Review lease and monthly additional charges (.4) and telephone call 600.00/hr
with Attorney Matthew Pham for lessor regarding same and settlement

(.2)

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Jason M. Rund, Ch. 7 Trustee

7/7/2022 THC

KM

7/8/2022 THC

7/19/2022 KM

7/11/2022 THC

THC

KM

7/12/2022 THC

7/13/2022 MS

THC

MS

Lease

Telephone call with Trustee regarding status of my negotiations with
Attorney Matt Pham for iessor and status of obtaining evidence to
support the Trustee's potential motion to abandon.

Lease
Research regarding rejection of lease.

Lease
Prepare email to Attorney Kerry Moynihan regarding preparing draft
motion to terminate lease.

Lease
Draft motion to reject real property lease.

Lease

Telephone call with Attorney Matthew Pham of Allen Matkins regarding

calculating post-petition rent owing and offsetting security deposit
against lessor's claim.

Lease

Prepare email to Trustee Jason Rund regarding my phone call with
lessor counsel, preserve rights, claims and defenses for later and | will
prepare motion to terminate lease preserving rights, claims and
defenses and priority is terminating lease and abandoning personal
property on site.

Lease
Continue drafting motion to reject lease.

Lease

Review email from lessor counsel David Pham regarding offsetting
security deposit against pre-petition claim of lessor and not
post-petition chapter 7 admin claim.

Lease

Revisions to Motion to Reject Nonresidential Real Property Leases
(.3), draft and preparation of email correspondence to T. Casey
regarding same (.1).

Lease
Review and revise the Trustee's motion to terminate lease retroactive
to date of filing motion.

Lease

Draft and preparation of Application for Setting Hearing on Shortened
Notice for Trustee's Motion to Reject Nonresidential Real Property
Leases.

Page 116
Hrs/Rate Amount
0.30 180.00
600.00/nr
2.10 945.00
450.00/hr
0.10 60.00
600.00/nr
1.50 675.00
450.00/hr
0.20 120.00
600.00/hr
0.50 300.00
600.00/nr
4.70 2,115.00
450.00/hr
0.30 180.00
600.00/hr
0.40 78.00
195.00/hr
0.70 420.00
600.00/hr
0.50 97.50
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

7/13/2022 THC

MS

THC

THC

MS

MS

MS

THC

THC

THC

Lease

Telephone call with paralegal Marissa Silva regarding revisions to the
Trustee's motion to terminate lease and motion to abandon personal
property.

Lease
Draft and preparation of Proposed Order regarding Application for
Setting Hearing on Shortened Time.

Lease

Review Five Day Notice To Quit and attached rate schedule (.2) and
prepare email to Attorney Matt Pham for Landlord regarding same and
attached rate schedule showing monthly operating charges of over
$25,000 (.2)

Lease

Review email from Attorney Matt Pham for Landlord with his
itemization of monthly rent owing on Child 360’s Business Premises
(.1) and prepare email to Trustee regarding monthly rent in total, | will
revise both draft Trustee motions to reflect these amounts and filing
both Trustee motions asap (.2).

Lease

Telephone call with T. Casey regarding email from counsel for the
landlord regarding post-petition administrative rent claim breakdown
and calculations and instructions to revise the Motion to Reject Lease
regarding same.

Lease

Review and revise Motion to Reject Leases to include the breakdown
of the monthly lease amount maintained by the landlord and additional
information from R. Lazo regarding decammissioned connection
between the premises and the offsite location.

Lease
Revision to the Application to Shorten Time ta include the recent
updated monthly rent amount provided by counsel for the landlord.

Lease
Review and revise the Trustee's motion to reject lease of commercial!
space to incorporate new evidence.

Lease
Review and revise the Trustee's application to shorten time on the
Trustee's motion to reject leases.

Lease
Prepare email to Attorney Matthew Pham for Landlord requesting back
up for high, monthly operating costs and advise | hope to file the

Page 117
Hrs/Rate Amount
0.30 180.00
600.00/hr
0.20 38.00
195.00/hr
0.40 240.00
600.00/hr
0.30 180.00
600.00/hr
0.10 19.50
195.00/hr
0.30 58.50
195.00/hr
0.10 19.50
195.00/hr
0.40 240.00
600.00/hr
0.20 120.00
600.00/hr
0.20 120.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

7/13/2022 THC

THC

MS

KM

7/14/2022 THC

THC

MS

MS

MS

MS

MS

Trustee's two motions tomorrow along with two applications to shorten
time to seven days’ notice.

Lease
Review Judge Mund's opinion Leather Factory regarding post-petition
rent and applying security deposit.

Lease

Review email from Matthew Pham with his break out of high, monthly
operating costs and their explaination why (.2) and prepare email to
Trustee Rund regarding terms of lease obligate payment of operating
costs and filing motion to terminate the lease (.2)

Lease
Continue drafting Declaration of J. Rund in support of Application to
Shorten Time on the Trustee's Motion to Abandon Personal Property.

Lease
Research and draft memorandum regarding issue of application of
security deposit.

Lease
Review and revise the Declaration of Trustee Jason Rund in support
of the Trustee's application to shorten time to reject lease.

Lease
Review and approve my draft declaration in support of the Trustee's
motion to terminate lease.

Lease
Review and revise Motion to Reject Lease and T. Casey's Declaration
in support.

Lease
Discussion with T. Casey regarding revising his Declaration and J.
Rund Declaration in support.

Lease
Revisions to the T. Casey's Declaration and J. Rund Declaration in
support of motion to reject lease and email T. Casey regarding same.

Lease
Discussion with T. Casey regarding definition of leases in the Motion
includes both leases and to finalize and send to J. Rund.

Lease
Finalize Motion to Reject Leases and Declaration of J. Rund in
support; Application for Shortening Time; J. Rund Declaration in

Page 118
Hrs/Rate Amount
0.40 240.00
600.00/hr
0.40 240.00
600.00/hr
0.50 97.50
195.00/hr
1.10 495.00
450.00/hr
0.10 60.00
600.00/hr
0.10 60.00
600.00/hr
0.20 39.00
195.00/hr
0.10 19.50
195.00/hr
0.20 39.00
195.00/hr
0.10 19.50
195.00/nr
0.30 58.50
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

7/14/2022 THC

MS

MS

7/15/2022 MS

MS

Ms

MS

MS

MS

support of Application; draft and preparation of email correspondence

to J. Rund and attach all documents for review, approval and signature.

Lease
Review and revise the Trustee's declaration in support of the Trustee's
motion to reject lease.

Lease
Telephone call with K. Moynihan regarding Storage License
referenced in the Motion to Reject the Leases.

Lease

Revise, finalize the Motion to Reject the Leases, Application to
Shorten Time and proposed Order on Application to Shorten Time (.2);
identify and prepare exhibits in support (.2); forward all documents to
K. Driggers with instructions to file with the Court (.1).

Lease
Telephone call with T. Casey regarding entered Order Shortening
Time and compliance with same.

Lease

Draft and preparation of lengthy, detailed email correspondence to K.
Driggers regarding complying with entered Order Shortening Time
regarding telephonic, email and overnight notice, provide details to
forward to the parties and contact information for the parties.

Lease

Draft and preparation of another email correspondence to K. Driggers
to provide me the times of the telephonic and email service of Order
Shortening Time and Motions.

Lease

Draft and preparation of Declaration of K. Driggers regarding
compliance with Order Shortening Time for hearings on the Motion to
Reject Lease and Abandonment of Personal Property.

Lease

Draft and preparation of email correspondence to T. Casey regarding
draft Declaration of K. Driggers regarding compliance with Order
Shortening Time for hearings on the Motion to Reject Lease and
Abandonment of Personal Property. :

Lease

Telephone call with T. Casey regarding draft Declaration of K.
Driggers regarding compliance with Order Shortening Time for
hearings on the Motion to Reject Lease and Abandonment of Personal
Property and request to make minor revisions.

EXHIBIT 1 PAGE 155

Page 119
Hrs/Rate Amount
0.10 60.00
600.00/hr
0.10 19.50
195.00/hr
0.50 97.50
195.00/hr
0.10 19.50
195.00/hr
0.70 NO CHARGE
495.00/hr
0.10 19.50
195.00/hr
1.00 195.00
195.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
Case 2:22-bk-12797-DS Doc165 Filed 01/19/24 Entered 01/19/24 10:31:02 Desc

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Jason M. Rund, Ch. 7 Trustee

7/16/2022 MS

MS

THC

THC

THC

THC

7/18/2022 THC

THC

THC

Lease

Revise, finalize Declaration of K. Driggers regarding compliance with
Order Shortening Time for hearings on the Motion to Reject Lease and
Abandonment of Personal Property (.2); identify and prepare exhibits
in support (.2); draft and preparation of email correspondence to K.
Driggers and attach Declaration and exhibits and instructions to
review, sign and file with the Court and serve on the Judge (.1).

Lease
Further emails with K. Driggers regarding filing and serving her
Declaration regarding Compliance with Order Shortening Time.

Lease
Review the Court's Order entered today granting the Trustee's two
applications to shorten time.

Lease

Telephone call with paralegal M. Silva regarding instructions regarding
compliance with terms of Order shortening time, deadlines for service
today and compliance today.

Lease

Telephone call with paralegal M. Silva regarding instructions regarding
declaration showing compliance with Order Shortening Time must
state that Attorney Matthew Pham agreed to accept service on behalf
of Landlord Hancock.

Lease

Review draft Declaration of assistant K. Driggers showing compliance
today with the Court's Order Shortening Time and compare to terms of
Order Shortening Time.

Lease

Review draft order granting motion to reject and telephone cail with
paralegal Marissa Silva regarding revisions regarding identify the two
leases being rejected and revise abandonment order to state address
where all abandoned personal property is located.

Lease
Review and revise draft order granting motion to terminate lease and
draft order granting abandonment of personal property.

Lease

Prepare email to Trustee attaching copies of draft orders granting the
Trustee's motion to terminate lease and motion to abandon personal
property.

Page 120
Hrs/Rate Amount
0.50 97.50

195.00/hr

0.10 NO CHARGE
195.00/hr

0.10 60.00
600.00/hr

0.10 60.00
600.00/hr

0.10 60.00
600.00/hr

0.20 120.00
600.00/hr

0.10 60.00
600.00/hr

0.10 60.00
600.00/hr

0.10 60.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

7/18/2022 MS

MS

MS

THC

THC

THC

7/19/2022 THC

THC

THC

Lease
Telephone call with T. Casey regarding preparing Order Granting
Motion to Reject Leases.

Lease
Draft and preparation of Order Granting Motion to Reject Leases and
email to T. Casey.

Lease

Telephone call with T. Casey regarding revising proposed Order
Granting Motion to Reject Leases (.1); revise Order pursuant to
instructions (.1); prepare email correspondence to T. Casey regarding
same (.1).

Lease

Telephone call with Attorney Matthew Pham for Landlord regarding he
is not opposing the Trustee's motions, amount owing to Landlord and
pending hearings regarding Trustee motions to reject lease and
abandon personal property, and transitioning possession to Landlord.

Lease

Telephone call with Trustee regarding my phone call with Attorney
Matt Pham for Landlord today and draft orders for motions scheduled
for hearing this Wednesday.

Lease

Prepare email to Attorney Matt Pham for Landlord and attach two draft
orders granting two Trustee motions scheduled for hearings this
Wednesday per Order Shartening Time and request Matt approve
both orders.

Lease
Review email from Attorney Matthew Pham for Landlord and his red
lined revisions to the two draft orders | sent him yesterday.

Lease

Prepare email to Trustee Rund regarding one paragraph added to
order approving stipulation by Landlord counsel is not acceptable
stating Landlord does not need to give natice to third parties claiming
an interest in abandoned property and other terms added and
recommend response to Landlord counsel.

Lease

Prepare email to Attorney Matthew Pham regarding the Trustee
consents to his revisions to order terminating lease except for one
term and explain why the Trustee objects to this term regarding it
exceeds scope of relief requested in motion and may affect the rights
of unknown third parties.

Page 121
Hrs/Rate Amount
0.10 19.50
195.00/hr
0.40 78.00
195.00/hr
0.30 58.50
195.00/hr
0.20 120.00
600.00/hr
0.20 120.00
600.00/hr
0.20 120.00
600.00/hr
0.20 120.00
600.00/hr
0.40 240.00
600.00/hr
0.30 180.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

7/19/2022 THC

MS

MS

MS

THC

THC

MS

THC

THC

Lease

Telephone call with Attorney Matthew Pham for Landlord regarding the
Trustee rejects a term in his revisions to two orders on pending
motions and come to agreement on terms of orders(.1) meeting with
paralegal Marissa Silva regarding my instructions regarding revise two
orders and obtain Attorney Matthew Pham's signature approved as to
form and content and lodge and explain Matthew's revisions | am
accepting (.2)

Lease

Discussion with T. Casey regarding revising Order Granting Trustee's
Motion to Reject Leases pursuant to M. Pham's revisions and discuss
further regarding tentative ruling and changing appearance paragraph
accordingly.

Lease

Revisions to Order Granting Trustee's Motion to Reject Leases and
adding signature lines as approved to form and content for M. Pham's
and T. Casey's signatures.

Lease

Draft and preparation of email correspondence to Attorney for lessor
M. Pham and attach both revised Order for review, approval and
signature.

Lease

Review Attorney Matthew Pham's email with his signature approving
lease rejection order as to form and content and review his additional
change to order

Lease
Review and sign lease rejection order approving as to form and
content.

Lease
Discussion with T. Casey regarding minor revision to Order Granting
Trustee's Motion to Reject Leases requested by M. Pham.

Lease

Review legal memorandum regarding the security deposit must be
applied against pre-petition claim of Landlord and not Chapter 7 admin
rent claim.

Lease

Prepare lengthy email to Attorney Kerry Moynihan regarding legal
authorities regarding cannot set off security deposit against chapter 7
admin rent claim and her legal memorandum regarding same and
instructions regarding add second part to existing legal memorandum

Page 122
Hrs/Rate Amount
0.30 180.00
800.00/hr
0.10 19.50
195.00/hr
0.20 39.00
195.00/hr
0.10 19.50
195.00/hr
0.10 60.00
600.00/hr
0.10 60.00
600.00/hr
0.10 19.50
195.00/hr
0.30 180,00
600.00/hr
0.50 300.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

7/19/2022 KM

7/20/2022 MS

7/22/2022 THC

7/26/2022 THC

MS

8/4/2022 KM

8/10/2022 KM

8/11/2022 KM

8/12/2022 THC

THC

8/24/2022 THC

regarding calculating Landlord's pre-petition claim per Lease and
Section 365 and attach certain of Matthew Pham's prior emails.

Lease
Continue drafting memo regarding security deposit.

Lease

Revise, finalize Order Granting Motion to Reject Leases (.1); draft and
preparation of email correspondence to K. Driggers with instructions to
upload Order and attach signatures as an exhibit when uploading (.1).

Lease

Review email from Attorney Matthew Pham regarding were orders
lodged and inquiring why orders not entered and prepare email
response regarding same.

Lease
Review Order granting Trustee's motion to reject lease noting changes
made by the Court.

Lease

Review entered Order Granting Trustee's Motion to Reject Lease;
forward to K. Driggers with instructions to serve on interested parties
and prepare and file proof of service of same.

Lease
Research and analyze potential administrative and pre-petition claims
of landlord deposit.

Lease
Revise security deposit memorandum regarding claim amounts.

Lease
Finalize memorandum regarding security deposit and claims.

Lease
Review legal memorandum regarding amounts owing on lease pre
and post-petition and setting off security deposit.

Lease
Prepare email to Trustee Jason Rund regarding legal memorandum
and landlord claims or pre and post-petition period.

Lease

Prepare for phone call with landlord counsel and review legal
memorandum regarding landlord's pre-petition claim and post-petition
claim.

Page 123
Hrs/Rate Amount
2.00 900.00
450.00/hr
0.20 39.00
195.00/hr
0.10 60.00
600.00/hr
0.10 60.00
600.00/nr
0.10 19.50
195.00/hr
1.70 765.00
450.00/hr
1.40 630.00
450.00/hr
0.70 315.00
450.00/nr
0.70 420.00
600.00/hr
0.20 120.00
600.00/hr
0.30 180.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

8/24/2022 THC

8/30/2022 THC

8/31/2022 THC

9/4/2022 THC

9/5/2022 THC

9/13/2022 THC

9/15/2022 THC

9/20/2022 THC

9/25/2022 THC

9/26/2022 THC

Lease
Telephone call with Matthew Pham regarding settling landlord
Hancock's Chapter 7 administrative claim.

Lease
Telephone call with Attorney Matthew Pham for landlord Hancock
regarding settling landlord Hancock's claim.

Lease

Prepare email to Trustee Rund regarding email from counsel for
landlord Hancock regarding settlement and discounting landlord admin
claim.

Lease

Prepare email to Trustee Jason Rund regarding analyzing settlement
offer by landlord Hancock and recommending a counter and explain
numbers and pros and cons.

Lease

Prepare very lengthy settlement counter via email to Attorney Matthew
Pham of Allen Matkins stating Trustees’ settlement counter and
explain why.

Lease

Review email from Attorney Matthew Pham for landlord Hancock
regarding landlord's counter and prepare email to client Trustee
regarding pros and cons of counter and benefits of acceptance by the
numbers.

Lease

Review terms of counter by counsel for landlord Hancock (.1) and
prepare email to Attorney Matthew Pham for landlord Hancock
accepting landlord's latest counter (.2).

Lease
Review Proof of Claim filed by Lessor.

Lease

Review and revise settlement agreement with landlord Hancock (.6)
and prepare email to Trustee attaching the settlement agreement and
requesting approval (.1)

Lease
Prepare email to Attorney Matthew Pham of Allen Matkins for landlord
Hancock regarding draft settlement agreement.

Page 124
Hrs/Rate Amount
0.20 120.00
600.00/hr
0.20 120.00
600.00/hr
0.10 60.00
600.00/hr
0.50 300.00
600.00/hr
0.90 540.00
600.00/hr
0.50 300.00
600.00/hr
0.30 180.00
600.00/hr
0.10 60.00
600.00/hr
0.70 420.00
600.00/hr
0.20 120.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

9/28/2022 THC

THC

10/4/2022 THC

10/5/2022 THC

THC

MS

10/6/2022 THC

MS

MS

10/20/2022 THC

THC

Lease

Review email from Attorney Matthew Pham for landlord Hancock
regarding his revisions to settlement agreement and review his
attached, red lined revised draft of settlement agreement.

Lease

Prepare email to Trustee regarding revisions by Attorney Matthew
Pham for Landlord John Hancock regarding revisions by Matthew
Pham and my recommended counter.

Lease

Prepare email to Attorney Matthew Pham for Landlord Hancock
regarding the Trustee's revisions to the red lined draft of the settlement
agreement forwarded by Matthew Pham and explain the revisions.

Lease
Review and revise settlement agreement with Landlord John Hancock.

Lease
Review and revise email to Attorney Matthew Pham of Allen Matkins
for Landlord Hancock.

Lease
Commence drafting Motion to Approve Settlement Agreement with the
Landlord.

Lease
Review and revise draft Declaration of Trustee Jason Rund in support
of Trustee's 9019 motion to approve agreement with iron Mountain.

Lease
Draft and preparation of Notice of Trustee's Motion to Approve
Settlement Agreement with lron Mountain.

Lease

Discussion with T. Casey regarding preparing Motion to Approve
Settlement Agreement with Landlord and prepare Settlement
Agreement with OHS.

Lease
Telephone call with Trustee regarding revisions to lease agreement.

Lease

Review and revise settlement agreement with Landlord Hancock (.5)
and prepare email to Attorney Matthew Pham for Landlord Hancock re
revisions and the Trustee's agreement with OHS (.4)

Page 125
Hrs/Rate Amount
0.50 300.00
600.00/hr
0.50 300.00
600.00/hr
0.50 300.00
600.00/hr
0.30 180.00
600.00/hr
0.30 180.00
600.00/nr
1.50 292.50
195.00/hr
0.30 180.00
600.00/hr
0.40 78.00
195.00/hr
0.30 58.50
195.00/hr
0.10 60.00
600.00/hr
0.90 540.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

10/21/2022 THC

THC

THC

10/31/2022 MS

MS

11/10/2022 THC

11/16/2022 MS

11/16/2022 MS

11/21/2022 THC

12/2/2022 THC

12/6/2022 THC

Lease

Review email from Trustee regarding latest revisions to draft
agreement with Landlord Hancock and prepare email response
regarding same.

Lease

Prepare email to Attorney Matthew Pham of Allen Matkins for Landlord
Hancock responding to his questions and attach latest draft settlement
agreement.

Lease

Review email fram Attorney Matt Pham for Landlord Hancock
regarding finalizing settlement agreement and prepare email response
regarding same.

Lease
Telephone call with T. Casey regarding finalizing Setttement
Agreement with Landlord John Hancock.

Lease
Review and revise Settlement Agreement with the Landlord (.3); draft
and preparation of email correspondence to T. Casey regarding same

(.1).

Lease
Prepare email to Attorney Matthew Pham for landlord Hancock
regarding follow up and request signatures on settlement agreement.

Lease
Discussion with T. Casey and instructions to prepare 9019 Motion with
Landlord.

Lease
Draft and preparation of 9019 Motion for approval of Settlement
Agreement between the Trustee and the Landlord.

Lease
Prepare another follow up email to Attorney Matthew Pham for John
Hancock regarding status of agreement and his client's signatures.

Lease
Prepare email to Attorney Matthew Pham for landlord Hancock
requesting the Landlord Hancock's signature on agreement.

Lease

Review email from Attorney Matthew Pham regarding his landlord
client's signature on settlement agreement and prepare email
response regarding same.

Page 126
Hrs/Rate Amount
0.10 60.00
600.00/hr
0.20 120,00
600.00/hr
0.10 60.00
600.00/hr
0.10 19.50
195.00/hr
0.40 78.00
195.00/hr
0.10 60.00
600.00/hr
0.10 19.50
195.00/hr
1.80 351.00
195.00/hr
0.10 60.00
600.00/hr
0.10 60.00
600.00/hr
0.10 60.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

12/13/2022 THC

12/14/2022 MS

12/16/2022 THC

MS

12/17/2022 THC

12/20/2022 MS

MS

MS

MS

MS

Lease

Review email from Attorney Matthew Pham for Landlord John
Hancock with signatures to settlement agreement and prepare email
to client Trustee regarding same and request his signature on
settlement agreement.

Lease

Review and revise 9019 motion between the Trustee and Landiord
{.5); draft and preparation of email correspondence to T. Casey
regarding same and advise | will continue working on 9019 motion with
OHS so they can be filed concurrently (.1).

Lease
Review and revise the Trustee’s 9019 motion regarding settlement
with Landlord John Hancock and add legal authorities regarding a
landlord can setoff security deposit against pre-petition unsecured
claim.

Lease
Review and revise Trustee's Motion to Approve Compromise of
Controversy with the Landlord.

Lease
Review and revise latest draft of Trustee motion to settle with Landlord

Lease

Discussion with T. Casey and receive instructions to prepare J. Rund's
Declaration in support of 9019 Motion with Landlord and forward to
him.

Lease
Draft and preparation of email correspondence to T. Casey regarding
next available hearing date for the drafted 9019 Motions.

Lease
Discussion with T. Casey regarding making minor revision to the
Motion.

Lease
Review and revise 9019 Motion with the Landlord (.1); draft and
preparation of Declaration of J. Rund in support (.8).

Lease

Revisions to Declaration of J. Rund in support of 9019 Motion with the
Landlord (.1); draft and preparation of email correspondence to J.
Rund and attach for his review, approval and request to returned
signed Declaration in support (.1).

Page 127
Hrs/Rate Amount
0.10 60.00
600.00/hr
0.60 117.00
195.00/hr
1.30 780.00
600.00/hr
0.50 97.50
195.00/hr
0.40 240.00
600.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.90 175.50
195.00/hr
0.20 39.00
195.00/hr

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Jason M. Rund, Ch. 7 Trustee

12/20/2022 THC

12/21/2022 MS

MS

1/30/2023 THC

MS

MS

MS

3/1/2023 THC

THO

3/2/2023 THC

THC

Lease
Review and revise Trustee Rund declaration in support of Trustee
motion to settle with Landlord Hancock.

Lease
Draft and preparation of Notice of Motion to Approve Compromise of
Controversy with Landlord.

Lease
Finalize Motion to Approve Compromise of Controversy with Landlord.

Lease

Review two tentative Court rulings granting the Trustee's two mations
to approve the Trustee's agreement with the Landlord and to approve
the Trustee’s agreement with Office of Head Start.

Lease
Draft and preparation of Order Granting Chapter 7 Trustee's Motion to
Approve Settlement Agreement with Landlord John Hancock.

Lease
Draft and preparation of email correspondence to T. Casey and attach
draft Order Approving Settlement Agreement with the Landlord.

Lease
Telephone call with T. Casey regarding making revisions to the Order
Approving Settlement Agreement with the Landlord.

Lease

Review Court approved settlement agreement with Landlord Hancock
and analyze consequences if agreement is breached because the
Trustee does not timely make payment and review the Trustee’s Court
approved agreement with Office of Head Start regarding their failure to
timely make settlement payment resulting in late payment to landlord
Hancocck.

Lease
Prepare email to Trustee regarding proposed resolution to avoid
risking breaching agreement with the Landlord.

Lease

Telephone call with Trustee Jason Rund regarding payments of
settlement funds to Landlord Hancock, no receipt of earned income
tax credit and OHS settlement agreement.

Lease

Telephone call with Attorney Matt Pham for Landlord John Hancock
regarding deadline for Trustee to make settlement payments and
confirming settlement payments will be timely made.

Page 128
Hrs/Rate Amount
0.20 120.00
600.00/hr
0.50 97.50
195.00/hr
0.50 97.50
195.00/hr
0.30 180.00
600.00/hr
0.40 78.00
195.00/hr
0.10 19.50
195.00/hr
0.10 19.50
195.00/hr
0.30 180.00
600.00/hr
0.20 120.00
600.00/hr
0.20 120.00
600.00/hr
0.10 60.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee Page 129

Hrs/Rate Amount

3/2/2023 MS __ Lease 0.10 19.50
Discussion with T. Casey regarding numbers transposed in the motion 195.00/hr

with the landlord; review settlement agreement and motion and
confirm correct number.

SUBTOTAL: [ 56.30 24,580.50]
Litigation 1
7/20/2022 THC Litigation 1 0.30 180.00
Prepare email to Trustee regarding identifying potential evidence in 600 .00/hr
support of the Trustee's potential causes of action against officers and
directors.
8/2/2022 THC Litigation 1 0.80 480.00
Conference call with proposed, special counsel Attorney Steve 600.00/hr

Gubner, Attorney Corey Weber and Trustee Jason Rund regarding the
estate's potential causes of action.

THC Litigation 1 0.20 120.00
Telephone call with Trustee regarding evidence supporting the 600.00/hr
Trustee's potential causes of action against officers and directors.
8/25/2022 THC Litigation 1 0.30 180.00
Review email from special counsel Corey Weber regarding Gallagher 600.00/hr

insurance policy and prepare email response attaching copy of
insurance policy and explain source.

9/15/2022 THC Litigation 1 0.20 120.00
Prepare email to special counsel Corey Weber with filed claim No 19 600.00/hr
from First 5 LA regarding support attached to claim may be relevant to
his legal analysis regarding breach by directors and officers.

9/21/2022 THC Litigation 1 0.20 120.00
Review email from special counsel Corey Weber of Brutzkus Gubner 600.00/hr
Law and his attached motion for 2004 exam against Almodovar and
prepare email response regarding same and scope of requested

documents.
9/28/2022 THC Litigation 1 0.20 120.00
Review lengthy email from special counsel Corey regarding his 600.00/hr

meeting with Debtor's executive committee and Attorney Michael
Jenkins and prepare email to Trustee regarding same and his potential
causes of action,

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Jason M. Rund, Ch. 7 Trustee

10/6/2022 THC

10/24/2022 THC

11/11/2022 THC

2/16/2023 THC

3/23/2023 THC

3/24/2023 THC

5/8/2023 THC

§/30/2023 THC

8/12/2023 THC

Litigation 1

Prepare email to special counse! Corey Weber and Juanita regarding
access to Child 360 electronic data base and review their response
regarding same.

Litigation 1

Review email from special counsel Corey Weber regarding 2004 exam
and prepare email response approving his red lined revisions to
proposed 2004 exam stipulation.

Litigation 1

Review three lengthy emails from special counsel Corey Weber
regarding results of his 2004 exams he conducted of Bill Sperling and
document production from Almodavar and Sperling to date and
prepare email response regarding same.

Litigation 1

Conference call with Trustee Jason Rund, Attorney Corey Weber and
Robert Lazo regarding maintaining Debtor electronic data base and
Court orders needed regarding Avantiico.

Litigation 1

Review draft of lengthy 19 page demand on Debtor's carrier and
prepare email to Trustee regarding same and recommend adding to
the letter the evidence showing how it was indigent pre-school children
who actually suffered the damages at the end of the day and carrier
should not want to allow this case to go to trial.

Litigation 1

Review draft claim for insurance coverage regarding crime loss and
prepare email response to special counsel regarding potential claim
based on separate crime policy and potential adverse impact on
pending separate claims against officers and directors regarding
insurer argument no coverage for crimes

Litigation 1
Review demand on insurer focusing on CFO Fernando Almador.

Litigation 1

Review letter from carrier requesting documents for review supporting
the Trustee's demand, identify of attorney assigned to represent the
insureds, a request for early mediation after appointed counsel for the
insured parties has review all Child 360 documents (.2) and prepare
email response to Trustee regarding same and my recommendation

(.2).

Litigation 1
Review email from special counsel Corey Weber with his attached,
draft complaint against insiders and review complaint per his request

Page 130
Hrs/Rate Amount
0.10 60.00
600.00/hr
0.10 60.00
600.00/hr
0.40 240.00
600.00/hr
0.60 360.00
600.00/hr
0.80 480.00
600.00/hr
0.30 180.00
600.00/hr
0.30 180.00
600.00/hr
0.40 240.00
600.00/hr
1.10 660.00
600.00/hr

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Jason M. Rund, Ch. 7 Trustee

8/15/2023 THC

MS

THC

8/16/2023 THC

THC

THO

8/28/2023 MS

12/12/2023 THC

(.8) and prepare email to Trustee regarding revisions to two
paragraphs and issue of damages (.3)

Litigation 7

Prepare email to Trustee Jason Rund regarding measurement of
damages for draft compiaint against officers Sperling and Dominguez
and review certain claims focusing on the standard but for the acts of
the targets the claimants would not have incurred their claims.

Litigation 1

Discussion with T. Casey regarding completing draft email to J. Rund
including claims arising from damages suffered by the directors and
officers.

Litigation 1
Prepare email to client Trustee Jason Rund regarding evidence of
damages to allege in complaint against Sperling and Dominguez.

Litigation 1

Telephone call with client Trustee Jason Rund regarding evidence
regarding measurement of damages for complaint against Sperling
and Dominguez.

Litigation 1
Conference call with Trustee and special counsel Corey Weber
regarding revising paragraphs alleging damages suffered.

Litigation 4
Review email from special counsel and his attached, revised complaint
regarding damages and prepare email to Trustee regarding same.

Litigation 1

Review docket and complaint filed by special counsel against the
directors and officers; prepare follow up email to J. Yoon and attach;
prepare email correspondence to K. Driggers to save
attachments/exhibits to the complaint.

Litigation 1

Review draft Trustee mediation brief and prepare email to Trustee
special counsel Corey Weber regarding same and my suggested
revisions to the mediation brief.

SUBTOTAL:

For professional services rendered

Page 131
Hrs/Rate Amount
0.60 360.00
600.00/hr
0.10 19.50
195.00/hr
0.60 360.00
600.00/hr
0.30 180.00
600.00/hr
0.30 180.00
600.00/hr
0.20 420.00
600.00/hr
0.20 39.00
195.00/hr
0.90 540.00
600.00/hr
9,50 5,578.50]
455.40 $187,804.50

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Jason M. Rund, Ch. 7 Trustee

6/30/2022

7/31/2022

8/31/2022

9/30/2022

10/31/2022

11/30/2022

12/31/2022

1/31/2023

2/28/2023

4/30/2023

12/31/2023

7/11/2022

7/15/2022

7/44/2022

6/17/2022

Additional Charges :

$Copies

Copies for the month of June 2022.
Copies for the month of July 2022.

Copies for the month of August 2022.

Copies for the month of September 2022.

Copies for the month of October 2022.
Copies for the month of November 2022.
Copies for the month of December 2022.
Copies for the month of January 2023.
Copies for the month of February 2023.
Copies for the month of April 2023.

Copies for the month of December 2023.

SUBTOTAL:

$Fed. Express

Federal Express shipment to Integrity Legal Corp.

Page 172 of 187

Federal Express shipment to Office of the U.S. Trustee.

SUBTOTAL:

$Filing Fees

Filing fee to file Motion to Abandon Estate's Interest in Personal Property.

SUBTOTAL:

$Misc

GKL Corporate/Search, Inc. for UCC Search and copies and UCC, Tax Liens & Judgments

search.

Page 132

Amount

31.80
121.40
265.20
164.20
167.60

27.20

1,224.20
138.80

48.00

108.80

8.80

[ 2,306.00]

33.66

34.35

[ 68.01]

188.00

[ 188.00]

200.00

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Jason M. Rund, Ch. 7 Trustee

6/22/2022

6/27/2022

7/11/2022

7/15/2022

12/19/2022

3/7/2023

4/3/2023

4/19/2023

5/1/2023

6/1/2023

6/30/2023

8/1/2023

9/1/2023

Fee to integrity Legal Corp. for service of Motion for Approval of Trustee's Consulting
Agreement with the Debtor's Former IT Director and Compensation and Notice of same and
Motion for Order Limiting Notice Pursuant to Federal Rules of Bankruptcy Procedure 2002,
6007 and 9007 and Notice of same. Services included copying, envelopes, address labels,
return address labels, postage and labor for service on approximately 1042 creditors.

Fee to Integrity Lega! Corp. for service of Motion for Approval of Trustee's Consulting
Agreement with the Debtor's Former IT Vendor Aegis Networks and Compensation and
Notice of same. Services included copying, envelopes, address labels, return address labels,
postage and labor for service on approximately 1042 creditors.

Fee to Integrity Legal Corp. for service of Motion for Approval of Trustee's Agreement with
the Debtor's Former IT Vendor Avantiico, Inc. and Compensation and Notice of same.
Services included copying, envelopes, address labels, return address labels, postage and
labor for service on approximately 1042 creditors.

Fee to Scott Van Horn Auctions Appraisal Group to obtain valuation of personal property for
Trustee Motion to Abandon.

Child360 Microsoft monthly licensing fee for continued access to Child360 electronic data for
November 2022.

Child360 Microsoft monthly licensing fee for continued access to Child360 electronic data for
January 2023.

Child360 Microsoft monthly licensing fee for continued access to Child360 electronic data for
February 2023.

Child360 Microsoft monthly licensing fee for continued access to Child360 electronic data for
March 2023,

Fee to AvantiiCo, Inc. for payment of Invoice No. AVUS-004250.

Child360 Microsoft monthly licensing fee for continued access to Child360 electronic data for
April 2023.

Child360 Microsoft monthly licensing fee for continued access to Child360 electronic data for
May 2023.

Child360 Microsoft monthly licensing fee for continued access to Child360 electronic data for
June 2023.

Child360 Microsoft monthly licensing fee for continued access to Child360 electronic data for
July 2023.

Child360 Microsoft monthly licensing fee for continued access to Child360 electronic date for
August 2023.

Page 133

Amount

1,944.03

1,508.65

1,338.21

1,250.00

1,202.70

150.60

150.60

150.60

409.74

150.60

150.60

150.60

150.60

150.60

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Jason M. Rund, Ch. 7 Trustee Page 134
Amount
10/2/2023 Child360 Microsoft monthly licensing fee for continued access to Child360 electronic data for 150.60
September 2023.
10/31/2023 Child360 Microsoft monthly licensing fee for continued access to Child360 electronic data for 150.60
October 2023.
11/30/2023 Child360 Microsoft monthly licensing fee for continued access to Child360 electronic data for 150.60
November 2023.
12/31/2023 Child360 Microsoft monthly licensing fee for continued access to Child360 electronic data for 150.60
December 2023.
SUBTOTAL: [ 9,660.53}
$Pacer
6/30/2022 Pacer research charges for April 2022 through June 2022. 72.10
9/30/2022 Pacer research charges for July 2022 through September 2022. 144.50
12/31/2022 Pacer research charges for October 2022 through December 2022. 45.00
3/31/2023 Pacer research charges for January 2023 to March 2023. 26.60
6/30/2023 Pacer research charges for April 2023 through June 2023. 8.90
9/30/2023 Pacer research charges for July 2023 through September 2023. 12.40
12/31/2023 Pacer research charges for October 2023 through December 2023. 11.30
SUBTOTAL: [ 320.80]
$Postage
6/30/2022 Postage for the month of June 2022. 13.62
7/31/2022 Postage for the month of July 2022. 60.34
8/31/2022 Postage for the month of August 2022. 130.76
9/30/2022 Postage for the month of September 2022. 71.34
10/31/2022 Postage for the month of October 2022. 72.39
11/80/2022 Postage for the month of November 2022. 18.93

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Jason M. Rund, Ch. 7 Trustee Page 135
Amount

12/31/2022 Postage for the month of December 2022. 591.54
1/31/2023 Postage for the month of January 2023. 64.92
2/28/2023 Postage for the month of February 2023. 17.70
4/30/2023 Postage for the month of April 2023. 0.60
12/31/2023 Postage for the month of December 2023. 7.41
SUBTOTAL: [ 1,049.55]

Total additional charges $13,592.89

Total amount of this bill $201,397.39

Balance due $201,397.39

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Professional Activity Summary

for The Law Office of Thomas H. Casey, Inc.
Los Angeles Universal Preschool dba Child360 Case No. 2:22-bk-12797-DS

Hourly Rate Hours Total Amount
Abandon
Thomas H. Casey, Attorney $600.00 4.30 $2,580.00
Marissa Silva, Paralegal $195.00 | 9.00 $1,696.50
Matter Totals i 13.30 $4,276.50
Asset Analysis
Thomas H. Casey, Attorney $600.00 15.40 $9,240.00
Marissa Silva, Paralegal So $195.00 4.10) - - $799.50
Matter Totals: 19.50 $10,039.50
Asset Disposition
Thomas H. Casey, Attorney $600.00 145.2 $86,940.00
Kerry Moynihan, Attorney 450,00 44.8 $20,160.00
Marissa Silva, Paralegal S9500 114.4 $21,781.50
Matter Totals 304.40 $128,881.50
Claim Objection
Thomas H. Casey, Attorney $600.00 3.7 $2,220.00
Marissa Silva, Paralegal $195.00 8.1 $1,521.00
Matter Totals 11.8 $3,741.00
Employment
Thomas H. Casey, Attorney $600.00 6.5 $3,900.00
Marissa Silva, Paralegal $195.00 13.9 $2,710.50
Matter Totals 20.40 $6,610.50
Fee Application
Thomas H. Casey, Attorney $600.00 2.7 $1,620.00
Marissa Silva, Paralegal $195.00 17.5 $2,476.50

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Professional Activity Summary

for The Law Office of Thomas H. Casey, Inc.
Los Angeles Universal Preschool dba Child360 Case No. 2:22-bk-12797-DS

Matter Totals 20.20 $4,096.50
Lease

Thomas H. Casey, Attorney $600.00 $24.40 $14,640.00
Kerry Moynihan, Attorney $450.00 $15.20 $6,840.00
Marissa Silva, Paralegal | $195.00 16.701 $3,100.50
Matter Totals 56.30 $24,580.50
Thomas H. Casey, Attorney $600.00 9.20 $5,520.00
Marissa Silva, Paralegal $195.00 0.30 $58.50
Matter Totals ft 9.50 $5,578.50
Totals 455.4 $187,804.50

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SQ-Z62LZT-19-ZZ:Z “ON BSED - OIEPIIYD EqP Jooyssaig jesuaatuN sajazuy so7
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LAW OFFICES OF THOMAS H. CASEY, INC.
PROFESSIONAL BIOGRAPHIES

ATTORNEYS

CASEY, THOMAS H., born in Abington, Massachusetts, on April 5, 1960. Thomas H. Casey received his
Bachelor of Arts from Fairfield University in 1982, and his Juris Doctorate from New England School of
Law. Thomas H. Casey was admitted to the Massachusetts bar in 1986, and was admitted to the California
bar, the United States District Court, Central District of California, and the United States Court of Appeals,
Ninth Circuit in 1988. Member: Orange County Bar Association (Member, Commercial Law and
Bankruptcy Section); Orange County Bankruptcy Forum; Past member of Board of Directors of Orange
County Bankruptcy Forum; Panel Bankruptcy Trustee for U.S. Bankruptcy Court, Central District of
California, 1993-present; Mediation Panel for U.S. Bankruptcy Court, Central District of California 1995-
present, Settlement Officer for U.S. District Court, Central District of California; 1996-2016; National
Association of Bankruptcy Trustees, 1993-present. Mr. Casey was awarded an AV rating by Martindale-
Hubbell, the national facilitator of a peer review process that rates attorneys. The AV rating awarded Mr.
Casey is the highest possible rating for attorneys based on legal ability and ethical standards. Most frequently
chosen mediator, Santa Ana Division, 2003-2004; Mediator who settled the highest number of mediations,
Santa Ana Division, (2 way tie), 2012-2013; Mediator who settled the highest number of mediations, Santa
Ana Division, 2010-2011; Mediator who settled the highest number of mediations, Santa Ana Division, (3
way tie), 2002-2003. Mr. Casey has presented lectures on numerous bankruptcy issues on behalf of the
Orange County Bankruptcy Forum and the Commercial Law and Bankruptcy Section of the Orange County
Bar Association. Published Opinions: /n re Staffer, 262 B.R. 80 (9" Cir. BAP 2001); Jn re Staffer, 306 F3d
967 (9" Circuit 2002); and Jn re Kerlo, 311 B.R. 256 (Bankr. C.D. Cal. 2004). Publications: California
Bankruptcy Journal, 1989, “Observations of the U.S. Trustee Concerning Fee Applications”. Mr. Casey has
also testified as an expert witness on bankruptcy law on behalf of the U.S. Attorney’s Office in two successful
bankruptcy criminal prosecutions.

MOYNIHAN, KERRY, Edueation: Boston University, Bachelor of Arts degree in Psychology, 2003,
magna cum laude, and her Juris Doctorate from Boston University School of Law in 2006, where she was
a member of the American Journal of Law and Medicine and a teaching assistant and moot court judge for
the school’s first-year writing program. Law Practice Experience: Malcolm Cisneros (2007-2010), Holme
Roberts & Owen, LLP (2010-2011), Bryan Cave LLP (2012-2016). Ms. Moynihan concentrates her practice
in Bankruptcy and Commercial Litigation. In the bankruptcy context, Ms. Moynihan has represented debtors,
trustees, secured and unsecured creditors, as well as administrative claimants, lessors, franchisors and
shareholders. She has handled numerous bankruptcy claim disputes, preference and fraudulent transfer
actions, cash collateral negotiations, stay relief motions, contested plan confirmations, nondischargeability
litigation, and bankruptcy appeals. Ms. Moynihan also has experience with court approved mediation
programs and out of court settlement negotiations. Ms. Moynihan has been selected to Southern California
Super Lawyers Rising Stars list each year since 2013. She is a member of Orange County Bankruptcy Forum
and has been actively involved in the California Bankruptcy Forum.

GOOD, MICHAEL, Education: University of Pennsylvania, Bachelor of Arts from the University’s College
of Arts and Sciences and minors in Marketing and Entrepreneurial Management from the Wharton Business
School, Michael Good received his Juris Doctorate from Pepperdine University in 1994. Judicial
Experience: After obtaining his J.D., Mr. Good completed a judicial clerkship for the Hon. Mitchel R.
Goldberg in the U.S. Bankruptcy Court for the Central District of California (Riverside Division). Law
Practice Experience: Mr. Good owns and managers South Bay Law Firm. Since 1994, Mr, Good has
represented a wide variety of corporate debtors, creditors’ committees, individual creditors, and other parties
across a broad range of industries. He has extensive experience with numerous complex reorganization and
liquidation proceedings under the United States Bankruptcy Code, as well as with out-of-court restructurings
and assignments for the benefit of creditors. In addition to his ownership and management of South Bay Law

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Firm, Mr. Good is also “Of Counsel” to Alvarado Smith, a Professional Corporation with offices throughout
California (including Orange County, Los Angeles, San Francisco and affiliated offices in Mexico) focused
on providing legal counsel to Fortune 1000 companies, public entities, and small businesses in multiple
highly regulated practice areas, including employment, real estate, environmental, intellectual property,
corporate law, and financial institutions. He is also a California-licensed real estate broker

Mr. Good has lectured and has authored educational materials and articles on various aspects of domestic and
international bankruptcy law. He has published numerous journal articles on insolvency-related topics, and
has served as a U.S.-based country correspondent for International Corporate Rescue. Additionally, he has
served since 2016 as an appointed member of the Bankruptcy Mediation Panel for the U.S. Bankruptcy Court,
Central District of California. He has served as an adviser to the California State Bar Business Law Section’s
Insolvency Law Committee since 2013. In 2004, Mr. Good was named in the “Rising Stars” edition of Super
Lawyers, a publication that ranks California practitioners under age 40 based upon peer voting and an
independent analysis of credentials, practice, and market reputation.

PARAPROFESSIONALS

SILVA, MARISSA, Education: California State University, Chico (B.A. - 2001); University of
California, Irvine - Paralegal Certificate (April 2012); Experience: Marissa Silva accepted employment
with the Law Office of Thomas H. Casey in October, 2003. She serves as trustee administrator, handling
all aspects of Trustee case administration and well as providing paralegal services to the firm. Her duties
include, but are not limited to, preparing various pleadings including law and motion documents,
reviewing case files and investigating potential assets of bankruptcy estates.

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LAW OFFICE OF THOMAS H. CASEY, INC.
CURRENT HOURLY BILLING RATES

2024 Billing Rates:

Attorneys:

Thomas H. Casey $600

Kerry Moynihan $450

Michael Good $400

Paraprofessionals:

Marissa Silva $195
2023 Billing Rates:

Attorneys:

Thomas H. Casey $600

Kerry Moynihan $450

Michael Good $400

Paraprofessionals:

Marissa Silva $195
2022 Billing Rates:

Attorneys:

Thomas H. Casey $600

Kerry Moynihan $450

Michael Good $400

Paraprofessionals:

Marissa Silva $195

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PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
26400 La Alameda, Suite 210, Mission Viejo, CA 92691

A true and correct copy of the foregoing document entitled (specify): Eirst Interim Application for Fees and
Reimbursement of Expenses of the Law Office of Thomas H, Casey, Inc., Attorney for Chapter 7 Trustee (May 30,
2022 through January 11, 2024); Declaration of Thomas H. Casey in Support Thereof will be served or was served
(a) on the judge in chambers in the form and manner required by LBR 5005-2(d): and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
January 19, 2024, | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

LynnM Beekman = |beekman@fslaw.com, mguerrero@f3law.com

Thomas H Casey kdriggers@tomcaseylaw.com, msilva@tomcaseylaw.com

Ryan Coy = rcoy@bg.law, ecf@bg.law

Caroline Djang = cdjang@buchalter.com, docket@buchalter.com;lverstegen@buchalter.com
Alphamorlai Lamine Kebeh akebeh@danninggill.com

Dustin Nirschl = dustin.nirschiI@bbklaw.com, linda.tapia@bbklaw.com:wilma.escalante@bbklaw.com
Matthew D Pham mpham@alienmatkins.com, mdiaz@alienmatkins.com .
Jason M Rund (TR) = trustee@srlawyers.com, jrund@ecf.axosfs.com

Zev Shechtman zs@DanningGill.com, danninggill@gmail.com;zshechtman@ecf inforuptcy.com
James E Till james.till@till-lawgroup.com, martha.araki@till-lawgroup.com;myrtle.john@till-
lawgroup.com;sachie. fritz @till-lawgroup.com

United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov

Daniel Velocci bankruptcy@cimiaw.com

« CoreyR Weber cweber@bg.law, ecf@bg. law

L] Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) January 19, 2024, | served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date), | served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

[] Service information continued on attached page

“
i declare under penalty of perjury under the laws of the United States that the es u@_and correct.

January 19, 2024 Kathy Driggers At add di
Date Printed Name Signattre OF TAT NN

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012 F 9013-3.1.PROOF.SERVICE

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June 2012

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